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                             EXHIBIT 73




                                                                   Appx. 01903
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                    IN THE UNITED STATES BANKRUPTCY COURT
   1                 FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
   2
                                    )   Case No. 19-34054-sgj-11
   3   In Re:                       )   Chapter 11
                                    )
   4   HIGHLAND CAPITAL             )   Dallas, Texas
       MANAGEMENT, L.P.,            )   Tuesday, February 2, 2021
   5                                )   9:30 a.m. Docket
                Debtor.             )
   6                                )   CONFIRMATION HEARING [1808]
                                    )   AGREED MOTION TO ASSUME [1624]
   7                                )
   8                       TRANSCRIPT OF PROCEEDINGS
                  BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
   9                    UNITED STATES BANKRUPTCY JUDGE.

  10   WEBEX APPEARANCES:

  11   For the Debtor:              Jeffrey Nathan Pomerantz
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                                                                    Appx. 01904
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                                                                   Appx. 01905
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   1   APPEARANCES, cont'd.:
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  24         Proceedings recorded by electronic sound recording;
                transcript produced by transcription service.
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                                                                   Appx. 01907
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      1             DALLAS, TEXAS - FEBRUARY 2, 2021 - 9:38 A.M.

      2             THE COURT:   Good morning.   Please be seated.   All

      3   right.   We are ready to get started now in Highland Capital.

      4   We have a confirmation hearing as well as a motion to assume

      5   the non-residential real property lease at the headquarters.

      6   All right.   This is Case No. 19-34054.     I know we're going to

      7   have a lot of appearances today.     I think we're just down to a

      8   handful of objections, but I'm nevertheless going to go ahead

      9   and get formal appearances from our key parties that we've had

     10   historically in this case.

     11       First, for the Debtor team, do we have Mr. Pomerantz and

     12   your crew?

     13             MR. POMERANTZ:   Yes.   Good morning, Your Honor.   Jeff

     14   Pomerantz, along with John Morris, Ira Kharasch, and Greg

     15   Demo, on behalf of the Debtor-in-Possession, Highland Capital.

     16             THE COURT:   All right.   Good morning.   All right.

     17   For the Unsecured Creditors' Committee team, do we have Mr.

     18   Clemente and others?

     19             MR. CLEMENTE:    Yes.   Good morning, Your Honor.

     20   Matthew Clements; Sidley Austin; on behalf of the Official

     21   Committee of Unsecured Creditors.

     22             THE COURT:   All right.   I'm actually going to call a

     23   roll call for the Committee members who have obviously been

     24   very active during this case.     For the Redeemer Committee and

     25   Crusader Fund, do we have Ms. Mascherin and her team?




                                                                     Appx. 01908
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                                                                           6


       1   (Pause.)   Okay.   We're -- if -- you must be on mute.

       2              MS. MASCHERIN:    Your Honor, I apologize.

       3              THE COURT:    Okay.   Go ahead.

       4              MS. MASCHERIN:    I apologize, Your Honor.    I was on

       5   mute and could not figure out how to unmute myself quickly.

       6   Terri Mascherin; Jenner & Block; on behalf of the Redeemer

       7   Committee.

       8              THE COURT:    All right.   Good morning.

       9       All right.     What about Acis?   Do we have Ms. Patel and

      10   others for the Acis team?

      11              MS. PATEL:    Good morning, Your Honor.    Rakhee Patel

      12   on behalf of Acis Capital Management.

      13              THE COURT:    Good morning.

      14       All right.     Mr. Clubok, I see you there for the UBS team,

      15   correct?

      16              MR. CLUBOK:    Yes.   Good morning, Your Honor.

      17              THE COURT:    Good morning.

      18       All right.     For Patrick Daugherty, I think I see Mr.

      19   Kathman out there, correct?

      20              MR. KATHMAN:    Good morning, Your Honor.    Jason

      21   Kathman on behalf of Patrick Daugherty.

      22              THE COURT:    All right.   Good morning.

      23       All right.     What about HarbourVest?   Anyone on the line

      24   for HarbourVest?

      25              MS. WEISGERBER:    Good morning, Your Honor.   Erica




                                                                        Appx. 01909
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      1   Weisgerber for HarbourVest.

      2             THE COURT:    All right.   Very good.

      3        All right.   Well, I'll now, I guess, turn to some of the

      4   Objectors that I haven't hit yet.     Who do we have appearing

      5   for Mr. Dondero this morning?

      6             MR. TAYLOR:    Good morning, Your Honor.   Clay Taylor

      7   of the law firm of Bonds Ellis Eppich Schaefer & Jones

      8   appearing on behalf of Mr. Dondero.     I have with me, of

      9   course, Mr. Dondero, who is in the room with me.       Dennis

     10   Michael Lynn, John Bonds, and Bryan Assink are also appearing

     11   on behalf of Mr. Dondero.

     12             THE COURT:    All right.   Thank you, Mr. Taylor.

     13        All right.   For the Dugaboy Trust and Get Good Trust, do

     14   we have Mr. Draper and others?

     15             MR. DRAPER:    Yes, Your Honor.   This is Douglas Draper

     16   on the line.

     17             THE COURT:    All right.   Good morning.

     18             MR. DRAPER:    Good morning, Your Honor.

     19             THE COURT:    All right.   What about what I'll call

     20   Highland Fund, the Highland Funds and Advisors?      Do we have

     21   Mr. Rukavina this morning, or who do we have?

     22             MR. RUKAVINA:    Your Honor, good morning.    Davor

     23   Rukavina and Julian Vasek for the Funds and Advisors.      I can

     24   make a full appearance, but it's the parties listed on Docket

     25   1670.




                                                                    Appx. 01910
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      1               THE COURT:   All right.    Thank you, Mr. Rukavina.

      2        All right.   What about --

      3               MR. HOGEWOOD:   Your Honor?

      4               THE COURT:   Go ahead.

      5               MR. HOGEWOOD:   Your Honor, Lee Hogewood.    I'm sorry,

      6   Your Honor.    Lee Hogewood is also here on behalf of the same

      7   parties.

      8               THE COURT:   All right.    Thank you, sir.

      9        All right.   What about NexPoint Real Estate Partners, HCRE

     10   Partners?

     11               MS. DRAWHORN:   Good morning, Your Honor.    Lauren

     12   Drawhorn with Wick Phillips on behalf of NexPoint Real Estate

     13   Partners, LLC.    I'm also here on behalf of the NexPoint Real

     14   Estate entities which are listed on Docket 1677, and NexBank,

     15   which is -- their objection is 1676.

     16               THE COURT:    All right.    Thank you.

     17        All right.   Let's cover some of the employees.     I think I

     18   see Ms. Smith out there.     Are you appearing for Mr. Ellington

     19   and Mr. Leventon?

     20               MS. SMITH:   Yes, Your Honor.    Frances Smith with Ross

     21   & Smith, along with Debra Dandeneau of Baker McKenzie, on

     22   behalf of Scott Ellington, Isaac Leventon, Thomas Surgent, and

     23   Frank Waterhouse.

     24               THE COURT:   All right.    Could you spell the last name

     25   of your co-counsel from Baker McKenzie?       I didn't clearly get




                                                                     Appx. 01911
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                                                                             9


       1   that.

       2              MS. SMITH:   Yes, Your Honor.       It's Debra Dandeneau,

       3   D-A-N-D-E-N-N-A-U [sic].

       4              THE COURT:   Okay.   Thank you.

       5       All right.   CLO Holdco, do we have you appearing this

       6   morning?

       7              MR. KANE:    Your Honor, John Kane on behalf of CLO

       8   Holdco.

       9              THE COURT:   Thank you, Mr. Kane.

      10       All right.   I know we had a different group of current or

      11   former employees -- Brad Borud, Jack Yang -- and some joining

      12   parties:   Kauffman, Travers, Deadman.       Who do we have

      13   appearing for those?      (Pause.)   Anyone?    If you're appearing,

      14   we're not hearing you.     Go ahead.

      15              MR. KATHMAN:    Good morning, Your Honor.      Jason

      16   Kathman.   I represent Mr. Deadman, Mr. Travers, and Mr.

      17   Kauffman as well.

      18              THE COURT:   Okay.   Thank you.      And I can't remember

      19   who represents Mr. Borud and Yang.      Someone separately.

      20              MR. KATHMAN:    It's Mr. Winikka, Your Honor.

      21              THE COURT:   Oh, Mr. Winikka.

      22              MR. KATHMAN:    And I haven't scrolled through to see

      23   whether he's with -- in the 120 people signed in this morning.

      24   But I believe that objection has been resolved.         I think Mr.

      25   Pomerantz will probably address that later.         So Mr. Winikka




                                                                         Appx. 01912
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       1   may not be appearing.

       2               THE COURT:   Okay.   All right.   Well, anyone for the

       3   IRS?

       4               MR. ADAMS:   Good morning, Your Honor.    David Adams,

       5   Department of Justice, on behalf of the United States and its

       6   agency, the Internal Revenue Service.

       7               THE COURT:   Thank you, Mr. Adams.

       8          For the U.S. Trustee, who do we have appearing this

       9   morning?    (No response.)    I'm not hearing you.    If you're

      10   trying to appear, you must be on mute.        (No response.)   All

      11   right.    Well, I suspect at some point we'll hear from the U.S.

      12   Trustee, even though I don't hear anyone now.

      13          At this point, I will open it up to anyone else who wishes

      14   to appear who I failed to call.

      15               MS. MATSUMURA:   Your Honor, this is Rebecca Matsumura

      16   from King & Spalding representing Highland CLO Funding, Ltd.

      17   Thank you.

      18               THE COURT:   All right.   Thank you, Ms. Matsumura.

      19   HCLOF.

      20          Anyone else?

      21               MR. HELD:    Your Honor, this is Michael Held with the

      22   law firm of Jackson Walker, LLP on behalf of the office

      23   landlord, Crescent TC Investors, LP.

      24               THE COURT:   All right.   Thank you, Mr. Held.

      25               MR. HELD:    Thank you, Your Honor.




                                                                        Appx. 01913
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       1             THE COURT:   Okay.   Any other lawyer appearances?

       2       All right.   Well, again, if there's anyone out there who

       3   did not get to appear, maybe we'll hear from you at some point

       4   as the day goes on.

       5       All right.   Mr. Pomerantz, this is an important day,

       6   obviously.   How did you want to begin things?

       7             MR. POMERANTZ:   So, Your Honor, I have a brief

       8   opening to talk about what I plan to do, and a little more

       9   lengthy opening, and it'll be come clear.     So if I may

      10   proceed, Your Honor?

      11             THE COURT:   You may.

      12             MR. POMERANTZ:   Your Honor, we're here to request

      13   that the Court confirm the Debtor's Fifth Amended Plan of

      14   Reorganization, as modified.      The operative documents before

      15   Your Honor are the Fifth Amended Plan, as modified, that was

      16   filed along with our pleadings in support of confirmation on

      17   January 22nd and the minor amendments that we filed on

      18   February 1st.

      19       Here is my proposal on how we can proceed this morning.         I

      20   would intend to provide the Court with an opening statement

      21   that would last approximately 20 minutes.     And then after any

      22   other party who desires to make an opening statement, I would

      23   propose that the Debtor put on its evidence that it intends to

      24   rely on in support of confirmation.     The evidence consists of

      25   the exhibits that the Debtor filed with its witness and




                                                                    Appx. 01914
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                                                                        12


       1   exhibit list on January 22nd and certain amendments that we

       2   filed yesterday.

       3       We would also put on the testimony of the following

       4   witnesses:    Jim Seery, the Debtor's chief executive officer,

       5   who Your Honor is very familiar with, and also a member of

       6   Strand's board of directors; John Dubel, a member of Strand's

       7   board of directors; and Mark Tauber, a vice president with Aon

       8   Financial Services, the Debtor's D&O broker.

       9       We have also submitted the declaration of Patrick Leatham,

      10   who is with KCC, the Debtor's balloting agent.      And we don't

      11   intend to put Mr. Leatham on the stand, but he is available on

      12   the WebEx for cross-examination, to the extent necessary.

      13       I propose that I would leave the bulk of my argument,

      14   which includes going through the Section 1129 requirements for

      15   plan confirmation, as well as responding to the remaining

      16   outstanding objections, until my closing argument.

      17       With that, Your Honor, I will pause and ask the Court if

      18   Your Honor has any questions before I proceed.

      19             THE COURT:   I do not have questions, so your method

      20   of going forward sounds appropriate.    You may go ahead.

      21             MR. POMERANTZ:   Thank you, Your Honor.

      22                OPENING STATEMENT ON BEHALF OF THE DEBTOR

      23             MR. POMERANTZ:   As I indicated, Your Honor, we stand

      24   here side by side with the Creditors' Committee asking that

      25   the Court confirm the Debtor's plan of reorganization.




                                                                    Appx. 01915
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                                                                        13


       1       As Your Honor is well aware, this case started in December

       2   in -- October 2019, was transferred to Your Honor's court in

       3   December 2019, and has been pending for approximately 15

       4   months.

       5       On January 9, 2020, I stood before Your Honor seeking the

       6   approval of the independent board of directors of Strand, the

       7   general partner of the Debtor, pursuant to a heavily-

       8   negotiated agreement with the Committee.    And as the Court has

       9   remarked on occasions throughout the case, the economic

      10   stakeholders in this case believed that the installation of a

      11   new board consisting of highly-qualified restructuring

      12   professionals and a bankruptcy judge, a former bankruptcy

      13   judge, was far more attractive than the alternative, which was

      14   appointment of a trustee.   And upon approval of the

      15   settlement, members of the board -- principally, Mr. Seery --

      16   testified that one of the board's goals was to change the

      17   culture of litigation that plagued Highland in the decade

      18   before filing and threatened to embroil the Debtor in

      19   continued litigation if changes were not made.

      20       And as Your Honor is well aware, the last 14 months have

      21   not been easy.   The board took its role as an independent

      22   fiduciary extremely seriously, much to the consternation of

      23   the Committee at times, and more recently, to the

      24   consternation of Mr. Dondero and his affiliated entities.

      25       And what has the Debtor, under the leadership of the




                                                                   Appx. 01916
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                                                                       14


       1   board, been able to accomplish during this case?    The answer

       2   is a lot more than many parties believed when the board was

       3   installed.

       4       The Debtor reached a settlement with the Redeemer

       5   Committee, resolving disputes that had been litigated for many

       6   years, in many forums, and that resulted in an arbitration

       7   award that was the catalyst for the bankruptcy filing.

       8       Participating in a court-ordered mediation at the end of

       9   August 2020 and September, the Debtor reached agreement with

      10   Acis and Josh Terry.   The Court is all too familiar with the

      11   years of disputes between the Debtor and Acis and Josh Terry,

      12   which spanned arbitration proceedings and an extremely

      13   combative Chapter 11 that Your Honor presided over.

      14       The Debtor next reached an agreement with HarbourVest

      15   regarding their assertion of over $300 million of claims

      16   against the estate.    The HarbourVest litigation stemmed from

      17   its investment in the Acis CLOs and would have resulted in

      18   complex, fact-intensive litigation which would have forced the

      19   Court to revisit many of the issues addressed in the Acis

      20   case.

      21       And perhaps most significantly, Your Honor, the Debtor was

      22   able to resolve disputes with UBS, disputes which took the

      23   most time of any claim in this case, through a contested stay

      24   relief motion, a hotly-contested summary judgment motion, and

      25   a Rule 3018 motion.




                                                                   Appx. 01917
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                                                                         15


       1         While the Debtor and UBS hoped to file a 9019 motion prior

       2   to the commencement of the hearing, they were not able to do

       3   so.   However, I am now in a position to disclose to the Court

       4   the terms of the settlement, which is the subject of

       5   documentation acceptable to the Debtor and UBS.    The

       6   settlement provides for, among other things, the following

       7   terms:

       8         UBS will receive a $50 million Class 8 general unsecured

       9   claim against the Debtor.

      10         UBS will receive a $25 million Class 9 subordinated

      11   general unsecured claim against the Debtor.

      12         UBS will receive a cash payment of $18.5 million from

      13   Multi-Strat, which was a defendant and the subject of

      14   fraudulent transfer claims.

      15         The Debtor will use reasonable efforts to assist UBS to

      16   collect its Phase I judgment against CDL Fund and assets CDL

      17   Fund may have.

      18         The parties will also agree to mutual and general

      19   releases, subject to agreed carve-outs.

      20         And, of course, the parties will not be bound until the

      21   Court approves the settlement pursuant to a 9019 motion we

      22   would hope to get on file shortly.

      23         I am also pleased to let the Court know -- breaking news

      24   -- that this morning we reached an agreement to settle Patrick

      25   Daugherty's claims.   I would now like to, at the request of




                                                                     Appx. 01918
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                                                                      16


      1   Mr. Kathman, read into the record the Patrick Daugherty

      2   settlement.

      3        Under the Patrick Daugherty settlement, Mr. Daugherty will

      4   receive a $750,000 cash payment on the effective date.     He

      5   will receive an $8.25 million general unsecured claim, and he

      6   will receive a $2.75 million Class 9 subordinated claim.

      7        The settlement of all claims against the Debtor and its

      8   affiliates -- and affiliates will be defined in the documents

      9   -- with the exception of the tax claim against the Debtor, Mr.

     10   Dondero, and Mr. Okada -- and for the avoidance of doubt,

     11   except as I describe below, nothing in the settlement is

     12   intended to affect any pending litigation Mr. Daugherty has

     13   against Mr. Dondero, Scott Ellington, Isaac Leventon, Marc

     14   Katz, Michael Hurst, and Hunton Andrew Kurth.

     15        Mr. Daugherty will release the Debtor and its affiliates

     16   and current employees for all claims and causes of action,

     17   except for the agreements I identify below, and dismiss all

     18   current employees as to pending actions.    We believe this only

     19   applies to Thomas Surgent and no other employee is implicated.

     20        Mr. Surgent and other employees, including but not limited

     21   to David Klos, Frank Waterhouse, Brian Collins, Lucy Bannon,

     22   and Matt Diorio, will receive releases similar to the covenant

     23   in Paragraph 1D of the Acis settlement agreement, which

     24   essentially provided the release would go away if they

     25   assisted anyone in pursuing claims against Mr. Daugherty.




                                                                   Appx. 01919
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       1        Highland and the above-mentioned parties will accept

       2   service of any subpoenas and acknowledge the jurisdiction of

       3   the Delaware Chancery Court for the purposes of accepting any

       4   subpoenas.   And for the avoidance of doubt, Highland will

       5   accept service on behalf of the employees only in their

       6   capacity as such.

       7        Highland will also use material -- will use reasonable

       8   efforts at no material cost to assist Daugherty in vacating a

       9   Texas judgment that was issued against him.    We've also looked

      10   at a form of the motion and believe we have agreed on the form

      11   of the motion.

      12        Highland, its affiliates, and current employees will

      13   covenant and agree they will not pursue or seek to enforce the

      14   injunction and the Texas judgment against Daugherty.

      15        And lastly, Daugherty will not be able to settle any

      16   claims for negligence or other claims that might be subject to

      17   indemnification by the Debtor or any successor.

      18        Accordingly, Your Honor, other than the claims of Mr.

      19   Dondero and his related entities, and the unliquidated claims

      20   of certain employees, substantially all claims have been

      21   resolved in this case, a truly remarkable achievement.

      22        Separate and apart, Your Honor, from the work done

      23   resolving the claims, the Debtor, under the direction of the

      24   independent board, has worked extremely hard to develop a plan

      25   of reorganization.




                                                                   Appx. 01920
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       1       After the independent board got its bearings, it started

       2   to work on various plan alternatives.      And the board received

       3   a lot of pressure from the Committee to go straight to a plan

       4   seeking to monetize assets like the one before Your Honor

       5   today.   However, the board believed that before proceeding to

       6   do so and go down an asset monetization path, it should

       7   adequately diligence all alternatives, including a

       8   continuation of the current business model, a reorganization

       9   sponsored by Mr. Dondero and his affiliates, a sale of the

      10   Debtor's assets, including a sale to Mr. Dondero.

      11       In June 2020, plan negotiations proceeded in earnest, and

      12   the Debtor started to negotiate an asset monetization plan

      13   with the Committee, while still pursuing other alternatives.

      14       Preparation of an asset monetization plan is not typically

      15   a complicated process.   However, creating the appropriate

      16   structure for a business like the Debtor's was extremely

      17   complicated, because of the contractual, regulatory, tax, and

      18   governance issues that had to be carefully considered.

      19       At the same time the Committee negotiations were

      20   proceeding down that path, Mr. Seery continued to spend

      21   substantial time trying to negotiate a grand bargain plan with

      22   Mr. Dondero.   It is not an exaggeration to say that over the

      23   last several months Mr. Seery has dedicated hundreds of hours

      24   towards a potential grand bargain plan.

      25       And why did he do it?   Because he has always believed that




                                                                    Appx. 01921
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       1   a global restructuring among all parties was the best

       2   opportunity to fully and finally resolve the acrimony that

       3   continued to plague the Debtor.

       4       Notwithstanding Mr. Seery's and the independent board's

       5   best efforts, they were not able to reach consensus on a grand

       6   bargain plan, and the Debtor filed the plan, the initial plan,

       7   on August 12th, which ultimately evolved into the plan before

       8   the Court today.

       9       The Court conducted an initial hearing on the disclosure

      10   statement on October 27th, and then ultimately approved -- the

      11   Court approved the disclosure statement at a hearing on

      12   November 23rd.

      13       While the Debtor continued to work towards resolving

      14   issues with the Committee with the filed plan, Mr. Dondero,

      15   beginning to finally see that the train was leaving the

      16   station, started to do whatever he could to get in the way of

      17   plan confirmation.

      18       He objected to the Acis settlement.     When his objection

      19   was overruled, he filed an appeal.

      20       He objected to the HarbourVest settlement.     When his

      21   objection was overruled, he had Dugaboy file an appeal.

      22       He started to interfere with the Debtor's management of

      23   its CLOs, stopping trades, refusing to provide support, and

      24   threatening Mr. Seery and the Debtor's employees.

      25       He had his Advisors and Funds that he owned and controlled




                                                                   Appx. 01922
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       1   file motions that Your Honor said was a waste of time.

       2          He had those same Funds and Advisors threaten to terminate

       3   the Debtor as a manager, in blatant violation of the Court's

       4   January 9, 2020 order.

       5          His conduct was so egregious that it warranted entry of a

       6   temporary restraining order and preliminary injunction against

       7   him.    And of course, he has appealed that ruling as well.

       8          But that was not all.   He brazenly threw out his phone, in

       9   what the Court has remarked was spoliation of evidence, and he

      10   violated the TRO in other ways, actions for which he will

      11   answer for at the contempt hearing scheduled later this week.

      12          And, of course, he and his pack of related entities have

      13   filed a series of objections.     We have received 12 objections

      14   to the plan, Your Honor, excluding three joinders.     And as I

      15   mentioned, we have been pleased to report that we've been able

      16   to resolve six of them:    those of the Senior Employees, those

      17   of Patrick Daugherty, those of CLO Holdco, those of the IRS,

      18   those of Texas Taxing Authorities, and those of Jack Young and

      19   Brad Borud.

      20          The CLO Holdco objection was withdrawn in connection with

      21   the settlement reached with them in connection with the

      22   preliminary injunction hearing that the Court heard -- started

      23   to hear last week.

      24          The Taxing Authorities' objections have been resolved by

      25   the Debtor agreeing to make certain modifications to the plan




                                                                    Appx. 01923
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       1   that were included in our filing yesterday and to include

       2   certain provisions in the confirmation order to address other

       3   concerns.

       4        The group of employees who are referred to as the Senior

       5   Employee are comprised of four individuals -- Frank

       6   Waterhouse, Thomas Surgent, Scott Ellington, and Isaac

       7   Leventon -- although Mr. Ellington and Mr. Leventon are no

       8   longer employed by the Debtor.

       9        On January 22nd, Your Honor, we filed executed

      10   stipulations with Frank Waterhouse and Thomas Surgent.     These

      11   stipulations were essentially the Senior Employee stipulations

      12   that were referred to in the plan and the disclosure

      13   statement.

      14        And as part of those stipulations, the Debtor, in

      15   consultation with and agreement from the Committee, agreed to

      16   certain modifications of the prior version of the Senior

      17   Employee stipulation with both Mr. Waterhouse and Mr. Surgent

      18   that effectively reduced the compensation they needed to

      19   provide for the release from 40 percent to five percent of

      20   their claims.

      21        The Debtor and the Committee believed the resolution with

      22   Mr. Surgent and with Mr. Waterhouse was fair, given the

      23   importance of these two people to the transition effort and

      24   the increased reliance upon them that the Debtor would have

      25   with the departure of Mr. Ellington and Mr. Leventon.     And as




                                                                    Appx. 01924
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       1   a result of that agreement, Your Honor, on January 27th, Mr.

       2   Waterhouse and Mr. Surgent withdrew from the Senior Employee

       3   objection.

       4       Subsequently, we reached agreement with Mr. Ellington and

       5   Mr. Leventon to resolve the objections they raised with

       6   confirmation.   And at Ms. Dandeneau's request, I would like to

       7   read into the record the agreement reached with both of them,

       8   and I know she will correct me if I get anything wrong.

       9             THE COURT:   Okay.

      10             MR. POMERANTZ:   Among other things, Mr. Ellington and

      11   Mr. Leventon asserted in their objection that they were

      12   entitled to have their liquidated bonus claims treated as

      13   Class 7 convenience claims under the plan, under their reading

      14   of the plan, and their understanding of communications with

      15   Mr. Seery.   The Debtor disputed the entitlement to elect Class

      16   7 based upon the terms of the plan, the disclosure statement,

      17   and applicable law.    But as I said, the parties have resolved

      18   this dispute.

      19       Mr. Ellington asserts liquidated bonus claims in the

      20   aggregate amount of $1,367,197, which, to receive convenience

      21   class treatment under anybody's analysis, would have had to be

      22   reduced to a million dollars.

      23       Mr. Leventon asserts a liquidated bonus claim in the

      24   amount of $598,198.

      25       If Mr. Ellington and Mr. Leventon were entitled to be




                                                                   Appx. 01925
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       1   included in the convenience class, as they claimed, they would

       2   be entitled to receive 85 percent of their claim as and when

       3   the claims were allowed under the plan.

       4        To settle the dispute regarding whether, in fact, they

       5   would be entitled to the convenience class treatment, they

       6   have agreed to reduce the percentage they would otherwise be

       7   entitled to receive from 85 percent to 70.125 percent.     And as

       8   a result, Mr. Ellington's Class 7 convenience claim would be

       9   entitled to receive $701,250 if allowed, and Mr. Leventon's

      10   Class 7 convenience claim would be entitled to receive

      11   $413,175.10 if allowed.

      12        Mr. Ellington and Mr. Leventon would reserve the right to

      13   assert that a hundred percent of their liquidated bonus claims

      14   are entitled to administrative priority, and the Debtor, the

      15   Committee, the estate and their successors, would reserve all

      16   rights to object.

      17        If anyone did object to the allowance of the liquidated

      18   bonus claims and Mr. Ellington and/or Mr. Leventon prevailed

      19   in such disputes, then the discount that was previously agreed

      20   to -- 85 percent to 70.125 percent -- would go away and they

      21   would be entitled to receive the full 85 percent payout as

      22   essentially a penalty for litigating against them on their

      23   allowed claims and losing.

      24        As an alternative to the estate preserving the right to

      25   object to the allowance of Mr. Ellington and Mr. Leventon's




                                                                   Appx. 01926
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       1   liquidated bonus claims, the Debtor and the Committee have an

       2   option to be exercised before the effective date to just agree

       3   that both their claims will be allowed, and allowed as Class 7

       4   convenience claims.   And if that agreement was reached, then

       5   the amount of such liquidated bonus claims, they would receive

       6   a payment equal to 60 percent of their allowed convenience

       7   class claim.

       8       In exchange, Mr. Ellington and Mr. Leventon would waive

       9   their right to assert payment of a hundred percent of their

      10   liquidated bonus claims as an administrative expense.

      11       So, under this circumstance, Mr. Ellington would receive

      12   an allowed claim of $600,000, which is 60 percent of a million

      13   dollars, and Mr. Leventon will receive a payment on account of

      14   his Class 7 claim of $358,918.80.

      15       Under both scenarios, Mr. Ellington and Mr. Leventon would

      16   preserve their paid time off claims that are treated in Class

      17   6, and they would preserve their other claims in Class 8,

      18   largely unliquidated indemnification claims, subject to the

      19   rights of any party in interest to object to those claims.

      20       Mr. Ellington will change his vote in Class 8 from

      21   rejecting the plan to accepting the plan, and Mr. Leventon

      22   would change his votes in Class 8 and Class 7 from rejecting

      23   the plan to accepting the plan.   And Mr. Ellington and Mr.

      24   Leventon would withdraw any remaining objections to

      25   confirmation of the plan, and we intend to put this settlement




                                                                   Appx. 01927
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      1   in the confirmation order.

      2        Your Honor, six objections to the plan remain outstanding.

      3   One objection was filed by the Office of the United States

      4   Trustee, and the remaining five objections are from Mr.

      5   Dondero and his related entities.    And I would like to put up

      6   a demonstrative on the screen which shows how all of these

      7   objections lead back to Jim Dondero.

      8              THE COURT:   All right.

      9              MR. POMERANTZ:   You see on the top left, Your Honor,

     10   there's a box in white that says A through E, which are the

     11   five remaining objections.    And you can see how they relate.

     12   But all of it goes back to that orange box in the middle, Jim

     13   Dondero.

     14        These objections, which I will address in my closing

     15   argument in detail, are not really focused on concerns that

     16   creditors are being treated unfairly, and that's because Mr.

     17   Dondero and his entities don't really have any valid claims.

     18   Mr. Dondero owns no equity in the Debtor.     He owns the

     19   Debtor's general partner, Strand, which in turn owns a quarter

     20   percent of the total equity in the Debtor.     Mr. Dondero's only

     21   other claim is a claim for indemnification.     And as Your Honor

     22   would expect, the Debtor intends to fight that claim

     23   vigorously.

     24        Dugaboy and Get Good have asserted frivolous

     25   administrative and unsecured claims, which I will discuss in




                                                                      Appx. 01928
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      1   more detail later.

      2        Dugaboy does have an equity interest in the Debtor, but it

      3   represents eighteen-hundredths of a percent of the Debtor's

      4   total equity.

      5        And Mr. Rukavina's clients similarly have no general

      6   unsecured claims against the Debtor.   Either his clients did

      7   not file proofs of claim or filed claims and then agreed to

      8   have them expunged.   The only claims that his clients assert

      9   is a disputed administrative claim filed by NexPoint Advisors.

     10        And the objections aren't legitimately concerned about the

     11   post-confirmation operations of the estate, to preserve equity

     12   value, how much people are getting, whether Mr. Seery is

     13   really the right person to run these estates.    That's because

     14   Mr. Dondero has repeatedly told the Court that he believes his

     15   offer, which doesn't come close to satisfying claims in full

     16   in this case, is for fair value and that creditors, who are

     17   owed more than $280 million, will not receive anywhere close

     18   to the amount of their claims.

     19        Rather, Mr. Dondero and his entities are concerned with

     20   one thing and one thing only:    how to preserve their rights to

     21   continue their frivolous litigation after confirmation against

     22   the independent directors, the Claimant Trustee, the

     23   Litigation Trustee, the employees, the Claimant Trust

     24   Oversight Board, and anyone who will stand in their way.     For

     25   Mr. Dondero, the decision is binary:   Either give him what he




                                                                   Appx. 01929
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       1   wants, or as he has told Mr. Seery, he will burn down the

       2   place.

       3       Your Honor will hear a lot of argument today about how the

       4   -- and tomorrow, in closing -- about how the injunction, the

       5   gatekeeper, and the exculpation provisions of the plan are not

       6   appropriate under applicable law.   The Debtor, of course,

       7   disagrees with these arguments, and I will address them in

       8   detail in my closing argument.

       9       But I do think it's important to focus the Court at the

      10   outset on the January 9, 2020 order that the Court entered

      11   which addressed some of these issues.      This order, which has

      12   not been appealed, which was actually agreed to by Mr.

      13   Dondero, has no expiration by its terms and will continue

      14   post-confirmation, did some things that the Objectors just

      15   refuse to recognize and accept.

      16       It approved an exculpation for negligence for the

      17   independent directors and their agents.     It provided that the

      18   Court would be the gatekeeper to determine whether any claims

      19   asserted for them -- against them for gross negligence and

      20   willful misconduct could be pursued, and if so, provided that

      21   this Court would have exclusive jurisdiction to adjudicate

      22   those claims.   And it prevented Mr. Dondero and his related

      23   entities from causing any related entity to terminate any

      24   agreements with the Debtor.

      25       I also note, Your Honor, that the Court's July 16, 2020




                                                                    Appx. 01930
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                                                                          28


       1   order approving Mr. Seery as chief executive officer and chief

       2   restructuring officer included the same exculpation and

       3   gatekeeping provision as contained in the January 29th --

       4   January 9th order.

       5       Your Honor, we have all come too far to allow Mr. Dondero

       6   to make good on his promise to Mr. Seery to burn down the

       7   place if he didn't get what he wanted.     The Debtor deserves

       8   better, the creditors deserve better, and this Court deserves

       9   better.

      10       That concludes my opening argument, Your Honor.

      11             THE COURT:   All right.   Thank you.   I had one follow-

      12   up question about the Daugherty settlement.      You did not

      13   mention, is it going to be reflected in the confirmation

      14   order, is it going to be the subject of a 9019 motion, or

      15   something else?

      16             MR. POMERANTZ:   It'll be subject to a -- it'll be

      17   subject to a 9019 motion, Your Honor.

      18             THE COURT:   All right.

      19             MR. POMERANTZ:   I apologize for leaving that out.

      20             THE COURT:   All right.   Thank you.   Well, --

      21             MR. KATHMAN:   Your --

      22             THE COURT:   -- I appreciate that you stuck closely to

      23   your 20-minute time estimate.

      24       As far as other opening statements today, I'm going to

      25   start with the objections that were resolved.      Mr. Kathman, I




                                                                       Appx. 01931
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       1   see you there.   Who will speak on behalf of Patrick Daugherty

       2   and the announced settlement?

       3            OPENING STATEMENT ON BEHALF OF PATRICK DAUGHERTY

       4              MR. KATHMAN:   Good morning, Your Honor.   Jason

       5   Kathman on behalf of Mr. Daugherty.

       6        Mr. Pomerantz correctly recited the bullet points of the

       7   settlement that we agreed to in principle this morning.       There

       8   was one that he did leave off that I do want to make sure that

       9   I mention and that it's read into the record.    And he read at

      10   the top end that Mr. Daugherty does maintain his ability to

      11   pursue his 2008 tax refund bonus claim, or tax refund

      12   compensation claim.   If the Court will recall, there's a

      13   contingent liability out there based on how compensation was

      14   paid back in 2008 that's the subject of an IRS audit.     And so

      15   the settlement expressly contemplates that those -- that that

      16   claim will be preserved and Mr. Daugherty may pursue that

      17   claim.   Should the IRS have an adverse ruling and we have to

      18   pay money back, we get to preserve that claim.

      19        And so the one thing that is preserved, Your Honor -- and

      20   the same way that Mr. Pomerantz read verbatim the words, I'm

      21   going to read verbatim the words that we've agreed to:

      22   Daugherty maintains and may pursue the 2008 tax refund

      23   compensation portion of his claim that is currently a disputed

      24   contingent liability.     The Debtor and all successors reserve

      25   the right to assert any and all defenses to this portion of




                                                                    Appx. 01932
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       1   the Daugherty claim.      The litigation of this claim shall be

       2   stayed until the IRS makes a final determination, provided,

       3   however, Daugherty may file a motion with the Bankruptcy Court

       4   seeking to have the amount of his tax claim determined for

       5   reservation purposes as a "disputed claim" under the Debtor's

       6   plan.   The Debtor and all successors reserve the right to

       7   assert any and all defenses to any such motion.

       8        So the Debtor's plan says that they can make estimations

       9   for disputed claims.      There is not currently something

      10   reserving this particular claim, so we wanted to make sure we

      11   reserve our rights to be able to have that amount reserved

      12   under the Debtor's plan.      And the Debtor obviously preserves

      13   their ability to object to that.

      14        With that, Your Honor, it is going to be papered up in a

      15   9019, and we'll have some further things to say at the 9019

      16   hearing, but didn't want to derail the Debtor's confirmation

      17   hearing this morning.

      18              THE COURT:   All right.   And --

      19              MR. POMERANTZ:    And Mr. Kathman is -- Mr. Kathman is

      20   correct.   I neglected to mention that provision, but he is --

      21   he read it, and that's agreed to.

      22              THE COURT:   All right.   And I did not hear anything

      23   about Mr. Daugherty's vote on the plan.       Is there an agreement

      24   to change or a motion to change the vote from no to yes?

      25              MR. KATHMAN:    Your Honor, that wasn't, I think,




                                                                      Appx. 01933
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       1   directly -- and Mr. Pomerantz can correct me if I'm wrong, or

       2   Mr. Morris, actually, probably more could -- that wasn't

       3   directly addressed, but I think the answer to that is probably

       4   they don't need our vote.

       5               THE COURT:   Okay.

       6               MR. KATHMAN:   I think they have enough votes in that

       7   class to carry.

       8               THE COURT:   Okay.

       9               MR. KATHMAN:   But the answer directly is that that

      10   wasn't specifically addressed one way or the other.

      11               THE COURT:   All right.

      12               MR. POMERANTZ:   That is correct, Your Honor.     We

      13   would, of course, not oppose Mr. Daugherty changing his vote,

      14   but as Your Honor saw in the ballot summary, we are way over

      15   the amount in dollar amounts of claims.       But if they wanted to

      16   change their vote, we wouldn't oppose.

      17               THE COURT:   All right.    Well, --

      18               MR. KATHMAN:   Your Honor, I have -- I have the

      19   benefit of Mr. Daugherty.        He is on -- I should note, Mr.

      20   Daugherty is on the hearing this morning.         He just let me know

      21   that he is willing to change his vote.       If the Debtor were to

      22   so make a motion, we're fine changing our vote to in favor of

      23   the plan.

      24               THE COURT:   All right.    All right.   Well, we'll get

      25   the ballot agent declaration or testimony later.        At one time




                                                                       Appx. 01934
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       1   when I had checked, there was a numerosity problem but not a

       2   dollar amount problem.       And it sounds like that is no longer

       3   an issue, perhaps because of the employee votes, or I don't

       4   know.

       5       But, all right.      Well, thank you.

       6               MR. POMERANTZ:    Your Honor, there is still a

       7   numerosity problem.

       8               THE COURT:   Okay.

       9               MR. POMERANTZ:    There's not a dollar amount problem.

      10               THE COURT:   Okay.

      11               MR. POMERANTZ:    But we'll address that and cram-down

      12   in closing.

      13               THE COURT:   All right.   Very good.

      14       All right.    Well, I want to hear from the -- what we've

      15   called the Senior Employee group.       Is Ms. Dandeneau going to

      16   confirm the announcement of Mr. Pomerantz?

      17               MS. DANDENEAU:    Yes, Your Honor.   I confirm that Mr.

      18   Pomerantz's recitation of the terms to which we've agreed is

      19   accurate.

      20               THE COURT:   All right.   Very good.

      21       All right.    I suppose I should circle back to UBS.       We've,

      22   of course, heard in prior hearings the past few weeks that

      23   there was a settlement with UBS, but Mr. Clubok, could I get

      24   you to confirm what Mr. Pomerantz announced earlier about the

      25   UBS settlement?




                                                                        Appx. 01935
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       1              MR. CLUBOK:    Yes.   Good morning again, Your Honor.

       2       Yes, we have reached a settlement, and it's just -- and

       3   it's been approved internally at UBS and obviously by the

       4   Debtor.    It's just subject to the final documentation.     And we

       5   are working very closely with the Debtor to try to do that as

       6   quickly as possible.

       7              THE COURT:    All right.   Thank you.

       8       All right.    Well, let me go, then, to other opening

       9   statements.    Is there anyone else who at this time wishes to

      10   make an opening statement?       And, you know, for the pending

      11   objectors, please, no more than 20 minutes.

      12              MR. CLEMENTE:    Your Honor?   Your Honor, if I may,

      13   it's Matt Clemente on behalf of the Committee.

      14              THE COURT:    Okay.

      15              MR. CLEMENTE:    I'd be very brief, but I would like to

      16   make some remarks to Your Honor.       It'll be less than five

      17   minutes.

      18              THE COURT:    All right.   Go ahead.

      19              MR. CLEMENTE:    Thank you, Your Honor.

      20   OPENING STATEMENT ON BEHALF OF THE UNSECURED CREDITORS' COMMITTEE

      21              MR. CLEMENTE:    Again, for the record, Matt Clemente;

      22   Sidley Austin; on behalf of the Official Committee of

      23   Unsecured Creditors.

      24       Your Honor, to be clear, the Committee fully supports

      25   confirmation of the Debtor's plan and believes the plan is




                                                                     Appx. 01936
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       1   confirmable and should be confirmed.

       2        Although it has taken us quite some time to get to this

       3   point, Your Honor, and as Mr. Pomerantz referred, the Debtor's

       4   business is somewhat complex, the plan is remarkably

       5   straightforward, Your Honor, and has only been made

       6   complicated by the various objections filed by Mr. Dondero's

       7   tentacles.

       8        At bottom, Your Honor, the plan is designed to recognize

       9   the reality of the situation that the Committee has

      10   continually been expressing to Your Honor, and that is the

      11   overwhelming amount of creditors in terms of dollars are

      12   litigation creditors, creditors who are here entirely because

      13   of the fraudulent and other conduct of Mr. Dondero and his

      14   tentacles.

      15        The other third-party creditors, Your Honor, by and large

      16   are those collateral to these litigation claims in terms of

      17   true trade creditors and service providers.

      18        Recognizing this fact, Your Honor, the plan contains an

      19   appropriate convenience class, which, in the Committee's view,

      20   provides a fair way to capture a large number of claims and

      21   appropriately recognizes the distinction between those claims

      22   and the large litigation claims.   And the holders of these

      23   large litigation claims, including now Mr. Daugherty, have

      24   voted in favor of allowing this convenience class treatment.

      25        Your Honor, after distributions are made to the




                                                                   Appx. 01937
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       1   administrative creditors, the priority creditors, the secured

       2   creditors, and the convenience creditors, the remainder goes

       3   to general unsecured creditors who will control how this value

       4   is realized.    These are the large litigation creditors.

       5       Additionally, Your Honor, recognizing the possibility of

       6   recovery in excess of general unsecured claims plus interest,

       7   and to thwart, from the Committee's perspective, what would

       8   have undoubtedly been an argument by one of the Dondero

       9   tentacles that the general unsecured creditors could be paid

      10   more than they are owed, the plan provides for a contingent

      11   interest to kick in after payment in full for interests of all

      12   prior claims.

      13       Your Honor, this is the sum and substance of the plan.        At

      14   bottom, fairly straightforward.    And the true creditors, Your

      15   Honor, have voted overwhelmingly in favor of the plan.      Class

      16   8 has voted to support the plan.    Class 7 has voted to accept

      17   the plan.   And now I believe, with Mr. Daugherty's settlement,

      18   one hundred percent in amount of Class 8, non-insider, non-

      19   Dondero-controlled or (audio gap) have voted in favor of the

      20   plan.

      21       To be clear, as Your Honor pointed out and as Mr.

      22   Pomerantz referenced, there is not numerosity in Class 8, Your

      23   Honor, but that is driven, as Your Honor will see, from

      24   approximately 30 no-votes of current employees who the

      25   Committee believes are not owed any amounts and therefore they




                                                                   Appx. 01938
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       1   will not be receiving payments under the plan, yet they voted

       2   against the plan.    So although we have a technical cram-down

       3   plan from the Class 8 perspective, Your Honor, the plan voting

       4   reflects the reality that the economic parties in interest

       5   overwhelmingly support the plan.

       6        So, Your Honor, cutting through the machinations of the

       7   Dondero tentacles, we do have a fairly straightforward plan

       8   and a plan that the Committee believes is confirmable and

       9   should be confirmed.

      10        Your Honor, since I've been in front of you for over a

      11   year now, I've referred to the goals of the Committee in this

      12   case, and the goals are straightforward in terms of expressing

      13   them but can be difficult in reality to implement them.      The

      14   Committee's goals have been two-fold:      to maximize the value

      15   of the estate and therefore the recoveries for its

      16   constituency, and to disentangle from the Dondero (audio gap).

      17        As with all things Highland, although these goals are

      18   straightforward, they're remarkably difficult to achieve,

      19   given the Dondero tentacles.   However, the Committee strongly

      20   believes the plan achieves these two goals.

      21        First, the plan provides a credible path to maximize

      22   recovery with Mr. Seery, who has gotten to know the assets and

      23   who has performed skillfully and credibly throughout this very

      24   difficult process.   It is a difficult set of assets and

      25   complex set of assets, as Your Honor knows very well.




                                                                    Appx. 01939
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       1       To be sure, there is uncertainty associated with the

       2   Debtor's projections, but that is inherent in the nature of

       3   the assets of the Debtor, and frankly, is inherent in the

       4   nature of projections themselves.   And Mr. Dondero and his

       5   tentacles will point to the downside, potentially, in those

       6   projections, but the Court will be reminded that there is also

       7   potential upside in those projections, an upside that would

       8   inure to the benefit of the general unsecured claims.

       9       Second, Your Honor, although it is seemingly impossible to

      10   free yourself from the Dondero web until every single one of

      11   the 2,000 barbed tentacles is painfully removed, if that's

      12   even possible, Your Honor, the Reorganized Debtor, the

      13   Claimant Trust, the Claimant Trustee, the Litigation Sub-

      14   Trust, the Litigation Trustee, and the Oversight Board

      15   construct and mechanisms is a structure that the Committee

      16   believes provides the creditors with the best possibility to

      17   do so, and that is to deal with what will undoubtedly be a

      18   flurry of attacks from Mr. Dondero and his tentacles.

      19       This is a virtual certainty, Your Honor.     The creditors

      20   have seen this movie before and Your Honor has seen this movie

      21   before.   They have seen Mr. Dondero make and break promises.

      22   They have seen Mr. Dondero attempt to bludgeon adversaries

      23   into submission in order to accept his offerings, and they

      24   have heard Mr. Dondero say that which he has said in this

      25   court during the preliminary injunction hearing --




                                                                   Appx. 01940
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       1   specifically, that the Debtor's plan "is going to end up in a

       2   myriad of litigation."

       3       The creditors are steeled in their will to be rid of Mr.

       4   Dondero, and they're confident in this structure to do so.

       5       To be clear, Your Honor, what is before the Court today

       6   for confirmation is the Debtor's plan, not some other plan

       7   that no one supports other than Mr. Dondero and his tentacles.

       8   The question isn't whether Mr. Dondero has a better proposal

       9   -- and footnote, Your Honor, the answer is he does not, both

      10   from a qualitative and quantitative perspective -- but whether

      11   the plan before the Court is in the best interest of creditors

      12   and should be confirmed.   The Committee strongly believes it

      13   is, and should, and all the Committee members support

      14   confirmation of the Debtor's plan.

      15       Recognizing Mr. Dondero's behavior, Your Honor, and

      16   threats regarding how he will behave in the future, there are

      17   certain provisions in the plan that are of critical importance

      18   to the creditors.   Of course, all provisions in the plan are

      19   extremely important, Your Honor, but as Mr. Pomerantz

      20   referenced, the creditors need the gatekeeper, exculpation,

      21   and injunction provisions.

      22       The reason is obvious, and is emphasized by the

      23   supplemental objection filed just yesterday by some of Mr.

      24   Dondero's tentacles -- namely, the Dugaboy and the Get Good

      25   Trusts.   And I quote, Your Honor:   "It is virtually certain




                                                                   Appx. 01941
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                                                                          39


      1   that, under the Debtor's plan, there will be years of

      2   litigation in multiple adversary proceedings, appeals, and

      3   collection activities, all adding substantial uncertainty and

      4   delay."

      5        Additionally, Your Honor has seen from the proceedings in

      6   this case and has expressed frustration at numerous times at

      7   the myriad and at times baseless and borderline frivolous and

      8   out of touch with reality suits and objections and proceedings

      9   that the Dondero tentacles bring.     The creditors need the

     10   gatekeeper, exculpation, and injunction provisions to preserve

     11   and protect value.     And the record, I think, to this point is

     12   clear, and will be further made clear through the confirmation

     13   proceedings, that the protections are appropriate and entirely

     14   within this Court's authority to grant.

     15        In sum, Your Honor, the Committee fully supports

     16   confirmation of the plan.     The Committee believes it is

     17   confirmable and should be confirmed, and two classes of

     18   creditors and the overwhelming amount of creditors in terms of

     19   dollars agree.

     20        That's it, Your Honor.    Unless you have questions for me,

     21   I have nothing further at this time.

     22             THE COURT:    All right.   Thank you, Mr. Clemente.

     23             MR. CLEMENTE:    Thank you, Your Honor.

     24             THE COURT:    All right.   Who else wishes to be heard?

     25             MR. DRAPER:     Your Honor, this is Douglas Draper.    I'd




                                                                   Appx. 01942
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       1   like to be heard.    I have a few -- I'll take five minutes, at

       2   most --

       3               THE COURT:    All right.   Go ahead.

       4               MR. DRAPER:    -- and just focus on a few things.

       5    OPENING STATEMENT ON BEHALF OF THE GET GOOD TRUST AND DUGABOY

       6                              INVESTMENT TRUST

       7               MR. DRAPER:    I'm going to focus my opening remarks on

       8   the releases, the exculpations, and channeling injunctions in

       9   the plan.    I'm not waiving my other objections, but, rather,

      10   trying not to subject the Court to hearing the same argument

      11   from multiple lawyers.

      12       The good thing about the law is that it's absolute in

      13   certain respects.    It does not matter who is asserting a legal

      14   protection, the law applies it.        For example, a serial killer

      15   is entitled to a Miranda warning and a protection against

      16   unlawful search and seizure.      The law does not allow tainted

      17   evidence or an unlawful admission into evidence,

      18   notwithstanding the fact that the lack of admission of that

      19   evidence may lead to the freeing of that serial killer.

      20       Today, you must make an independent evaluation as to

      21   whether the plan complies with 1129 and applicable law.         The

      22   decision must be made notwithstanding the fact that it is

      23   being made by a Dondero entity.        It's not being -- it must be

      24   applied notwithstanding the fact that it's being made by me.

      25       We contend that the plan does not meet the hurdle and




                                                                      Appx. 01943
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       1   confirmation should be denied, notwithstanding the fact that

       2   the infirmity with the plan is asserted by me and

       3   notwithstanding the fact that Mr. Pomerantz and the unsecured

       4   creditors have overwhelming support.

       5       We all know 1141, the Barton Doctrine, and 544 -- 524

       6   provide injunctions and protections for certain parties

       7   associated with the Debtor.   Had the plan merely referenced

       8   these sections and stated that the injunction, et cetera,

       9   shall not exceed those allowed pursuant to Pacific Lumber, I

      10   would not be making this argument.

      11       Instead, we see a plan that has a definition of Exculpated

      12   Parties, Released Parties, Related Parties, that exceed the

      13   protections afforded by the Bankruptcy Code, the Barton

      14   Doctrine, and 524.

      15       We have a grant of jurisdiction and oversight that exceeds

      16   that allowed under Craig's Store, the Craig's Store line of

      17   cases.

      18       We have releases of claims against non-debtor parties,

      19   such as Strand, who is, under the Bankruptcy Code, under 723,

      20   liable for the debts of the Debtor.

      21       The plan, with its expansive releases, released parties,

      22   grant of injunctions, exculpations and channeling injunctions,

      23   are impermissible under Fifth Circuit case law.    And I would

      24   ask the Court to look closely at those definitions, who is --

      25   who the law allows to be exculpated and released and who the




                                                                   Appx. 01944
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       1   law specifically prohibits being exculpated and released, and,

       2   in fact, apply the Pacific Lumber line of -- case, as well as

       3   524 and the Bankruptcy Code when you look at these issues.

       4       Notwithstanding the overwhelming so-called support by the

       5   creditors at issue, the law must be applied, and it must be

       6   applied pursuant to what the Fifth Circuit requires.

       7               THE COURT:   All right.   Thank you, Mr. Draper.

       8       Other Objectors with opening statements?

       9               MR. RUKAVINA:   Your Honor, Davor Rukavina.   Briefly?

      10               THE COURT:   Okay.

      11      OPENING STATEMENT ON BEHALF OF CERTAIN FUNDS AND ADVISORS

      12               MR. RUKAVINA:   Your Honor, I represent various funds,

      13   including three of which have independent boards.      The Debtor

      14   manages more than $140 million of those funds, and the Debtor

      15   manages around a billion dollars in CLOs.

      16       Whether I am a tentacle of Mr. Dondero or not -- I'm not,

      17   since there's an independent board -- the fact remains that

      18   the Debtor wants to manage these assets and my clients' money

      19   post-assumption and post-confirmation with effective judicial

      20   immunity.    So our fundamental problem with this plan is the

      21   assumption of those contracts under 365(c) and (b).       I think

      22   we'll have to wait for the evidence to see what the Debtor

      23   proposes and has, and I will reserve, I guess, the balance of

      24   my arguments on that to closing, depending on what the

      25   evidence is.




                                                                     Appx. 01945
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       1        But I don't want the Court to lose sight of the fact that

       2   what the Debtor wants to do is, in contravention of our

       3   desires, continue managing our assets post-confirmation, even

       4   as it liquidates, just to make a buck.     It's our money, Your

       5   Honor, and whether we're Dondero or not, we're a couple

       6   hundred million, probably, or more, of third-party investment

       7   professionals, pension funds, et cetera, and we should not be

       8   all tainted without evidence as a tentacle of someone whom,

       9   I'll remind everyone here, built a multi-billion dollar

      10   company and made a lot of money for people.

      11        The second objection, Your Honor, goes to the Class 8

      12   rejection.   It sounds like there's still a problem with the

      13   number of creditors, even though certain creditors have

      14   switched their votes.   That raises now the fair and equitable

      15   standard, together with the undue discrimination and the

      16   absolute priority rule.   I think we'll have to let the

      17   evidence play out, and I'll reserve the balance of my closing

      18   or the balance of my remarks to closing on that issue.

      19        The third issue, Your Honor, is the same exculpation and

      20   release and injunction provisions that Mr. Draper raised.

      21   Those are legal matters that I'll discuss at closing, but I do

      22   note that the Debtor purports to prevent my clients from

      23   exercising post-assumption post-confirmation rights, period.

      24   And that's just inappropriate, because if the Debtor wants the

      25   benefits of these agreements, well, then of course it has to




                                                                   Appx. 01946
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       1   comply with the burdens.    And to say a priori that anything

       2   that my clients might do post-confirmation would be the result

       3   of a bad-faith Mr. Dondero strategy, there's no basis for that

       4   and that's not the basis on which my clients' rights in the

       5   future, when there is no bankruptcy estate and there is no

       6   bankruptcy jurisdiction, can be enjoined.

       7        And the final point, Your Honor, entails this channeling

       8   injunction.   I'll talk about it during closing.     It is

       9   inappropriate under 28 U.S.C. 959.     This is not a Barton

      10   Doctrine trustee issue, this is a debtor-in-possession, and a

      11   channeling injunction, the Court will have no jurisdiction

      12   post-confirmation.

      13        Thank you, Your Honor.

      14             THE COURT:    All right.   Thank you.

      15        Does Mr. Dondero's counsel have an opening statement?

      16             MR. TAYLOR:    I do, Your Honor.    I'll keep it brief.

      17   This is Clay Taylor on behalf of Mr. Dondero.

      18             THE COURT:    Okay.

      19           OPENING STATEMENT ON BEHALF OF JAMES D. DONDERO

      20             MR. TAYLOR:    Your Honor, the plan is clear in some

      21   respects, and I'm not going to belabor these points, as other

      22   objecting counsel have already addressed this.      But the plan

      23   does provide for non-debtor releases, and it provides for non-

      24   debtor releases for parties beyond that which is allowed by

      25   Pacific Lumber and under the Code.




                                                                     Appx. 01947
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       1       It also provides for exculpations of non-debtor parties in

       2   excess of that which is allowed under the Code and applicable

       3   case law.

       4       Finally -- or, not finally, but third, it requires this

       5   Court to keep a broad retention of post-confirmation

       6   jurisdiction that could go on for years, and that is improper.

       7       Finally, it requires the parties to submit to the

       8   jurisdiction of this Court via a channeling injunction, which

       9   we believe is beyond that which is allowed under applicable

      10   Fifth Circuit precedent.

      11       What is clear, what the evidence will show -- and I

      12   thought it was interesting that none of the proponents of plan

      13   confirmation ever talk about what the evidence is going to

      14   show.    They testified a lot before Your Honor, but they didn't

      15   ever talk about what the evidence would show.    What the

      16   evidence will show is this plan was solicited via a disclosure

      17   statement that told all the unsecured creditors, we project

      18   that you're going to receive 87 cents on the dollar on your

      19   claim.

      20       About two months later, and this was Friday of this past

      21   week, they changed those projections, and those projections

      22   then showed unsecured creditors, under a plan analysis, that

      23   they were going to receive 62 cents on the dollar.    That is in

      24   contrast to the liquidation analysis that had been prepared

      25   just two months prior showing that, under a hypothetical




                                                                   Appx. 01948
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       1   Chapter 7 liquidation analysis, that the unsecured creditors

       2   would receive 65 cents on the dollar.      Obviously, 62 cents is

       3   less than 65 percent.

       4        Realizing they had a problem, I guess, over the weekend,

       5   they changed last night, the night before confirmation, and

       6   sent us some new projections that now show that the unsecured

       7   creditors under a plan would receive 71 cents on the dollar.

       8        Your Honor, what the evidence will show, and it is

       9   Highland's burden to show this, is that -- that they meet the

      10   best interests of the creditors.    And part of that is that

      11   they will do better under a plan rather than under a

      12   hypothetical Chapter 7.

      13        Quite simply, they don't have the evidence, nor have they

      14   done the analysis to be able to prove that to this Court.

      15        What the evidence will also show is clear is that Mr.

      16   Seery, under the plan analysis, is scheduled to receive at

      17   least $3.6 million over just the first two years of this plan

      18   if it doesn't go any further.    And that's just for monthly

      19   payouts of $150,000 per month.    That's not including a to-be-

      20   agreed-upon success fee structure, which hasn't been

      21   negotiated yet.   And if it hasn't been negotiated yet, it

      22   can't be analyzed yet to see if those costs would exceed their

      23   benefits and therefore drive the return down such that a

      24   hypothetical Chapter 7 trustee could do better.

      25        There is also going to be additional costs for the




                                                                    Appx. 01949
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       1   Litigation Trustee and the fees that they are going to charge.

       2   There's going to be an Oversight Committee, and those fees are

       3   also to be negotiated.   There's also U.S. Trustee fees, which

       4   Mr. Seery tells us that he has calculated within the

       5   liquidation and plan analysis numbers, albeit both myself and

       6   Mr. Draper, as the evidence will show, have asked for the

       7   rollups that come behind the liquidation and plan analysis in

       8   each instance of the three iterations that have been done in

       9   two months, and we have been denied that information.     That

      10   evidence is not going to come in before this Court, and

      11   without that rollup information, this Court can't make an

      12   independent verification that this meets the best interests of

      13   the creditor and better than a hypothetical Chapter 7 trustee.

      14       What the evidence will also show, make an assumption that,

      15   under a plan analysis, that Mr. Seery will be able to generate

      16   higher returns on the sale of the assets of the Highland

      17   debtor and its subsidiaries, to the neighborhood of $60

      18   million higher.   There is no independent verification of this.

      19   There has been no due diligence done.      It was merely an

      20   assumption done by Mr. Seery and his advisors, and we submit

      21   that they will not have the evidence to show that they can

      22   beat a Chapter 7 trustee.

      23       This Court does have an alternative before it.      There is

      24   an alternative plan that has been filed under seal.     The Court

      25   is aware of it.   And it guarantees that creditors will receive




                                                                     Appx. 01950
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       1   at least 65 cents on the dollar.       Moreover, those claims are

       2   guaranteed -- and they're going to be secured that they will

       3   be paid that money.

       4             MR. POMERANTZ:    Your Honor, this is under -- this is

       5   under seal.   And I never interrupt somebody's argument, but

       6   this plan is under seal for a reason, Your Honor, and I object

       7   to any description of the terms of a plan that's not before

       8   Your Honor and is under seal.

       9             THE COURT:    Okay.    I sustain that objection.

      10             MR. TAYLOR:    Your Honor has a means to cut the

      11   Gordian knot of the litigation and appeals before it and to

      12   ensure that there is certainty for creditors.      It would

      13   massively reduce the administrative fee burn that is

      14   contemplated under the proposed plan before the Court.         As

      15   I've mentioned, it's at least $3.6 million just in monthly

      16   fees for Mr. Seery alone.       All of the rest of the fees are yet

      17   to be determined and to be negotiated.      I don't see how any

      18   analysis could have been done regarding the administrative fee

      19   burn that is going to happen over the two years and

      20   potentially much further as this case draws on.

      21        For those reasons alone, Your Honor, we believe that the

      22   plan confirmation should be denied and this Court should look

      23   at the alternatives before it.

      24             MR. KATHMAN:    Can I say something before --

      25             MR. TAYLOR:    Thank you, Your Honor.




                                                                        Appx. 01951
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       1             THE COURT:   All right.   Thank you.

       2        All right.   Have I missed any Objectors?

       3             MR. KATHMAN:    Your Honor?

       4             MS. DRAWHORN:    Yes, Your Honor.

       5             THE COURT:   Okay.   Ms. --

       6             MR. KATHMAN:    Your Honor, if I could spend just one

       7   minute, and I -- we -- I -- we filed a joinder on behalf of

       8   Mr. -- or, Jason Kathman on behalf of Davis Deadman, Todd

       9   Travers, and Paul Kauffman.

      10             THE COURT:   Uh-huh.

      11     OPENING STATEMENT ON BEHALF OF DAVIS DEADMAN, TODD TRAVERS,

      12                             AND PAUL KAUFFMAN

      13             MR. KATHMAN:    Mr. Pomerantz had noted, I think, at

      14   the front end that the Debtor amended their plan that resolved

      15   those objections.   I just want to say for the record that

      16   those had been resolved.

      17        And with that, Your Honor, may I be dismissed?

      18             THE COURT:   Yes, you may.    Thank you.

      19             MR. KATHMAN:    Thank you, Your Honor.

      20             THE COURT:   All right.   Was Ms. Drawhorn speaking up

      21   to make an opening statement?

      22             MS. DRAWHORN:    Yes.

      23             THE COURT:   Go ahead.

      24             MS. DRAWHORN:    Yes, Your Honor.

      25             THE COURT:   Go ahead.




                                                                      Appx. 01952
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       1         OPENING STATEMENT ON BEHALF OF THE NEXPOINT PARTIES

       2             MS. DRAWHORN:   Just very briefly, Lauren Drawhorn on

       3   behalf of NexPoint Real Estate Partners, the NexPoint Real

       4   Estate entities, and NexBank.

       5        Just a very brief opening.   Just wanted to note that it

       6   seems that the Debtor's and the Committee's position seems to

       7   be if there's some way, any way, to connect an entity to Mr.

       8   Dondero, then they don't need to perform any true evaluation

       9   of potential claims or that party's rights or their concerns,

      10   and that results in ignoring not only the merits of many

      11   claims but also the basic requirements of due process and the

      12   statutes, the Bankruptcy Code, and the case law.

      13        We filed objections that were focused largely on the

      14   injunctions and the releases, and then also the proposed

      15   subordination provisions.

      16        Two of my clients, one of them has a proof of claim, and

      17   while it is being disputed, that claim is out there and should

      18   get -- be entitled to be pursued and defended, and many of the

      19   injunctions appear to prevent my client from doing so.

      20        Similarly, it was mentioned that NexBank, in the

      21   demonstrative, had a terminated service agreement, but there's

      22   periods of time for which no services were provided but

      23   payment was made, and that's a potential admin claim that has

      24   been raised.   And the injunction, again, appears to prevent my

      25   clients from pursuing these claims.




                                                                   Appx. 01953
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       1          So I think, despite the general response to any connection

       2   to Dondero means there's no merit, that's not what we're here

       3   for today.       We need to really look at the merits of all

       4   potential claims and all -- the rights of all parties and the

       5   -- how the injunction and release provisions prevent that and

       6   how they don't comply with the required law.

       7          And, of course, we join in with many of the other

       8   objections, but that's my main point for the opening today.

       9                  THE COURT:    All right.   Thank you.

      10          All right.    I think I have covered all of the at least

      11   pending objections except the U.S. Trustee.            I'll check again

      12   to see if someone is out there for the U.S. Trustee.           (No

      13   response.)       All right.     If you're there, we're not hearing

      14   you.    You're on mute.

      15          Okay.    Any other attorneys out there who wish to make an

      16   opening statement?

      17          All right.    Well, I'll turn back to Mr. Pomerantz.       You

      18   may call your first witness.

      19                  MR. POMERANTZ:    Okay.    I will turn the virtual podium

      20   over to my partner, John Morris, who will be putting on our

      21   witnesses.

      22                  THE COURT:    All right.   Mr. Morris, you may call your

      23   first witness.

      24                  MR. MORRIS:    Good morning, Your Honor.    John Morris

      25   from Pachulski Stang Ziehl & Jones on behalf of the Debtor.




                                                                          Appx. 01954
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                                                                          52


       1   Can you hear me okay?

       2             THE COURT:    I can.

       3             MR. MORRIS:    Okay.    Thank you very much.

       4        The Debtor calls James Seery as its first witness.

       5             THE COURT:    All right.     Mr. Seery, if you could say,

       6   "Testing, one, two," please.

       7             MR. SEERY:    Testing, one, two.

       8             THE COURT:    All right.    Hmm, I've not picked up your

       9   video yet.    Let's try it again.

      10             MR. SEERY:    Testing, one, two.    Testing.

      11             MR. MORRIS:    We have the audio.

      12             THE COURT:    We have the audio.

      13             MR. SEERY:    Oh.

      14             MR. MORRIS:    There we go.

      15             THE COURT:    There you are.

      16             MR. SEERY:    The video should be working.

      17             THE COURT:    All right.

      18             MR. POMERANTZ:      Yeah.   Actually, one -- Your Honor,

      19   one thing before we start.       We have Patrick Leatham from KCC.

      20   He is prepared to sit on the line for the whole day until his

      21   time comes.    I would just like to know if anyone intends to

      22   cross-examine him or object to his declaration.       Because if

      23   they don't, we could excuse Mr. Leatham.

      24             THE COURT:    All right.    What about that?   Anyone

      25   want to cross-examine the balloting agent?




                                                                      Appx. 01955
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                                                                              53


      1               MR. RUKAVINA:    Your Honor, Davor Rukavina.     I do not.

      2   If the Debtor would just state, with the change of votes in

      3   Class 8, what the final tally is, I see no reason to dispute

      4   that, and then we can dismiss this gentleman.         But I do think

      5   that we should all know, with the change of votes, what it now

      6   is.

      7               THE COURT:    All right.

      8               MR. POMERANTZ:   We will -- we will work on that, Your

      9   Honor, with the changes as a result of the settlements today,

     10   and including Mr. Daugherty's client.          We can get that

     11   information sometime today.

     12               THE COURT:    All right.   So, Mr. Rukavina, do you

     13   agree that he can be excused with that representation, or do

     14   you want --

     15               MR. RUKAVINA:    Yes, Your Honor.

     16               THE COURT:    Okay.   All right.    So, it's Mr. Leatham?

     17   You are excused if you want to drop off this video.

     18         All right.   Mr. Seery, please raise your right hand.

     19                 JAMES P. SEERY, DEBTOR'S WITNESS, SWORN

     20               THE COURT:    All right.   Thank you.    Mr. Morris, go

     21   ahead.

     22               MR. MORRIS:    Thank you, Your Honor.

     23         If I may, I'd like to just begin by moving my exhibits

     24   into evidence so that it'll make this all go a little bit

     25   smoother.




                                                                           Appx. 01956
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                                                                          54


       1             THE COURT:    All right.

       2             MR. MORRIS:     And if you'll indulge me just a little

       3   patience, please, because the Debtor's exhibits are found in

       4   three separate places.

       5             THE COURT:    Uh-huh.

       6             MR. MORRIS:    And I would just take them one at a

       7   time.

       8       First, at Docket No. 1822, the Court will find Debtor's

       9   Exhibits A through what I'm referring to as 6Z.      Six Zs.   So

      10   the Debtor respectfully moves into evidence Exhibits A through

      11   6Z on Docket No. 1822.

      12             THE COURT:    All right.   Are there any objections?

      13             MR. RUKAVINA:    Your Honor, I have a number of

      14   targeted objections to all of the exhibits.      Did I hear Mr.

      15   Morris say 6Z?

      16             THE COURT:    Yes.

      17             MR. MORRIS:    Yes.

      18             MR. RUKAVINA:    Or six -- then, Your Honor, I can go

      19   through my limited objections, if that pleases the Court.

      20             THE COURT:    All right.   Go ahead.

      21             MR. RUKAVINA:    Your Honor, Exhibit B, a transcript, B

      22   as in boy.   Exhibit D, an email, D as in dog.    Exhibit E as in

      23   Edward.   Moving on, Your Honor, 4D as in dog.     4E as in

      24   Edward.

      25             MR. MORRIS:     Slow down, please.




                                                                    Appx. 01957
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                                                                             55


       1             THE COURT:    Okay.

       2             MR. RUKAVINA:    I'm sorry.

       3             THE COURT:    You said 4D as in dog, correct?

       4             MR. RUKAVINA:    Then -- yes, Your Honor.       Then 4E as

       5   in Edward.

       6             THE COURT:    Okay.

       7             MR. RUKAVINA:    4G as in George.       Your Honor, one,

       8   two, three, four, five T.       5T as in Tom.    And then, Your

       9   Honor, one, two -- 6R.     6S.   6T as in Tom.     And 6U as in

      10   under.   That's it.

      11             THE COURT:    All right.    Well, Mr. Morris, do you want

      12   to carve those out for now and just offer them the old-

      13   fashioned way and I can rule on the objections then?

      14             MR. MORRIS:     Why don't we do that?      I may just deal

      15   with it at the end of the case.      But subject to those

      16   objections, the Debtor then moves into evidence the balance of

      17   the exhibits on Docket 1822.

      18             THE COURT:    All right.    So, for the record, the Court

      19   will admit all exhibits at Docket No. 1822 at this time except

      20   B, D, E, 4D, 4E, 4G, 5T, 6R, 6S, 6T, and 6U.

      21       (Debtor's Docket 1822 exhibits, exclusive of Exhibits B,

      22   D, E, 4D, 4E, 4G, 5T, 6R, 6S, 6T, and 6U, are received into

      23   evidence.)

      24             THE COURT:    All right.    Mr. Morris, continue.

      25             MR. MORRIS:    Thank you, Your Honor.




                                                                        Appx. 01958
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                                                                               56


       1       Next, at Docket 1866, you'll find Debtor's Exhibits 7A

       2   through 7E, and the Debtor respectfully moves those dockets --

       3   documents into evidence.

       4               THE COURT:    All right.   Any objection?   (No

       5   response.)    Are there any objections?

       6               MR. RUKAVINA:    Your Honor, not from -- not from me.

       7               THE COURT:    All right.   Hearing no objections, the

       8   Court will admit all Debtor exhibits appearing at Docket Entry

       9   No. 1866.

      10               MR. MORRIS:    Thank you, Your Honor.

      11       (Debtor's Docket 1866 exhibits are received into

      12   evidence.)

      13               MR. MORRIS:    And finally, at Docket 1877, the Court

      14   will find Debtor's Exhibits 7F through 7Q, and the Debtor

      15   respectfully moves for the admission of those documents into

      16   evidence.

      17               THE COURT:    All right.   Any objection?

      18               MR. RUKAVINA:    Your Honor, I might have to talk about

      19   this with Mr. Morris, but I have 7F as any document entered in

      20   the case, 7G as any document to be filed, et cetera.          Mr.

      21   Morris, am I wrong about that?

      22               MR. MORRIS:    I don't have that list in front of me.

      23   So I'll reserve on those documents and we can talk about them

      24   at a break, Your Honor.

      25               THE COURT:    All right.




                                                                         Appx. 01959
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                                                                           57


       1             MR. DRAPER:    Your Honor, this is Douglas Draper.      I

       2   object, and I don't have the number in front of me, it's the

       3   liquidation analysis and the plan summary.      It's a summary

       4   exhibit, and we've not been given the underlying documentation

       5   with respect to them.    I'd ask Mr. Morris to deal with that

       6   separately also.

       7             MR. MORRIS:    All right.   Well, we're certainly going

       8   to be moving that into evidence, so we can deal with that at

       9   the time, Your Honor.

      10             THE COURT:    Okay.    Which documents are they?    Which

      11   exhibits are those?

      12             MR. DRAPER:    I don't have the number in front -- Mr.

      13   Morris, do you have the number for that exhibit?

      14             MR. MORRIS:    I do, but why don't we just deal with it

      15   when I -- when I get into --

      16             THE COURT:    Okay.

      17             MR. MORRIS:    -- into the testimony?

      18             THE COURT:    I just wanted the record clear what I am

      19   admitting at this time at Docket Entry No. 1877.      Or do you

      20   want to just --

      21             MR. MORRIS:    Okay.

      22             THE COURT:    -- hold all those --

      23             MR. MORRIS:    Mr. Rukavina, other than F and G, which

      24   you noted, is there any objection to any of the other

      25   documents on that witness and exhibit list?




                                                                        Appx. 01960
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                                       Seery - Direct                          58


       1               MR. RUKAVINA:    Well, I also have H as impeachment/

       2   rebuttal, I as any document offered by any other party.             So I

       3   would suggest, Mr. Morris, that I have my associate confirm

       4   that I have the right -- the right stuff here, and we can take

       5   it up maybe during a break.        But I have F, G, H, I as so-

       6   called catchalls, not any discrete exhibits.

       7               MR. MORRIS:    All right.    All right, Your Honor.

       8   Let's, let's just proceed.         We've got -- we took care of

       9   Docket No. 1822 and 1866, and the balance we'll deal with at a

      10   break, --

      11               THE COURT:    All right.

      12               MR. MORRIS:     -- unless they come up through

      13   testimony.

      14               THE COURT:    All right.    That sounds good.

      15               MR. MORRIS:    Okay.    Thank you very much.    May I

      16   proceed?

      17               THE COURT:    You may.

      18               MR. MORRIS:    Okay.

      19                             DIRECT EXAMINATION

      20   BY MR. MORRIS:

      21   Q    Good morning, Mr. Seery.

      22   A    (no response)

      23   Q    Can you hear me?

      24   A    Apologies.   I went on mute.       Can you hear me now?    I

      25   apologize.




                                                                          Appx. 01961
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                                      Seery - Direct                      59


       1   Q   Yes.    Good morning.

       2               MR. MORRIS:    So, let's begin, Your Honor, with just a

       3   little bit of background of Mr. Seery and how he got involved

       4   in the case.

       5   BY MR. MORRIS:

       6   Q   Mr. Seery, what's your current position with the Debtor?

       7   A   I am the CEO, the CRO -- the chief restructuring officer

       8   -- as well as an independent director on the Strand Advisors

       9   board of directors.

      10   Q   Okay.

      11               MR. MORRIS:    Your Honor, I'm going to ask Mr. Seery

      12   to describe a bit for his background.       For the record, you'll

      13   find that Exhibits 6X, 6Y, and 6Z, on the Debtor's exhibit

      14   list at Docket 1822, the resumes and C.V.s of the three

      15   independent members of the board.      If Your Honor has any

      16   question about their qualifications and their experience, that

      17   evidence is already in the record.

      18               THE COURT:    Okay.

      19   BY MR. MORRIS:

      20   Q   But Mr. Seery, without going into the detail of everything

      21   that's on your C.V., can you just describe for the Court

      22   generally your professional background, starting, well, with

      23   your time as a lawyer?

      24   A   I've been involved in the restructuring, finance,

      25   investing and managing of assets and banking-type assets for




                                                                     Appx. 01962
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                                   Seery - Direct                       60


       1   over 30 years.

       2       I began in restructuring in real estate.      Became a lawyer,

       3   and was a lawyer in private practice dealing with

       4   restructuring and finance for approximately ten years, in

       5   addition to time before that on the real estate side.

       6       I joined Lehman Brothers on the business side in 1999,

       7   where I immediately began working on the -- with a distress

       8   team as a team member investing off the balance sheet, Lehman

       9   Brothers assets in various types of distressed financing

      10   investments.   Bonds, loans, equities.     In addition, then I

      11   became the head of Lehman's loan business globally.      I ran

      12   that business for the number of years.     Was one of the key

      13   players in selling Lehman Brothers to Barclays in a very

      14   difficult situation and structure.

      15       After that, joined some of my partners, we formed a hedge

      16   fund called RiverBirch Capital, about a billion and a half

      17   dollar hedge fund in -- operating in -- globally, but mostly

      18   U.S. stressed/distressed assets that we invested in.

      19   Oftentimes, though, we would run from high-grade assets all

      20   the way down to equities, different types of investors,

      21   different types of investments.

      22       Thereafter, I left -- was -- joined Guggenheim.      I left

      23   Guggenheim, and shortly thereafter became a director at

      24   Strand.

      25   Q   Prior to acceptance of the positions that you described




                                                                    Appx. 01963
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                                      Seery - Direct                        61


       1   earlier, were you at all familiar with Highland or Mr.

       2   Dondero?

       3   A   Yeah.    I was, yes.

       4   Q   Can you just describe for the Court how you became

       5   familiar with Highland and Mr. Dondero?

       6   A   Highland was a customer of Lehman Brothers, and it was --

       7   particularly in the loan business.         And the CLO businesses.

       8   Highland was run by Mr. Dondero, and I knew of that business

       9   through that --

      10       (Interruption.)

      11               MR. MORRIS:    Can somebody please put their device on

      12   mute?

      13               A VOICE:   That's Mr. Taylor.

      14               THE COURT:    Mr. Taylor, you were off mute,

      15   apparently, for a moment.         Make sure you're staying on mute.

      16   Thank you.

      17               MR. TAYLOR:    Yes.    Sorry, Your Honor.   I thought we

      18   might have a hearsay objection.         I wasn't sure what the answer

      19   was going to be, so I wanted to be prepared to object.

      20               THE COURT:    All right.    Thank you.

      21   BY MR. MORRIS:

      22   Q   Did you know or meet Mr. Dondero in the course of what you

      23   just described?

      24   A   Yes, I did.    I believe we met once or twice over the

      25   years.   There was a senior team member who handled the




                                                                        Appx. 01964
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                                    Seery - Direct                      62


       1   Highland relationship.     He was quite good, quite experienced,

       2   and he handled most of the Highland relationship issues.     But

       3   Highland, we came across a number of times, whether it be in

       4   -- I came across a number of times, whether it be in specific

       5   investments we had where they would be either a competing

       6   party or holding a similar interest, whether they were a

       7   customer purchasing loans or securities, whether they were a

       8   potential CLO customer where we were structuring some assets

       9   for them.

      10   Q    Okay.   And who are the two other members of the

      11   independent board at Strand?

      12   A    John Dubel and Russel Nelms.

      13   Q    And had you had any personal experience with either of

      14   those gentleman prior to this case?

      15   A    I knew of Mr. Nelms and his experience as a bankruptcy

      16   judge in the Northern District of Texas, and I had worked on

      17   one matter with Mr. Dubel, but very, very briefly, while he

      18   was the CEO of FGIC, which is a large insurer in the financial

      19   insurance space that he was responsible for reorganizing and

      20   ultimately winding down.

      21   Q    Okay.   How did you learn about this particular case?    How

      22   did you learn about the opportunity or the possibility of

      23   becoming an independent director?

      24   A    Initially, I was contacted by some of the creditors and

      25   asked whether I was interested, and I indicated that I was.




                                                                   Appx. 01965
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                                  Seery - Direct                        63


      1   Subsequently, I received a call from the Debtor's

      2   representatives as well meeting the counsel as well as the

      3   financial advisor as well as specific members of the Debtor's

      4   senior management.

      5   Q    Do you know how long in advance of the January 9th

      6   settlement you were first contacted?

      7   A    Probably four, four or five days at the most, but started

      8   working immediately at that time because it was a pretty

      9   complicated matter and the interview process would be quick

     10   because of the hearing date that was coming up.

     11   Q    Do you recall the names of any of the creditors who

     12   reached out to you?

     13   A    I spoke to counsel for UBS.   Certainly, Committee counsel.

     14   I don't recall if I spoke to anybody from Jenner Block in the

     15   initial interview.    And then I spoke to representatives from

     16   your firm as well as Mr. Leventon and ultimately Mr.

     17   Ellington.

     18   Q    Did you do any due diligence before accepting the

     19   appointment?

     20   A    I did, yes.

     21   Q    Can you describe for the Court the due diligence you did

     22   before accepting your appointment as independent director?

     23   A    Well, I got the petition, I read the petition, as well as

     24   the first day, as well as the venue-changing motion.     In

     25   addition, I went through the schedules.     Ultimately, I took a




                                                                   Appx. 01966
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                                   Seery - Direct                      64


       1   look at and examined the limited partnership agreement of the

       2   Debtor, with particular focus on the indemnity provisions.       I

       3   then sat down with the Committee to get their views as part of

       4   the interview process, as well as the Debtor's counsel and

       5   Debtor's representatives.

       6   Q    Did you -- in the course of your diligence, did you come

       7   to an understanding or did you form a view as to why an

       8   independent board was being sought at that time?

       9   A    Yes, I did.

      10   Q    And what view or understanding did you come to?

      11   A    There was extreme antipathy from the creditors, as

      12   evidenced by the venue motion and the documents around that

      13   venue motion.

      14        In addition, in the first day order, or affidavit, you

      15   could see the issues related to Redeemer and the length of

      16   time that litigation has been gone on, going on.

      17        The creditors became extremely concern with Mr. Dondero

      18   having any control over the operations of the Debtor and

      19   wanted to make sure that either he was removed from that or

      20   that -- and someone else was brought in, or that the case was

      21   somehow taken over by a trustee.

      22   Q    Did you form any views as to the causes of the Debtor's

      23   bankruptcy filing?

      24   A    The initial cause was the entry or the soon-to-be-entered

      25   order related to the arbitration with Redeemer, but it was




                                                                   Appx. 01967
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                                     Seery - Direct                       65


       1   pretty clear from looking at the first day that there was a

       2   number of litigations.     The bulk of the creditor body was made

       3   up of -- on the liquidated side was made up of litigation

       4   creditors.   And then the other creditors, the Committee

       5   members, other than Meta-e, were significant litigation

       6   creditors.

       7              MR. MORRIS:    Your Honor, I think Mr. Seery was sworn

       8   in, but unless -- unless you -- if you think there's a need,

       9   I'm happy to have you swear Mr. Seery in again just to make

      10   sure his testimony is under oath.

      11              THE WITNESS:    I was sworn in.

      12              THE COURT:    Yes, I swore him in.

      13              MR. MORRIS:    That's what I thought.    That's what I

      14   thought.   Somebody had made the suggestion to me, so I was

      15   just trying to make sure, because I didn't want any unsworn

      16   testimony here today.

      17              THE COURT:    We did.

      18              MR. MORRIS:    Okay.

      19              THE COURT:    We did.

      20              MR. MORRIS:    Thank you.   Thank you.

      21   BY MR. MORRIS:

      22   Q    Ultimately, sir, just to move this along a little bit, do

      23   you recall that an agreement was reached with the UCC and Mr.

      24   Dondero and the Debtor concerning governance issues?

      25   A    Yes, I do.




                                                                      Appx. 01968
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                                    Seery - Direct                       66


       1   Q   And did you accept your position as an independent

       2   director at Strand as part of that corporate governance

       3   settlement?

       4   A   That, that was part of the appointment.     We -- the

       5   independent directors were brought in to take -- really, to

       6   take control of the company as independent fiduciaries.       And

       7   the idea, I think, was that there was a Chapter 7 motion that

       8   was about to be filed by the Committee, or at least that was

       9   the representation, and the Debtor had a choice, they could

      10   either accept the independent directors or they could face the

      11   motion.

      12       What actually happened was a little bit more complicated.

      13   The creditors and the Debtor agreed on the selection of Mr.

      14   Dubel and myself.    And then because they couldn't agree on the

      15   third member of the independent board, they left it to Mr.

      16   Dubel and myself to actually come up with a process, interview

      17   candidates, and make that selection, which we did, which

      18   ultimately became Mr. Nelms.

      19   Q   And did all of this take place during that four- or five-

      20   day period prior to January 9th?

      21   A   It did, yes.

      22   Q   Okay.     And let's talk about the makeup of the board.

      23   You've identified the other individuals.    How would you

      24   characterize the skillset and the capability of the

      25   individual?




                                                                   Appx. 01969
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                                   Seery - Direct                      67


       1   A   Well, on paper, I think it's a pretty uniquely-constructed

       2   board for this type of asset management business with the

       3   diversity of these types of assets and the diversity of issues

       4   that we had.

       5       So, former Judge Nelms, obviously skilled in bankruptcy

       6   and the law around bankruptcy, but also very skilled in

       7   mediation, conflict resolution, and in particular his

       8   prepetition or maybe pre-judicial experience in litigation and

       9   litigation involving fiduciary duties we thought could be

      10   very, very important because of the myriad of interrelated

      11   issues that we could see that might arise.

      12       John Dubel is an extremely well-known and respected

      13   restructuring professional.   He has been dealing these kinds

      14   of assignments as an independent fiduciary for, gosh, as long

      15   as I can recall, but at least going back 15 to 20 years.    He

      16   had experience in accounting, but he's also been the leader of

      17   these kinds of organizations going through restructuring in

      18   many operational type roles, and so he was a perfect fit.

      19       And my experience in both restructuring as well as asset

      20   management and investment I think dovetailed nicely with the

      21   experience that Mr. Nelms and Mr. Dubel have.

      22   Q   Okay.   Let's talk for just a moment at a high level of the

      23   agreement that was reached.   Do you remember that there were

      24   several documents that embodied the terms of the agreement?

      25   A   Yes, I do.




                                                                   Appx. 01970
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                                    Seery - Direct                         68


       1   Q   And do you remember one of them was an order that the

       2   Court entered on January 9th?

       3   A   Yes.

       4              MR. MORRIS:   All right.   Your Honor, just for the

       5   record, and we'll be looking at this, but that would be

       6   document Exhibit 5Q as in queen, and that's at Docket No.

       7   1822.

       8   BY MR. MORRIS:

       9   Q   Do you remember there was a separate term sheet, Mr.

      10   Seery, that was also part of the agreement among the

      11   constituents?

      12   A   Yes.   There were -- I think there were a couple of term

      13   sheets and stipulations, but I do recall that there was some

      14   very specific term sheets with the terms.

      15              MR. MORRIS:   All right.   And we'll look at that one

      16   as well, Your Honor, but that can be found at Exhibit 5O as in

      17   Oscar.

      18   BY MR. MORRIS:

      19   Q   And then, finally, do you recall that Mr. Dondero signed a

      20   stipulation that was also part of the agreement?

      21   A   Yes.   That was absolutely key to the agreement for the

      22   creditors and perhaps the Court.      But it was really -- it

      23   needed to be clear that he was signed on to this transaction.

      24              MR. MORRIS:   Okay.   And we'll look at that as well.

      25   That's Exhibit 7Q.   And remind me, we'll move that one into




                                                                    Appx. 01971
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                                    Seery - Direct                      69


       1   evidence.

       2   BY MR. MORRIS:

       3   Q    Did you and the other prospective independent directors

       4   actually participate in the negotiation of any aspect of this

       5   agreement that you've generally described?

       6   A    Absolutely.   Although we hadn't been appointed yet, these

       7   agreements were going to be the structure with which -- or

       8   under which we would come in as independent fiduciaries.      They

       9   would govern a lot of our relationships.      They would provide

      10   for the protections that we required and that I required.        So

      11   they were exceedingly important to me.

      12   Q    Can you describe for the Court at a general level your

      13   understanding of the overall structure of the corporate

      14   governance settlement?

      15   A    From a very high level, the settlement was -- Highland

      16   Capital Partners is a limited partnership.     It's managed by

      17   its general partner, Strand Advisors.      Although Strand is the

      18   GP, its effective interest in Highland is minimal, about .25

      19   percent of the effective partnership interest.      But it is the

      20   general partner.   So it does govern the -- the partnership.

      21        We came in as an independent board that would oversee and

      22   control Strand Advisors and thereby, through the general

      23   partner position, oversee and control HCMLP, the Debtor.

      24        In addition, the Committee then overlaid what we could do

      25   with respect to how we operated the business in the ordinary




                                                                    Appx. 01972
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                                     Seery - Direct                          70


       1   course in Chapter 11 with a specific set of protocols that

       2   governed certain transactions that we would have to get

       3   permission from either the Committee or the Court to engage

       4   in.

       5         And in addition, Mr. Dondero, notwithstanding the

       6   insertion of the independent board at Strand, also had a set

       7   of restrictions around him, because, of course, not only was

       8   he the former control entity at Highland and Strand, he also

       9   had a hundred percent of the ownership -- indirectly, of

      10   course -- of Strand and could have removed the board.        So

      11   there were restrictions around what he could do with respect

      12   to the board.      There were also restrictions around what he

      13   could do through various entities to terminate contracts and

      14   --

      15   Q     All right.    We'll look at some of those in detail.    Did,

      16   to the best of your recollection, did Mr. Dondero give up his

      17   position as president or CEO of the Debtor?

      18   A     He did, yes.

      19   Q     And did he nevertheless stay on as an employee of the

      20   Debtor and retain a position as portfolio manager?

      21   A     He did.   At the last second, I believe it was the night

      22   before, when we were actually in Dallas preparing for the

      23   hearing, but Mr. Ellington raised the concern that if Dondero

      24   was removed from not only the presidency but also the

      25   portfolio management position, potentially there would be some




                                                                     Appx. 01973
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                                    Seery - Direct                      71


       1   agreements that might or might not be subject to Court

       2   approval that could be terminated and value would be lost.        So

       3   this was a very last-second provision.     Obviously, the -- as

       4   new estate fiduciaries, we didn't want value to be lost

       5   instantly for key man or some other reason.     And the Committee

       6   ultimately, or I guess you'd say reluctantly, agreed to that

       7   because we just didn't have time to look at any of -- any such

       8   agreements.

       9              MR. MORRIS:   All right.   Let's -- can we put up on

      10   the screen, Ms. Canty, Debtor's Exhibit 5Q?

      11       And this is in evidence, Your Honor.     This is the January

      12   9th order.

      13       And can we please go to Paragraph 8?

      14   BY MR. MORRIS:

      15   Q   Mr. Seery, you had mentioned just a few minutes ago that

      16   there were certain restrictions that were placed on Mr.

      17   Dondero.   Does Paragraph 8, to the best of your recollection,

      18   provide for the substance of at least some of those

      19   restrictions?

      20   A   It does, yes.

      21   Q   And can you just describe for the Court your understanding

      22   of the restrictions that were imposed on Mr. Dondero pursuant

      23   to Paragraph 8?

      24   A   Well, as I recall, when Mr. Ellington came in with the

      25   last-minute request, the Committee was extremely upset about




                                                                    Appx. 01974
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                                        Seery - Direct                      72


       1   it.   We talked about it.       Obviously, we, as an independent

       2   board that was going to come in, didn't know the underlying

       3   contracts and couldn't really render any judgment as to

       4   whether there would be value lost.         So, the Committee agreed,

       5   but they wanted to make sure that Mr. Dondero still reported

       6   to -- directly to the board, and if the board asked Mr.

       7   Dondero to leave, he would do so.

       8   Q     Okay.    Just looking at this paragraph, is it your

       9   understanding that the scope and responsibilities of Mr.

      10   Dondero would be determined by the board?

      11   A     Yes.

      12   Q     And was it your understanding that Mr. Dondero would serve

      13   without compensation?

      14   A     Yes.

      15                 MR. DRAPER:    Objection.   Leading, Your Honor.

      16                 THE COURT:    Overruled.

      17   BY MR. MORRIS:

      18   Q     Was it your understanding that Mr. Dondero's role would be

      19   subject to the direct supervision, direction, and authority of

      20   the board?

      21   A     That's, you know, that's what the order says and that's

      22   what the agreement was.        In practice, that was really going to

      23   have to evolve because we were coming in very cold and

      24   obviously he'd been there for --

      25         (Interruption.)




                                                                        Appx. 01975
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                                    Seery - Direct                         73


       1              THE COURT:   All right.   Someone needs to put their

       2   phone on mute.   I don't know who it is.

       3   BY MR. MORRIS:

       4   Q   Was it also part of the agreement that Mr. Dondero would

       5   (garbled) upon the board's request?

       6   A   I think I got you, but yes, that's contained in this

       7   paragraph, and Mr. Dondero agreed to that.

       8              THE COURT:   All right.   Whoever LC is, your phone

       9   needs to be put on mute.     Okay.   Please be sensitive to

      10   keeping your device on mute except for Mr. Morris and Mr.

      11   Seery.

      12       All right.   Go ahead.

      13   BY MR. MORRIS:

      14   Q   Do you recall, Mr. Seery, whether there were any

      15   restrictions placed on Mr. Dondero's ability to terminate

      16   agreements with the Debtor?

      17   A   Yes.   That was a very specific provision as well.

      18   Q   Can we take a look at Paragraph 9 below?      Is that the

      19   provision that you're referring to?

      20   A   That's the provision in the order.      I believe there were

      21   other agreements -- certainly, discussion around it -- because

      22   it was an important provision because it had been borne out of

      23   some experience that Acis and Mr. Terry had had in particular.

      24   So it was supposed to be broad and prevent both direct and

      25   indirect termination of agreements.




                                                                     Appx. 01976
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                                     Seery - Direct                        74


       1   Q   Okay.     And do you know, do you recall that the definition

       2   of related entity is contained within the term sheet that you

       3   referred to earlier?

       4   A   It's a pretty extensive -- I recall the definition not

       5   specifically, but it's a pretty extensive definition.      It

       6   includes any of the entities that he owns, that Mr. Dondero

       7   owns, that Mr. Dondero controls, that Mr. Dondero manages,

       8   that Mr. Dondero owns indirectly, that Mr. Dondero manages

       9   indirectly, and it really covers a wide swath of those

      10   entities in which he has interests and control.

      11               MR. MORRIS:   All right.   Let's see if we could just

      12   look at the definition specifically at Exhibit 5O as in Oscar.

      13   And if we could just scroll down to the next page.

      14       Now, this was -- this is part of the term sheet that was

      15   filed at Docket 354.

      16   BY MR. MORRIS:

      17   Q   At Definition I(d), is that the definition of related

      18   entity that you were referring to?

      19   A   That's correct.

      20   Q   Okay.     In addition to what you've described, I think you

      21   also mentioned that there was a separate stipulation that Mr.

      22   Dondero entered into as part of the corporate governance

      23   settlement.    Do I have that right?

      24   A   That's my recollection, yes.       And I believe he signed it,

      25   and that was a key gating issue to the hearing that we had on




                                                                     Appx. 01977
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                                         Seery - Direct                          75


       1   January 9th.

       2   Q      And what do you recall about that document as being a key

       3   gating issue?

       4   A      The key gating issue that I recall is that it had to be

       5   signed.    And I don't believe it was signed until that very

       6   morning.

       7                  MR. MORRIS:    All right.    Can we call up Exhibit 7Q as

       8   in queen?

       9   BY MR. MORRIS:

      10   Q      All right.    Is this the stipulation that you were

      11   referring to?       We can scroll down to any portion you want.

      12   A      I believe that is, yes.

      13                  MR. MORRIS:    Okay.   Can we just scroll down to see

      14   Mr. Dondero's signature?         Yeah.     That's -- okay.

      15          So, that's dated January 9th.         This was filed at Docket

      16   338.    It's on the Debtor's exhibit list as Exhibit 7Q.             And

      17   the Debtor would respectfully move Exhibit 7Q into evidence.

      18                  THE COURT:    Any objection?    All right.    7Q is

      19   admitted.

      20          (Debtor's Exhibit 7Q is received into evidence.)

      21                  MR. MORRIS:    Okay.   And if we could just scroll up a

      22   page or two to the four bullet points.           Yeah, right there.        A

      23   little more.

      24   BY MR. MORRIS:

      25   Q      Okay.    So, do you see Paragraph 10 contains the




                                                                            Appx. 01978
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                                     Seery - Direct                     76


       1   stipulation?

       2   A   Yes.

       3   Q   And as you recall, Mr. Seery, in the events leading up to

       4   the entry of the order approving the settlement, was this one

       5   of the documents that was being negotiated among -- among the

       6   parties?

       7   A   Yes, it was.

       8   Q   Okay.    You mentioned that there were certain provisions of

       9   the January 9th order that were important to you and the other

      10   independent directors.     Do I have that right?

      11   A   Yes.

      12               MR. MORRIS:   Let's see if we can back to Exhibit 5Q,

      13   please, Paragraph 4.

      14   BY MR. MORRIS:

      15   Q   Okay.    Paragraph 4, can you tell me what Paragraph -- what

      16   Paragraph 4 is and why it was important to you?

      17   A   Well, there really were four key, I guess I'll use the

      18   term gating items again, for my involvement, and ultimately in

      19   discussions with Mr. Nelms and Mr. Dondero -- Mr. Dubel, their

      20   involvement in the matter.

      21       Because of the litigious nature of the Highland operations

      22   and the expectations we had for more litigation after taking a

      23   look at the Acis case, we wanted to make sure that, as

      24   independents coming into a situation with really no stake in

      25   the particular outcome, other than trying to achieve a




                                                                    Appx. 01979
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                                   Seery - Direct                      77


       1   successful reorganization, that we were protected.    So, number

       2   one, I looked at the limited partnership agreement.    I wanted

       3   to make sure that the LPA contained broad and at least

       4   standard indemnification provisions and that they would apply

       5   to the board.

       6        Number two, because -- that then requires you to look at

       7   the indemnification provisions at Strand, because you're a

       8   director of Strand, the GP.   So then we looked at those.    I

       9   took a close examination of those.   They looked okay, except

      10   Strand didn't have any assets other than its equity interest

      11   in Highland, and if that equity interest turned out to be

      12   zero, that indemnity wouldn't be very valuable.

      13        So I wanted to make sure that Highland, the Debtor,

      14   guaranteed the indemnity (garbled) on a postpetition basis, so

      15   that if there were a failure of D&O, which I'll get to in a

      16   second, or it wasn't enough, that we would have a senior claim

      17   in the case, an admin claim in the case.

      18        I then, of course, wanted to make sure that we had D&O

      19   insurance.   This was very difficult to get, because, frankly,

      20   there's a Dondero exclusion in some of the markets, we've been

      21   told by our insurance brokers, and so getting the right policy

      22   that would cover the independent board was difficult.     We did

      23   get that.

      24        And then ultimately there'll be another provision in the

      25   agreement here -- I don't see it off the top of my head -- but




                                                                   Appx. 01980
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                                       Seery - Direct                       78


       1   a gatekeeper provision.       And that provision --

       2   Q    Hold on one second, Mr. Seery, because we'd want to

       3   scroll.     So Paragraph 4 and Paragraph 5, were those, were

       4   those provisions put in there at the insistence of the

       5   prospective independent directors?

       6   A    Yes.    And remember, so the Paragraph 4, as I said, is the

       7   guarantee of Strand's obligations for its indemnity.        Again,

       8   Strand didn't have any money, so the Debtor had to be the one

       9   purchasing the D&O for the directors and for Strand.        So those

      10   are the two provisions that really worked to address my

      11   concerns about the indemnities and then the D&O.

      12               MR. MORRIS:     Okay.   Can we go to Paragraph 10,

      13   please?     There you go.

      14   BY MR. MORRIS:

      15   Q    Is this the other provision that you were referring to?

      16   A    This is.    It's come to be known as the gatekeeper

      17   provision, but it's a provision that I actually got from other

      18   cases.    Again, another very litigious case that I thought it

      19   was appropriate to bring in to this case.

      20        And the concept here is that when you're dealing with

      21   parties that seem to be willing to engage in decade-long

      22   litigation in multiple forums, not only domestically but even

      23   throughout the world, it seemed important and prudent for me

      24   and a requirement that I set out that somebody would have to

      25   come to this Court, the court with jurisdiction over these




                                                                       Appx. 01981
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                                       Seery - Direct                      79


       1   matters, to determine whether there was a colorable claim.

       2   And that colorable claim would have to show gross negligence

       3   and willful misconduct, i.e., something that would not

       4   otherwise be indemnified.

       5         So it basically sets an exculpation standard for

       6   negligence.      It exculpates the directors from negligence.    And

       7   if somebody wants to bring a cause against the directors, they

       8   have to come to this Court first and get a finding that

       9   there's a colorable claim for gross negligence or willful

      10   misconduct.

      11   Q     Would you have accepted the engagement as an independent

      12   director without the Paragraphs 4, 5, and 10 that we just

      13   looked at?

      14   A     No.    These were very specific requests.   The language here

      15   has been 'smithed, to be sure, but I provided the original

      16   language for 10 and insisted on the guaranty provision above

      17   to assure that the indemnity would have some support.

      18   Q     And ultimately, did the Committee and the Debtor agree to

      19   provide all of the protection afforded by Paragraphs 4, 5, and

      20   10?

      21   A     Yes.

      22   Q     Okay.

      23                 MR. MORRIS:   Your Honor, we're going to move on now

      24   to good faith, Section 1129(e)(3), just to give you a little

      25   bit of a roadmap of where we're going.




                                                                      Appx. 01982
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                                   Seery - Direct                      80


       1   BY MR. MORRIS:

       2   Q   Let's talk about the process that led to the plan that the

       3   Debtor is asking the Court to confirm today.    Real basic stuff

       4   at the beginning.   Can you tell me your understanding of the

       5   makeup of the UCC, of the Creditors' Committee?

       6   A   The Creditors' Committee in this case has four members.

       7   It's UBS, the Redeemer Committee, which are former holders of

       8   interests in a fund called the Crusader Fund, which was a

       9   Highland fund, who had redeemed and then had a dispute with

      10   Highland.

      11       And the next creditor is Mr. Terry and Acis.     We generally

      12   group them as one, but the creditor is Acis.

      13       And the fourth creditor is an entity called Meta-e, and

      14   they provide litigation support and technical support and

      15   discovery support in litigations for the Debtor, including in

      16   this case now.

      17   Q   All right.   Just focusing really on the early period, the

      18   first few months, can you describe the early stages of the

      19   negotiations with the UCC as best as you can recall?

      20   A   Well, I think the early stage of the case wasn't directly

      21   a negotiation; it was really trying to understand as best we

      22   could the myriad of assets that we had here, the various

      23   businesses that the Debtor either owned, controlled, or

      24   managed, as well as the claims.

      25       We went through a process of trying to understand each of




                                                                   Appx. 01983
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                                    Seery - Direct                      81


       1   the claims that the Debtor -- or against the Debtor that were

       2   represented by the Committee, as well as some other claims

       3   that were not on the Committee.

       4   Q    Was the Debtor -- I mean, was the Committee initially

       5   pushing the independent board to go to a monetization plan, an

       6   asset monetization plan?

       7   A    Very quickly and early on, the Debtor -- the Committee

       8   took a pretty aggressive approach with the Debtor and the

       9   independent board.     I think the Committee's perspective, as

      10   articulated to me, and where -- at least how we took it, was

      11   that they'd been litigating for years and they sort of knew

      12   the situation and the value of their claims, that the Debtor

      13   was insolvent, in their view, and that we should be operating

      14   the estate in essence for the benefit of the creditors.

      15   Q    And what was the board's view in reaction to that?

      16   A    We disputed it.    And the reason we disputed it was very

      17   straightforward.   Save for the Redeemer claim, which at least

      18   had an arbitration award, Acis and Mr. Terry didn't have any

      19   specific awards, notwithstanding the results of the Acis

      20   bankruptcy, and UBS, while it had a judgment, that judgment

      21   was not against the Debtor.

      22        So our view was, until we have our hands around these

      23   claims and we determine what the validity is in our estate,

      24   that we would treat the Debtor as if it were solvent.     We also

      25   wanted to assess the value of the assets.    So, looking at the




                                                                   Appx. 01984
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                                    Seery - Direct                     82


       1   assets not just from a book value but what they might be

       2   really worth in the market.

       3   Q   And did the board in the early portion of the case

       4   consider all strategic alternatives?

       5   A   I don't know if we considered every strategic alternative,

       6   but we certainly considered a lot of alternatives.

       7   Q   Can you describe for the Court the alternatives that were

       8   considered by the board before settling on the asset

       9   monetization plan?

      10   A   Well, early on, you know, we looked at each of the -- what

      11   we would think of the large category types of ways to resolve

      12   a case.   Number one, could we go through a very traditional

      13   reorganization with either stretching out claims to creditors

      14   after settlement or converting some of those to equity,

      15   getting new equity infusions?    We considered those

      16   alternatives.

      17       Number two, we considered whether we should simply sell

      18   the assets.     That's one of the things that the Committee was

      19   pushing for.    They could be sold to third parties.   They could

      20   be sold individually.    Mr. Dondero potentially could buy some

      21   of the assets.    That'd be a reasonable reorganization in this

      22   case.

      23       We also considered whether that, you know, we would just

      24   do a straight liquidation.    Is there some value to doing --

      25   converting the case to a 7 and doing a straight liquidation?




                                                                   Appx. 01985
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                                  Seery - Direct                        83


       1       We also considered a grand bargain plan, and this was

       2   something that I worked on quite a bit.    The phrase is mine,

       3   although no pride of authorship, certainly, since it didn't

       4   work out.   But that perhaps we could come to an agreement with

       5   the major creditors and with Mr. Dondero and then shift some

       6   of the expenses in the case out further to litigate some of

       7   the other claims while reorganizing around the base business.

       8       And then, finally, we considered the asset monetization

       9   plan, and ultimately that evolved into what we have today.

      10   Q   Were there guiding principles or factors that the board

      11   was focused on as it assessed these different options?

      12   A   Well, the number one guiding principle was overall

      13   fairness and equitable treatment of the various stakeholders.

      14   So, again, at that point, we didn't know exactly what, if

      15   anything, we would owe to claimants like UBS or HarbourVest or

      16   even Mr. Terry and Acis.   We had a good sense of where we

      17   would end up with Redeemer, I think, but we still had some

      18   options and wanted to negotiate the issues related to

      19   potential appeal rights that we had.    So I think that was the

      20   number one overall concern.

      21       But that did evolve over time.     Costs of the case were

      22   exceptionally high.   And the reason they're so high is that

      23   Highland was run for a long time, at least from what we can

      24   tell, at an operating deficit.   Typically, what it would do is

      25   run at a deficit and then sell assets to cover the shortfall,




                                                                    Appx. 01986
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                                    Seery - Direct                      84


       1   and it would defer a whole bunch of employee -- potential

       2   employee compensation.   And because of the way the environment

       3   was going, particularly in the first half of the year, it

       4   didn't look to us like there was going to be any great asset

       5   increase that would somehow save us from the hole that was

       6   being dug, the considerable amount of expenses to run the

       7   case.

       8   Q    Did changing the culture of litigation factor into the

       9   path that the board considered?

      10   A    Well, we certainly looked at the way the company had run

      11   and why it got to where it is in terms of litigating.     And not

      12   just litigating valid claims, but litigating any claim to the

      13   nth degree.   And stories are legion, I won't talk about them,

      14   but of Highland taking outrageous positions and then pursuing

      15   them, hoping that the other side caves.

      16        We determined that this estate couldn't bear that kind of

      17   expense, and it wasn't fair and equitable to do that anyway.

      18   So we wanted to attack the claims that we could -- and I say

      19   attack; try to resolve them as swiftly as we could --

      20   protecting the Debtor's interests but trying to find an

      21   equitable resolution.

      22        I'm not averse to litigating.   And I think when there are

      23   claims that are legitimate, the Debtor should pursue them.

      24   There's always -- a good settlement is always better than a

      25   bad litigation.   But if there (indecipherable) to resolve




                                                                   Appx. 01987
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                                    Seery - Direct                      85


       1   them, we should -- we should pursue those.      And if we have

       2   defenses, we should pursue those, and not just be held up

       3   because someone else is willing to, you know, take a more

       4   difficult position than we are.

       5        But in this case, it really did cry out for some sort of

       6   resolution on many of these cases because they were far beyond

       7   -- far beyond the facts and far beyond the dollars.      There was

       8   personal antipathy involved in virtually every one of the

       9   unlitigated or unliquidated Committee cases.

      10   Q    Did the board, as it was assessing the various strategic

      11   alternatives, consider maximization of the value?

      12   A    Always number one was, can we maximize value?     But that

      13   has to be done within the context of the risk you're taking

      14   and the time it takes.   So, not all wine ages well in a cave

      15   and not all investments get to be more valuable over time.        We

      16   wanted to look at each individual asset that the Debtor had,

      17   each claim that the Debtor had, each defense that the Debtor

      18   had, and consider the time and the costs and then try to find

      19   the best way to maximize value with those multiple

      20   considerations.

      21   Q    How about the role and support of the UCC, how did that

      22   factor into the decision-making, the Debtor's decision-making

      23   as to what plan to pursue?

      24   A    Well, you know, the decision-making with the UCC was

      25   cumbersome and oftentimes difficult.      Sometimes our relations




                                                                    Appx. 01988
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                                   Seery - Direct                        86


       1   were very contentious, and sometimes they continue to be.      But

       2   the Committee had significant oversight because of the

       3   protocols that had been agreed to.   Some of the disputes we

       4   had with the Committee found their way into the court.     Those

       5   time and that cost, some of which we won, some of which we

       6   lost, but those factored into our analysis.

       7        But eventually we knew that we were going to need to get,

       8   you know, some significant portion of the Committee to agree,

       9   because, at minimum, Meta-e had a liquidated claim, and

      10   Redeemer was very close to fully liquidated, so we were going

      11   to need support from the Committee with whatever we tried to

      12   push through.   And so that's how we negotiated with the

      13   Committee from that perspective.

      14   Q    Is it fair to say that the Debtor and the Committee's

      15   interests because aligned upon approval of the disclosure

      16   statement back at the end of November?

      17   A    I don't think they became perfectly aligned, because we

      18   still have, you know, some disputes around, you know,

      19   implementation and things like the employee releases, which

      20   were very important to me.   But I think we're largely aligned

      21   and that the Committee is supportive, as Mr. Clemente said at

      22   the start of this hearing, of the plan.    We negotiated at

      23   arm's length with them about most of the provisions.     I would

      24   say virtually everything was a relatively significant

      25   negotiation, or at least there was a good faith exchange of




                                                                   Appx. 01989
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                                    Seery - Direct                       87


       1   views on each side and assessment of legal and financial

       2   risks.   And I think at this point they're largely in support

       3   of the plan.

       4   Q    All right.    Let's -- you mentioned the grand bargain, and

       5   I just want to spend a few minutes talking about that, how

       6   that evolved.     Focusing your attention in the kind of late

       7   spring/early summer, can you tell me what efforts you and the

       8   board made in trying to achieve a grand bargain in that early

       9   part of the case?

      10   A    Well, we had -- at that point, we had reached agreement,

      11   at least in principle, with Redeemer.      And the thought was --

      12   my thought was that we could construct a plan, understanding

      13   what the cash flows looked like and what we thought the base

      14   value of the asset looked like -- and those are not just the

      15   assets that are tangible assets, but the notes that are

      16   collectible by the Debtor as well -- and then engage with UBS

      17   in particular.    Redeemer.   To some degree, Mr. Terry.    We had

      18   not yet reached any agreement with him.     But UBS, we thought

      19   of as a slightly -- I don't mean this to be disparaging -- but

      20   a slightly more commercial player than Acis because of the

      21   history that Acis had to deal with and endure.

      22        And we were hoping that we could get some sort of

      23   coalescence around an agreed distribution that would require

      24   those creditors to take a lot less than they might have

      25   otherwise agreed, Mr. Dondero to put in more than he otherwise




                                                                      Appx. 01990
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                                    Seery - Direct                        88


       1   thought he could put in or would be willing to put in, and

       2   then we would get out to Acis and the other creditors with a

       3   plan.

       4          And so I built, with the team at DSI, a detailed model on

       5   how the distributions could work and what the potential timing

       6   could be, trying to, each time, move in a multidimensional way

       7   with UBS, Redeemer, Mr. Dondero, and to some degree Acis,

       8   around the respective issues for their claims.

       9          Again, UBS and Acis had not been resolved and weren't

      10   close, but the thought was if we could get dollar agreements

      11   for distribution, perhaps we could then figure out how to

      12   construct settlements of their claims.

      13   Q      During this time period, did you work directly with Mr.

      14   Dondero in the formulation of a potential grand bargain?

      15   A      I did, yes.

      16   Q      And the model that you described, did that go through a

      17   number of iterations?

      18   A      It went through multiple iterations.   I don't believe I

      19   ever shared the model with anybody.    One of the reasons for

      20   that is I didn't want -- I felt I had -- if I was going to

      21   share it with Mr. Dondero, for example, I'd have to share it

      22   with UBS and I'd have to share it with Redeemer.     And I wanted

      23   it to be -- I wanted it to be a working model with the team at

      24   DSI.    In particular, we would make, you know, adjustments on

      25   an almost-daily basis.




                                                                    Appx. 01991
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                                    Seery - Direct                       89


       1       Mr. Dondero had -- remember, he was still portfolio

       2   manager at that time.    He also had a related-party interest,

       3   as people have seen from some of the litigation around the

       4   sales of securities.    He had access and was receiving emails

       5   from the team as well as from the finance team.    So he had

       6   access to the information at that point and had a view around

       7   the value.    And this was more trying to adjust what those

       8   distributions would look like depending on the amounts that he

       9   would be willing to contribute.

      10   Q   Moving on in time, did there come a time when the Debtor

      11   participated in a mediation with certain of the major

      12   constituents in the case?

      13   A   Yes.     That was towards the end of the summer.

      14   Q   And during that mediation, did the concept of a grand

      15   bargain, was that put on the table?    Without discussing any

      16   particulars about it, just as a matter of process, was the

      17   grand bargain subject to the mediation discussions?

      18   A   Well, the mediation had multiple components, so the answer

      19   to the question in short is yes, but I'll go longer because I

      20   tend to.   The grand bargain plan stayed in place, and that was

      21   going to be an overall settlement.    The mediation was

      22   initially, I think, as a main course, focused on Acis, UBS,

      23   and then the third piece being the grand bargain.      And if you

      24   could settle one of those claims, perhaps -- obviously, if you

      25   could settle both of them, you could get to then focusing on




                                                                     Appx. 01992
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                                   Seery - Direct                      90


       1   the grand bargain.

       2       But even before we got to mediation, the idea of the

       3   monetization plan had also been put forth.    Notwithstanding

       4   that it wasn't my idea, I actually thought that it was a good

       5   idea, ultimately.    Didn't initially.   And the reason for that

       6   is that it set a marker for what a base expectation could be

       7   for the creditors and just for Mr. Dondero.    And knowing that

       8   that was out there, at least with them, that could hopefully

       9   be a catalyst in the mediation for folks to say, let's see if

      10   we can get our claims done and get a grand bargain done,

      11   because if we don't we have this Debtor monetization plan.

      12   And by that -- at that point, I don't think we had much

      13   agreement with the Committee on anything, and certainly with

      14   Mr. Dondero, on -- on a monetization plan.

      15   Q   All right.   And let's just bring it forward from the fall,

      16   post-mediation, to the present.   Has -- has -- have you and

      17   the board continued discussing with Mr. Dondero the

      18   possibility of a grand bargain?

      19   A   Well, it's shifted.    So, the grand bargain discussions

      20   really -- you had multiple phases.   So, you had pre-mediation.

      21   There was the grand bargain discussions that I just described

      22   previously that also involved UBS and Redeemer, and to some

      23   degree Acis and Mr. Terry.   Then you have the mediation, which

      24   is much more focused on the claims and whether they can fit

      25   into the grand bargain with Mr. Dondero.




                                                                    Appx. 01993
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                                   Seery - Direct                        91


       1       And the way that was conducted was a little bit more

       2   separated, meaning the parties would talk to the mediator, the

       3   mediator would then go and talk to other parties and try to

       4   work a settlement on each of those components.

       5       Subsequent to the mediation where we reached the agreement

       6   with Acis and Mr. Terry, and we ultimately in that timeframe

       7   banged out the final terms of our agreement with Redeemer, we

       8   engaged with Mr. Dondero around -- I wouldn't call it the

       9   grand bargain, but a different plan.     By that point, the

      10   monetization plan had started to gain some traction with the

      11   creditor group, and Mr. Dondero and his counsel, I believe,

      12   focused on the potential of what was referred to as a pot

      13   plan.   And while it has the -- it could have the ability of

      14   being a resolution plan, it wasn't the grand bargain plan that

      15   I had initially envisioned.   And pot plan was really a

      16   misnomer, because it didn't have a whole pot, so -- so it's a

      17   little bit of a hybrid.

      18   Q   Did the board spend time during its meetings discussing

      19   various pot plan proposals that had been put forth by Mr.

      20   Dondero?

      21   A   Oh, absolutely.   And not only the board.    I mean, we did

      22   our own work as an independent board and then brought in our

      23   professional advisors, both your firm and the DSI folks, to go

      24   through analytics around the pot plan, and even before that,

      25   the other plan alternatives, but we had direct discussions




                                                                   Appx. 01994
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                                    Seery - Direct                     92


       1   with Mr. Dondero and his counsel.

       2   Q   And in the last couple of months, has the board listened

       3   to presentations that were made by Mr. Dondero and his counsel

       4   concerning various forms of the pot plan?

       5   A   Yes.    At least two or three.

       6   Q   And during this time, has the board and the Debtor

       7   communicated with the Committee concerning different

       8   iterations of the proposed pot plan?

       9   A   Yes.    We've had continual discussions with the Committee

      10   regarding the various iterations of the potential grand

      11   bargain all the way through the pot plan.

      12   Q   And during this process, did the Debtor provide Mr.

      13   Dondero and his counsel with certain financial information

      14   that had been requested?

      15   A   Yes.    As I said, up 'til the point where he resigned and

      16   was then ultimately, at the end of the year, removed from the

      17   office, he had access to financial information related to the

      18   Debtor and even got the information from the financial group.

      19   Subsequent to that, we've provided him with requests -- with

      20   financial information that was requested by his counsel.

      21   Q   Okay.   Were your efforts at the grand bargain or the

      22   pursuit of the pot plan successful?

      23   A   No, they were not.

      24   Q   Do you have an understanding as to -- just, again, without

      25   going into -- into details about any particular proposal, do




                                                                   Appx. 01995
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                                   Seery - Direct                        93


       1   you have an understanding as to what the barrier was to

       2   success?

       3   A   The grand bargain, we just never got the traction that we

       4   needed to get that going and the sides were just far -- too

       5   far apart.   And the pot plan, similarly.    Our discussions with

       6   Mr. Dondero and the Committee, they're -- they're very far

       7   apart.

       8   Q   And is it fair to say that the Committee's lack of support

       9   in either the grand bargain or the pot plan is the principal

      10   cause as to why we're not talking about that today?

      11   A   Well, it's -- it -- right now, we've got the plan that's

      12   on file, the monetization plan.   The monetization plan has

      13   gone out for creditor vote and has received support.     It

      14   distributes, we think, equitably, as well as a significant

      15   amount of distributions to unsecured creditors.     And there

      16   really isn't an alternative that we see, based upon the

      17   numbers I've seen, that competes with it or has any traction

      18   with the largest creditors.

      19   Q   All right.   So, now we've talked about various proposals

      20   or alternatives that were considered by the board, including

      21   the grand bargain and the pot plan.   Let's spend some time

      22   talking about the plan that is before the Court today and how

      23   we got here.   And I'd like to take you really back to the

      24   beginning, if I may.

      25       Tell us, tell the Court just what the board was doing in




                                                                    Appx. 01996
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                                    Seery - Direct                      94


       1   the early months after getting appointed, because I think

       2   context is important here.   What were you all doing the first

       3   few months of the case?

       4   A   Well, the first few months, we really were drinking from

       5   the proverbial fire hose, trying to get an understanding of

       6   the business, how it had been managed previously, what the

       7   issues related to the different parts of the business were.

       8   And then an understanding of each of the employees that were

       9   working under us, what their roles were, how they performed

      10   them, who sat where with respect to each of the assets, what

      11   the contracts looked like, whether they be shared service or

      12   management agreements.    And then we started looking at the

      13   individual assets in terms of value.

      14       At the same time, we were trying to get up to speed on the

      15   complex nature of the claims that were in the case.    The

      16   liquidated claims were relatively easy, but there had been a

      17   significant amount of transfers in and out of the Debtor, and

      18   then there's a myriad of relationships involving related

      19   entities that we had to understand, both with respect to the

      20   claims as well as with respect to the assets.

      21       And so that -- those were the main things we were doing

      22   for those first few months in the case.

      23   Q   Just a couple months into the case, the COVID pandemic

      24   reared its head.   Do you recall that?

      25   A   Yes.   We had been in Dallas every day working up 'til the




                                                                   Appx. 01997
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                                    Seery - Direct                      95


       1   time of the COVID and some of the shutdown orders,

       2   particularly in the Northeast, and so that changed the dynamic

       3   of how we could function every day.

       4       Notwithstanding that, we -- we were able to manage from

       5   afar, and ultimately, when there were some cases in the office

       6   of COVID, we -- on the Highland side, not the related entity

       7   side, but on the Highland side -- we determined that the staff

       8   and the team should work from home, which they were able to do

       9   quite well.

      10   Q   Okay.     In those early months, do you recall that there was

      11   a substantial erosion of value, at least as of the time you

      12   were appointed in those first three or four months?

      13   A   There was.    And I think we've heard some -- some noise

      14   about what that value was and the drop in the asset value as

      15   opposed to net value.    But the asset value did, did drop

      16   significantly.

      17   Q   Can you describe for the Court your recollection as to the

      18   causes of the drop in the value that you just descried?

      19   A   Yes.    The number one drop was a reservation that the board

      20   took for a receivable from an entity called Hunter Mountain.

      21   The quick version of this is that Hunter Mountain owns

      22   Highland.   As I mentioned, while Strand is the GP, it only has

      23   a quarter-percent interest in Highland.    The vast majority of

      24   the interests are owned by an entity called the Hunter

      25   Mountain Investment Trust in a very complicated, tax-driven




                                                                   Appx. 01998
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                                   Seery - Direct                        96


       1   structure.

       2       Dondero and Okada transferred their interests in Highland

       3   at a high valuation to Hunter Mountain.    Hunter Mountain then

       4   didn't have the money, so it, in essence, borrowed the money

       5   from the Debtor in a note to pay for those interests.    There's

       6   a circular running of the cash, but we were not sure where, if

       7   any, where any assets are, if they would be sufficient.    So we

       8   took a reservation of $58 million for that note.

       9       The second biggest piece of the reduction in value was the

      10   equity that was lost in the Select Equity account.     This is a

      11   Debtor trading account that was managed by Mr. Dondero.    $54

      12   million was lost in that account.   Basically, it was really

      13   highly margined, very high leverage in that account when the

      14   market volatility came in.   As it grew through January,

      15   February, March, more and more margin calls.    Ultimately,

      16   Jefferies, which had Safe Harbor protections -- technically,

      17   the account was not a Debtor account, but they would have had

      18   it anyway -- they seized that account.     $54 million in equity

      19   was lost in that account.

      20       The next highest amount is about $35 million, but it's

      21   higher now.   That's just the bankruptcy costs, where we have

      22   spent cash and Debtor assets in the case.     It was about $36 to

      23   $40 million through the end of the year.    That's now higher.

      24       About $30 million was lost in paying back Jefferies on the

      25   asset side of the ledger in the Highland internal equity




                                                                   Appx. 01999
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                                   Seery - Direct                         97


       1   account.   This was similar to the equity -- the Select Equity

       2   account, also managed by Mr. Dondero.      Extremely highly-

       3   levered coming into the market volatility of the first

       4   quarter, which was exacerbated, obviously, by the COVID.       That

       5   was about $30 million that was repaid in margin loan in that

       6   account.

       7        In addition, $25 million of equity was lost in that

       8   account while Mr. Dondero was managing it.     I took over

       9   effectively managing it in mid-March and worked with Jefferies

      10   to keep them from seizing the account.     We've since gotten a

      11   bunch of value coming back from that account, but that was the

      12   amount that was lost.

      13        About $10 million was lost in the Carey Limousine loan

      14   transaction.   That is a -- an interesting little company.        Has

      15   done a nice job -- management did a very good job coming into

      16   the year, and it actually had real value, notwithstanding the

      17   changeover to Uber in people's preferences.     But with the

      18   COVID, it really relied on events, airport travel, executive

      19   travel, and that really took a bite out of it, although, you

      20   know, we're hoping to be able to restructure, we have

      21   restructured it to some degree, and we're hoping that there

      22   could be value there.

      23        And then about $7 million was lost in equity in an entity

      24   called NexPoint Hospitality Trust.   This is another extremely

      25   highly-levered hospitality REIT that NexPoint manages.       It




                                                                    Appx. 02000
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                                    Seery - Direct                       98


       1   trades on the Toronto Stock Exchange.      And I think likely that

       2   -- it's got a lot of issues with respect to its mortgage debt.

       3   And because it was hospitality, it was really hurt by the

       4   COVID.

       5       And I think that's probably -- those numbers add up to

       6   north of $200 million of the loss.

       7   Q   All right.    Thank you for that recitation, Mr. Seery.     So,

       8   turning to the spring, after all of those issues were

       9   addressed, at the same time you were working on the grand

      10   bargain, did the Debtor and its professionals begin

      11   formulating the monetization plan that we have today?

      12   A   I'm sorry, in the spring?     I lost that question.   I

      13   apologize.

      14   Q   That's okay.     After you dealt with everything that you

      15   just described, were you doing two things at once?      Were you

      16   working on the grand bargain and the asset monetization plan

      17   at the same time?

      18   A   Yes, that's correct.

      19   Q   All right.    Can you just describe for the Court kind of,

      20   you know, how the asset monetization plan evolved up until the

      21   point of the mediation?

      22   A   Yes.     I alluded to it earlier, but because the Debtor was

      23   running an operating deficit, we were very concerned about

      24   liquidity.    Highland typically runs, from a liquidity

      25   perspective and a cash perspective, very close to the edge.        I




                                                                     Appx. 02001
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                                   Seery - Direct                       99


        1   don't feel particularly comfortable helping lead an

        2   organization that's running that close to the edge.    And I was

        3   very focused on the burn that we had on an operating basis, as

        4   well as the professional cost burn, because for a case this

        5   size it was significant.

        6       The rest of the board felt similarly, and one of the

        7   directors, and I'm not sure if it was Mr. Nelms or Mr. Dubel,

        8   came up with the idea that we needed an alternative to

        9   continuing to just burn assets while we were in this case.

       10   There had to be some sort of catalyst to get the parties, both

       11   Mr. Dondero as well as the creditors -- at that point, as I

       12   said, we weren't settled with Acis or UBS, and we weren't,

       13   frankly, close with either of them.   And so we needed what --

       14   what I think the -- the idea was that we needed a catalyst to

       15   have people focus on what the alternative was.    Because

       16   continuing to run the case until we ran out of money was not

       17   an acceptable alternative.

       18       What I didn't like about the plan was it didn't have

       19   anybody's support, and so I wasn't sure how we made progress

       20   with it without having some Committee member or Mr. Dondero in

       21   support of it.   I was outvoted, although maybe I came around

       22   in the actual vote.   But ultimately, I think it was actually a

       23   quite smart idea, because it did set the basis for what the

       24   case would be.   Either there would be some resolution or it

       25   would push towards the monetization plan, and parties could




                                                                    Appx. 02002
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                                     Seery - Direct                      100


        1   then assess whether they liked the monetization plan or not.

        2   That if I was going to be the Claimant Trustee or the --

        3   defending the, you know, against the claims, they would have

        4   the pleasure of litigating with me for some period of time.

        5   Or they could come to some either grand bargain or ultimately

        6   some other resolution.

        7       And as we started to develop a plan and put more of a

        8   framework -- more flesh around the framework, it actually

        9   started to look more and more like a real viable alternative

      10    to either long-term litigation or some other grand bargain if

      11    we couldn't get there.

      12    Q   And ultimately, did the board authorize the Debtor to file

      13    its initial version of the asset monetization plan at around

      14    the time of the mediation?

      15    A   Yeah.     We developed it over the summer and really fleshed

      16    it out in terms of how the structure would work, what the tax

      17    issues were, what the governance issues were.    We did that

      18    largely negotiating with ourselves, so we -- we were extremely

      19    successful.    And then we filed, we filed that plan right

      20    before the mediation.

      21        And my recollection is that there was some concern from

      22    the mediators that they thought that putting that plan out in

      23    the public could upset the possibility of a grand bargain, so

      24    we ended up filing that under seal.

      25    Q   Do you recall what the Committee's initial reaction was to




                                                                    Appx. 02003
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                                   Seery - Direct                        101


        1   the asset monetization plan that you filed under seal?

        2   A   Well, initially, they -- the Committee didn't like it.

        3   They didn't like the governance.     They didn't like the fact

        4   that it set up for those creditors who didn't litigate the

        5   prospect of litigations to try to resolve their claims.      It

        6   effectively cut out some of the advisory that the Committee

        7   currently had.   The -- one of the driving forces behind the

        8   asset monetization plan and how we initially started it is we

        9   can't continue these costs, as I said.    Well, an easy way to

      10    get rid of -- to reduce the costs is to get rid of half of

      11    them.

      12        So if you could get rid of the Committee, effectively, and

      13    coalesce around an asset monetization vehicle, then if folks

      14    wanted to resolve their claim, you could.    If you had to

      15    litigate it, you could, but you'd have one set of lawyers that

      16    the estate was paying for, one set of financial advisors the

      17    estate was paying for, as opposed to multiple sets.

      18    Q   In addition to the corporate governance issues that you

      19    just described, did the Committee and the Debtor quickly reach

      20    an agreement on the terms of the treatment of employee claims

      21    and the scope of the releases for the employees?

      22    A   No.   Not very quickly at all.

      23    Q   Yeah.

      24    A   You know, again, one of the issues in this case that

      25    drives perspectives is the history that creditors have in




                                                                    Appx. 02004
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                                   Seery - Direct                       102


        1   dealing with Highland and in dealing with many of the

        2   employees at Highland, you know, who had worked for Mr.

        3   Dondero and served at his pleasure for a long time, and how

        4   they had been treated in various of their attempts to collect

        5   their claims.   So the idea of giving any sort of releases to

        6   the employees was anathema to -- to many of the Committee

        7   members.

        8       From my perspective, you know, releases are particularly

        9   important because there's a quid pro quo leading up to the

       10   confirmation of a plan, particularly with a monetization plan

       11   where it's clear that the employees are all going to be or

       12   largely going to be either transitioned or terminated.    If

       13   they're going to keep working towards that, we either have to

       14   have some sort of financial incentive or some sort of

       15   assurance that their actions which are done in good faith to

       16   try to pursue this give them the benefit of more than just

       17   their paycheck.

       18       And so we thought we were setting up the quid pro quo in

       19   terms of work towards the monetization, bring the case home,

       20   and you're entitled to a release, so long as you haven't done

       21   something that was grossly negligent or willful misconduct.

       22   And the Committee, I think, wanted to have a more aggressive

       23   posture.

       24   Q   And did those disagreements over corporate governance and

       25   the employee releases kind of spill out into the public at




                                                                    Appx. 02005
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                                    Seery - Direct                       103


       1   that disclosure statement hearing in October?

       2   A     I think they spilled out at that hearing as well as in the

       3   hearing either the next day or two days later around Mr.

       4   Daugherty's claim.    And again, it was -- it was contentious.

       5   I tend to try to reach resolution, but I tend to hold firm

       6   when I think that there's a good reason, an equitable reason

       7   to do so, and compromising that issue was very difficult for

       8   me.

       9   Q     But in the weeks that followed, did the Committee and the

      10   Debtor indeed negotiate to resolve to their mutual

      11   satisfaction the issues surrounding corporate governance and

      12   employee releases?

      13   A     We did, yes.

      14   Q     And were -- was the Debtor able to get its disclosure

      15   statement approved with Committee support in late November?

      16   A     We did, yes.

      17   Q     Can you describe for the Court generally kind of the

      18   process by which the Debtor negotiated with the Committee?

      19   I'll ask it as broadly as I can, and I'll focus if I need to.

      20   A     Yeah.   The process was usually in group settings with the

      21   independent directors, professionals, and the Committee

      22   members and their professionals.    Oftentimes, then, there

      23   would be certain one-off conversations if there was a

      24   particular issue that was more important to one Committee

      25   member or another, or if they were designated by the Committee




                                                                    Appx. 02006
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                                    Seery - Direct                       104


        1   to be the point on that.    And so I negotiated on behalf of the

        2   Debtor, both collectively and individually, around these

        3   points.

        4       The biggest issues related to governance of the Claimant

        5   Trust, the separation of the Claimant Trust and the Litigation

        6   Trust, which was important to me, the treatment of employees

        7   between the filing -- the time we came up with the case and

        8   when we were going to exit, and then how that release

        9   provision would work.

      10    Q   Is it fair to say that numerous iterations of the various

      11    documents that embodied the plan were exchanged between the

      12    Debtor and the Committee?

      13    A   Yes.    There were -- there were dozens.

      14    Q   Fair to say that the negotiations were arm's length?

      15    A   Absolutely.    Often contentious, always professional, but I

      16    do think that there were, you know, well -- good-faith views

      17    held by folks on both sides.    And I think we were fortunate to

      18    be able to get resolution of those, because they were

      19    strongly-held views.

      20    Q   Okay.   And ultimately, I think you've already testified,

      21    and Mr. Clemente certainly made it clear:      Is the Debtor --

      22    does the Debtor have the Committee on board for their plan

      23    today?

      24    A   My understanding is again -- and you heard Mr. Clemente --

      25    both the Committee and each of the individual members are




                                                                     Appx. 02007
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                                      Seery - Direct                         105


        1   supportive of the plan.

        2   Q   All right.   Let's switch to Mr. Dondero and his reaction

        3   to the asset monetization plan.       Can you describe for the

        4   Court based on your experience and your interaction with him

        5   what you interpreted Mr. Dondero's position to be?

        6              A VOICE:   Objection, hearsay, or --

        7              MR. DRAPER:    Objection, hearsay.   Calls for

        8   speculation, Your Honor.

        9              THE COURT:    Overruled.

       10              THE WITNESS:    Yeah.   I had direct discussions with

       11   Mr. Dondero regarding the plan, the asset monetization plan,

       12   as I mentioned, direct discussions regarding a potential grand

       13   bargain.   The initial view from Mr. Dondero was, and he told

       14   me, that if he didn't get a plan that he agreed to, if he

       15   didn't have a specific control or agreement around what got

       16   paid to Acis and Mr. Terry and what got paid to Redeemer

       17   specifically, that he would, quote, burn the place down.         I

       18   know that because it is, excuse the pun, seared into my mind,

       19   but I also wrote it down.     And that was, you know, in the

       20   early summer.

       21       We had subsequent discussions around the plan, and as we

       22   were talking about the -- about the grand bargain or -- the

       23   pot plan hadn't come out at that point -- even on a large call

       24   -- the plan initially called for a transition, and still does,

       25   of employees of the Debtor to a related entity to continue




                                                                        Appx. 02008
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                                   Seery - Direct                         106


        1   performing services that were under the prior shared service

        2   agreements that we were going to terminate.

        3       But that transition is wholly dependent on Mr. Dondero.

        4   And we had a call with at least five to seven people on it

        5   where I said to Mr. Dondero, look, this is going to be in your

        6   financial interest to agree to a smooth transition.    These

        7   people have worked for you for a long time.    It's for their

        8   benefit.   You portfolio-manage these funds.    It's to the

        9   benefit of those funds to do this smoothly.    And if there's

       10   litigation between you and the estate later, then those chips

       11   will fall where they may.

       12       And he told me to be prepared for a much more difficult

       13   transition than I envisioned.

       14       And I specifically said to him, and this one sticks in my

       15   mind because I recall it, I said, don't worry, Mr. Dondero --

       16   I think I used Jim -- I will be prepared.    I was a Boy Scout

       17   and we spend time preparing for these kinds of things.    So

       18   we're -- we would love to get done the best transition we can,

       19   but we will be prepared for a difficult one.

       20       So, from the start, the idea of the monetization plan was

       21   not something that obviously he supported.     We did agree with

       22   -- after his inquiry or request with the mediators, to file it

       23   under seal while we went into the mediation.

       24   BY MR. MORRIS:

       25   Q   And after, after that was filed in September, early




                                                                    Appx. 02009
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                                     Seery - Direct                        107


        1   October, did Mr. Dondero start to act in a way that the board

        2   perceived to be against the Debtor's interests?

        3   A   Certainly.     I mean, he previously had shown inclinations

        4   of that, but that -- it got very aggressive as he interfered

        5   with the trades we were trying to do in terms of managing the

        6   CLO assets.    He took a position that postpetition, which was

        7   really one of his entities taking a position, that

        8   postposition a sale of life policy assets was somehow not in

        9   the best interests of the funds and that we had abused our

      10    position, notwithstanding that he turned it over to us with no

      11    liquidity to maintain those life policies.    There were several

      12    other instances.    And those led to the decision to, one, have

      13    him resign, and then ultimately, after the text to me that I

      14    perceived as threatening, and we've had subsequent hearings on

      15    it, we asked him to leave the office.

      16    Q   Okay.     Let's move back to the plan here.   Can you

      17    describe, you know, generally, if you can, the purpose and

      18    intent of the asset monetization plan?

      19    A   Well, very simply, the main purpose is to maximize value.

      20    This is not a competition between Mr. Dondero and myself.        I

      21    have no stake in getting more money out of the maximization

      22    other than my duty to do the job that I was hired to do.

      23        So our goal is to manage the assets in what we think is

      24    the best way to do that over time, and find opportunities

      25    where the market is right to monetize the assets, primarily




                                                                        Appx. 02010
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                                   Seery - Direct                        108


        1   through sales.   There may be other instances, depending on the

        2   type of asset, whether a sale makes sense, if we can structure

        3   it through some kind of distribution that's more structured.

        4   Q   We've used the phrase a bunch of times already.    Can you

        5   describe in your own words what an asset monetization plan is

        6   in the context of the Debtor's proposal?

        7   A   Well, it may be slightly an awkward moniker, but I think

        8   it's not completely different than what you'd see, in some

        9   respects, to a regular plan, where you equitize debt and you

       10   operate the business for the benefit of the equitized debt.

       11   Here, it's a little different in that we know exactly how

       12   we're going to move forward.    We've effectively -- we'll

       13   effectively turn the debt obligations into trust interests and

       14   we will pay those as we sell down assets.    So we've got it

       15   structured in a way where we can pivot depending on market

       16   conditions and we'll be managing certain funds that the assets

       17   sit in.

       18       So there's really four assets where the assets sit, and

       19   we'll manage those.   First are the ones that the Debtor owns

       20   directly.   Second will be the ones that are in Restoration

       21   Capital -- Restoration Capital Partners.    Third are the assets

       22   in a fund called Multi-Strat.    Fourth is the direct ownership

       23   interest in Cornerstone, and technically (garbled) would be

       24   the -- would be the next one.

       25       So we have the ability to manage these individual assets




                                                                    Appx. 02011
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                                   Seery - Direct                        109


       1   and then be able to sell them in what we determine to be the

       2   best way to maximize value, depending on the timing.

       3   Q   And when you say that you're going to continue to operate

       4   the business, do you mean that the Debtor will continue to

       5   manage the assets you've just described in the same way that

       6   it had prior to the petition date?

       7   A   It'll be a smaller team, but that's the Debtor's business.

       8   So what we won't be doing are the shared services anymore.

       9   That was part of the Debtor's business.    But we will be

      10   managing the assets.   So the 1.0 CLOs, we'll manage those

      11   assets.   The RCP assets, we'll manage those assets.    The

      12   Trussway Holdings assets, we'll managing those assets.      Each

      13   of them is a little bit different.   There's things as diverse

      14   as operating companies to real estate.     We'll operate, subject

      15   to final agreement, but the Longhorn A and B, which are

      16   separate accounts that are -- were funded and are controlled

      17   by the largest -- one of the largest investors in the world.

      18   And so they have agreed that we should manage those assets for

      19   them.

      20       So we're -- that's the business that the Debtor is in.         It

      21   won't be doing all of the businesses that the Debtor was in

      22   before, like the shared services, but the management of the

      23   assets will be very similar.

      24   Q   And why do these funds and these assets need continued

      25   management?   Why aren't you just selling them?




                                                                    Appx. 02012
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                                     Seery - Direct                         110


        1   A   Well, in some respects, they could just be sold, but the

        2   -- we believe that the value would be a lot lower.     So, a lot

        3   of them are complex.    The time to sell them may not be now.

        4   Some will require restructuring in some way, whether -- not

        5   through a reorganization process, but some sort of structural

        6   treatment to how the obligations at the individual asset are

        7   treated, or the equity at the individual asset.     So we're

        8   going to manage each of them and look for market opportunities

        9   where we think the value can be maximized.

       10             MR. MORRIS:    Your Honor, I'm about to switch to

       11   another topic.   We have been going for a little bit more than

       12   two and a half hours.    I'm happy to just continue if you and

       13   the witness are, but I just wanted to give you a head's up

       14   that I'm about to switch topics.     If you wanted to take a

       15   short break, we could.    If you want me to continue, I'm happy

       16   to do that, too.

       17             THE COURT:    Well, let me ask you, how much longer do

       18   you think you're going to take overall with Mr. Seery?

       19             MR. MORRIS:    I think I'll probably have another hour

       20   to an hour and a half, Your Honor.     We want to make a complete

       21   factual record here.

       22             THE COURT:    All right.   Well, it's 12:07 Central

       23   time.   Why don't we take a 30-minute lunch break, okay?      Can

       24   everybody do their lunch snack that fast?

       25             MR. MORRIS:    Sure.




                                                                     Appx. 02013
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                                      Seery - Direct                        111


        1              THE COURT:    I think that would probably be the way to

        2   go.   So we'll come back -- it's now 12:08.       We'll come back at

        3   12:38 Central time and resume --

        4              MR. MORRIS:    Okay.

        5              THE COURT:    -- resume this direct testimony, okay?

        6   So, see you in 30 minutes.

        7              MR. MORRIS:    Thank you very much.

        8              THE COURT:    Okay.

        9              THE CLERK:    All rise.

      10          (A recess ensued from 12:08 p.m. to 12:44 p.m.)

      11               THE COURT:    We are going back on the record in the

      12    Highland confirmation hearing.       It's 12:44 Central time.    I

      13    took a little bit longer break than I said we would.

      14          Mr. Morris and Mr. Seery, are you ready to resume?

      15               MR. MORRIS:    I am, Your Honor.

      16               THE WITNESS:    Yes, Your Honor.

      17               THE COURT:    Okay, good.   A couple of things.    I'm

      18    required to remind you you're still under oath, Mr. Seery.

      19    And also, just for people's planning purposes, what I intend

      20    to do is, when the direct examination of Mr. Seery is

      21    finished, I'm going to allow cross-examination of the

      22    Objectors in the same amount of time in the aggregate that the

      23    Debtor got, okay?   So, Objectors, in the aggregate, you can

      24    spend as long cross-examining as the Debtor spent examining.

      25    I can figure out this is the most significant witness, so I'm




                                                                         Appx. 02014
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                                       Seery - Direct                         112


        1   assuming that Debtor's other witnesses are going to be a lot

        2   shorter than this, but --

        3               MR. MORRIS:    Yes, I promise.

        4               THE COURT:    -- that's how we'll proceed.    And I

        5   expect to finish Mr. Seery today.

        6       So, all right.       With that, you may proceed, Mr. Morris.

        7               MR. MORRIS:    Okay.

        8                       DIRECT EXAMINATION, RESUMED

        9   BY MR. MORRIS:

      10    Q   Can you hear me okay, Mr. Seery?

      11    A   Yes, sir.

      12    Q   Okay.    Before we move on to the next topic, you spent some

      13    time describing the asset monetization plan.        Would it be fair

      14    to describe that as a long-term going-concern liquidation?

      15    A   Long-term is subjective.       We anticipate that we'll be able

      16    to monetize the assets in two years.         We could go out longer

      17    to three.    There's no absolute restriction that we couldn't

      18    take longer, depending on what we see in the market, but the

      19    objective would be to find maximization opportunities within

      20    that time period.

      21    Q   Okay.    So let's turn now to the post-confirmation

      22    corporate governance structure.

      23        (Interruption.)

      24                THE WITNESS:    Mr. Golub (phonetic), you should mute.

      25                THE COURT:    Yes.   I don't know -- I didn't catch who




                                                                        Appx. 02015
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                                       Seery - Direct                      113


        1   that was.    But anyway, anyone other than --

        2               A VOICE:   It's someone named Garrett Golub.

        3               THE COURT:    -- Morris and Seery, please mute.   All

        4   right.   Go ahead.

        5               MR. MORRIS:    Okay.

        6   BY MR. MORRIS:

        7   Q   At a high level, Mr. Seery, can you please describe for

        8   the Court the post-confirmation structure that's envisioned

        9   under the proposed plan?

       10   A   At a high level, we anticipate reorganizing HCMLP such

       11   that the current parties of interest will be extinguished and,

       12   in exchange, creditors will get trust interests.      There'll be

       13   a trust that will sit on top of HCMLP and it will have an

       14   overall responsibility for the Claimant Trust, which will be

       15   the HCMLP assets plus the assets that we move into the

       16   Claimant Trust, depending on structural considerations.       And

       17   then a Litigation Trust, which will be a separate trust, and

       18   that will roll up into the main trust.      And the main trust

       19   will be where the creditors hold their interests.      And those

       20   interests take the form of senior interests or junior

       21   interests.

       22   Q   All right.    You mentioned a Claimant Trust.    Who is

       23   proposed to serve as the Claimant Trustee?

       24   A   I am.

       25   Q   And you mentioned a Litigation Trust.       Is there someone




                                                                       Appx. 02016
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                                   Seery - Direct                         114


       1   proposed to serve as the Litigation Trustee?

       2   A    A gentleman named Marc Kirschner.     He's been doing these

       3   kinds of things for a long time.

       4   Q    Is there going to be any kind of oversight group or

       5   committee?

       6   A    There is an oversight committee that sits at the main

       7   trust.    Into it will report Mr. Kirschner and myself.     It has

       8   oversight responsibilities similar to a board of directors in

       9   terms of the operations of the Claimant Trust and the

      10   Litigation Trust.

      11   Q    Do you have an understanding as to who the initial members

      12   of the Claimant Oversight Committee?

      13   A    The initial members will be each of the members of the

      14   Creditors' Committee.   So, UBS, Acis, Redeemer, a

      15   representative from Redeemer, and Meta-e, as well as an

      16   independent named David Pauker.    So that's the initial

      17   structure.

      18   Q    And can you describe for the Court, how did Mr. Pauker get

      19   involved in this?

      20   A    He was selected by the Committee.

      21   Q    Okay.   Is there -- Meta-e is a convenience class claim

      22   holder.   Do I have that right?

      23   A    Yeah.   They're -- they -- as I went through earlier, they

      24   had a liquidated claim for litigation services.     So we

      25   expected that they'll be paid off rather early in the process.




                                                                       Appx. 02017
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                                     Seery - Direct                       115


        1   At that point, we suspect they wouldn't -- they would no

        2   longer be an Oversight Committee member and they would be

        3   replaced by an independent.

        4   Q   And do you have any understanding as to how that

        5   independent will be chosen?

        6   A   I believe it's chosen by the other members.

        7   Q   Okay.    Can you describe your proposed compensation

        8   structure as the proposed Claimant Trustee?

        9   A   My compensation will be $150,000 a month, which is the

      10    same compensation I have now.   In addition, we'll negotiate a

      11    bonus structure with the Oversight Committee.      And that will

      12    likely be a bonus not just for myself but for the entire team,

      13    depending on performance.

      14    Q   Okay.    And that -- and who is that negotiation going to be

      15    had with?

      16    A   The Oversight Committee.

      17    Q   Okay.    Are you familiar with Mr. Pauker's compensation

      18    structure?

      19    A   I -- I've seen it.    I don't recall specifically.    I think

      20    his -- from the models, I think he's about 40 or 50 grand a

      21    month, something along those lines.

      22    Q   Okay.    How about Mr. Kirschner?     Do you recall -- let me

      23    just ask you this.   Does it refresh your recollection at all

      24    if I said that 250 in year one for Mr. Pauker?

      25    A   Yeah.    So maybe closer to $20,000 to $25,000 a month.    And




                                                                      Appx. 02018
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                                    Seery - Direct                         116


        1   then Mr. Kirschner is a lower amount, but he would get a

        2   contingency fee arrangement somewhere dependent on the

        3   recoveries from his litigations.

        4   Q   Okay.   You mentioned earlier that the Debtor intends to

        5   continue operations at least for some period of time post-

        6   effective date.    Do you have a view as to whether the post-

        7   confirmation entity will have sufficient personnel to manage

        8   the business?

        9   A   I do, yes.

      10    Q   And why is that?    What makes you believe that the Debtor

      11    will have -- the post-confirmation Debtor will have sufficient

      12    personnel to manage the business?

      13    A   Well, we've gone through and looked at each of the assets

      14    and what is required to manage those assets.     We have a lot of

      15    experience doing it during the case.      The bulk of the

      16    employees, who do a fine job, are really doing shared service

      17    arrangements.    The direct asset management group is a smaller

      18    group, and we'll be able to manage those with the team we're

      19    putting together.

      20    Q   Okay.   How does the ten employees compare to the original

      21    plan that was set forth in the disclosure statement, if you

      22    recall?

      23    A   Well, we had less, and I believe the number was either two

      24    or three, along with me, and then using a lot of outside

      25    professional help.    But we determined that we wanted to have a




                                                                        Appx. 02019
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                                   Seery - Direct                       117


        1   much more robust team, based on the litigation that we're

        2   seeing around the case and we expect to continue post-exit, so

        3   that the team can manage those assets unfettered.

        4       In addition, we were taking on the CLO management, the 1.0

        5   CLO contracts.   These one -- as I've mentioned before, they're

        6   not traditional CLOs in the sense that they require the same

        7   hands-on management, but they do require an experienced team

        8   to help manage the exposures, most of which are cross-holdings

        9   in different -- in different entities or different investments

      10    that Highland also has exposure to.

      11    Q   In addition to the assumption of the CLO management

      12    agreements, has the Debtor made any decisions regarding the

      13    possibility of hiring a sub-servicer?

      14    A   We have, yes.

      15    Q   And did that factor into the Debtor's decision to increase

      16    the number of personnel it was going to retain?

      17    A   Well, we determined we weren't going to hire a sub-

      18    servicer.   And I'm not sure exactly when we made that

      19    determination.   We do have a TPA, which is SEI, and that's a

      20    third-party administrator, to sift through the funds and

      21    provide accounting supporting to those, to those funds.     So

      22    that -- they will help.   We also have an outside consultant

      23    that we're using, Experienced Advisory Consultants, who are

      24    financial consultants who've worked in the business.     So we do

      25    have those.




                                                                     Appx. 02020
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                                      Seery - Direct                     118


       1        But we didn't think that we would get a third-party sub-

       2   servicer, as was the case in Acis, and determined that wasn't

       3   in the best interest of the estate.

       4   Q    Can you just shed a little light on what factors the

       5   Debtor took into account in deciding not to hire a sub-

       6   servicer?

       7   A    Well, we primarily looked at cost, as well as control of

       8   the assets, and determined that that was -- those were in the

       9   best interests of the estate, to keep them managed internally.

      10   We reviewed that with the Committee, and they agreed.

      11   Q    Okay.

      12                MR. MORRIS:   Let's turn now to the best interests of

      13   creditors' test, Your Honor, 1129(a)(7), and let's talk about

      14   whether the plan is in the best interests of creditors.

      15   BY MR. MORRIS:

      16   Q    Has the Debtor done any analysis to determine the likely

      17   value to be realized in a Chapter 7 liquidation?

      18   A    We have, yes.

      19   Q    And has the Debtor done any analysis to determine the

      20   likely recoveries under the plan?

      21   A    Yes.

      22   Q    Okay.    Do you recall when these projections were first

      23   prepared?

      24   A    We started working on projections in the fall, as we were

      25   developing the monetization plan.      We filed projections, I




                                                                     Appx. 02021
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                                         Seery - Direct                      119


        1   believe, in November.        We've subsequently updated those

        2   projections based on the claims, market condition, and value

        3   of the assets.

        4   Q     And were those updates provided to plan objectors last

        5   week?

        6   A     Yes, they were.

        7   Q     Okay.    Can we refer to the projections that were in the

        8   disclosure statement as the November projections?

        9   A     That'd be fine.

      10    Q     And can we refer to the projections that were provided to

      11    the objectors last week as the January projections?

      12    A     Yes.

      13    Q     And as --

      14    A     I think they're actually -- I think they're actually dated

      15    February 1, is the most recent update.

      16    Q     Okay.    And then was a further update provided yesterday

      17    and filed on the docket, to the best of your knowledge?

      18    A     Yes.

      19    Q     All right.    We'll talk about some of the changes in those

      20    projections.

      21                  MR. MORRIS:    Can we call up on the screen Debtor's

      22    Exhibit 7D as in dog?        And this document is in evidence.   Um,

      23    --

      24                  THE COURT:    No, this is -- oh, wait.   How many Ds is

      25    it?   Seven?




                                                                         Appx. 02022
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                                       Seery - Direct                        120


        1               MR. MORRIS:    It's 7D, so that would be on Docket

        2   1866, all of which has been admitted.

        3               THE COURT:    Okay.    You're right.

        4               MR. MORRIS:    Okay.

        5       And if we could just, I'm sorry, go to Page 3.

        6   BY MR. MORRIS:

        7   Q   Is there any way to look at this, Mr. Seery?        Is this the

        8   January projections that were provided last week?

        9   A   Yes.

      10    Q   Okay.    Can you describe for the Court the process by which

      11    this set of projections and the November projections were

      12    prepared?    How did the Debtor go about preparing these

      13    projections?

      14    A   Yeah.    These are prepared what I would call bottoms-up.

      15    So what we did was we looked at each of the assets that the

      16    Debtor owns or manages or has a direct or indirect interest

      17    in, used the values that we have for those assets, because we

      18    do keep valuations for each of the assets that the Debtor owns

      19    or manages in the ordinary course of business.        We then

      20    adjusted those depending on what we saw as the outcomes for

      21    the case, either a plan outcome or a liquidation outcome, and

      22    then rolled those into the -- into the numbers that you see

      23    here.

      24        So the 257 and change.         And please excuse my eyesight.

      25    I'm going to make this bigger.        The 257 is the estimated




                                                                        Appx. 02023
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                                       Seery - Direct                        121


        1   proceeds from monetization.      Above that, you see cash.     That's

        2   our estimated cash at 131.       And we monitor those, those values

        3   daily.

        4   Q   And were these projections prepared under your

        5   supervision?

        6   A   They were, yes.

        7   Q   Okay.    And who was involved in the preparation of this

        8   document and other iterations of the projections?

        9   A   The team at DSI.       Obviously, myself; the team at DSI; as

      10    well as the, at least from a review perspective, counsel.

      11    Q   All of these contain various assumptions.       Do I have that

      12    right?

      13    A   Yes.

      14                MR. MORRIS:    Can we go to the prior page, please, I

      15    think is where the assumptions are?       And let's just look at a

      16    few of them.     Okay.    Can we make that a little bigger, La

      17    Asia?    Okay.   Good.

      18    BY MR. MORRIS:

      19    Q   Why does the Debtor's projections and liquidation analysis

      20    contain any assumptions?      Why, why include assumptions?

      21    A   Well, all projections contain assumptions.       So an

      22    assumption -- I was strangely asked the question at

      23    deposition, what does that mean?      It's a thing or fact that

      24    one accepts as true for the purposes of analysis.      And so in

      25    terms of looking out into the future as to what the potential




                                                                         Appx. 02024
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                                     Seery - Direct                        122


        1   operation expenses will be and what the potential recoveries

        2   will be, one has to make assumptions in order to be able to

        3   compare apples to apples.

        4   Q    And do you believe that these assumptions are reasonable?

        5   A    Yes.    It would make no sense to have assumptions that

        6   aren't reasonable.    I mean, and we've all seen that with

        7   analysis through our respective careers.    It really should be

        8   grounded in some fact and a reasonable projection on what can

        9   happen in the future, based upon experience.

      10    Q    Okay.   And have you personally vetted each of the

      11    assumptions on this page?

      12    A    Yes.

      13    Q    Okay.   Let's just look at a few of them.   Let's start with

      14    B.   It says, All investment assets are sold by December 31,

      15    2022.   Do you see that?

      16    A    Yes.

      17    Q    Why did the Debtor make that assumption?

      18    A    We looked at a two-year projection horizon.   We thought

      19    that that was a reasonable amount of time, looking at these

      20    assets, to monetize the assets.    Remember that we did go

      21    through a process of the case over the last year, and we did

      22    consider monetization asset events for certain of the assets

      23    throughout the case, some of which we were successful on, some

      24    of which we weren't, some we just determined to pull back.

      25    But we do believe that, based upon our view of the market and




                                                                      Appx. 02025
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                                     Seery - Direct                       123


        1   where we think these assets will be positioned, that

        2   monetizing them over a two-year period makes sense.

        3   Q   And is it possible that it takes longer than that?

        4   A   It's possible.     The -- you know, we would be wrong about

        5   the market.    The -- we could go into a full-blown recession.

        6   Capital could dry up.    The financing markets could turn

        7   negative.   But they're extremely positive right now.   Those

        8   things could happen.    But we're assuming that they won't.

        9   Q   And is it possible that you complete the process on a more

      10    accelerated timeframe?

      11    A   That's always possible.    It's not, in my experience, a

      12    good way to plan.    Luck really isn't a business strategy.     But

      13    if good opportunity shows up and folks want to pay full value

      14    for an asset, we certainly wouldn't turn them away just so we

      15    could stretch out the time period.

      16    Q   Is it fair to say that this projected time period is your

      17    best estimate on the most likely timeframe needed?

      18    A   It's -- I think it's the best estimate that we have based

      19    upon our experience with the assets, again, and our projection

      20    of the marketplace that we see now.    If things change, we'll

      21    adjust it, but this is a fair estimate of when we can get the

      22    monetization accomplished.

      23    Q   Okay.     The next assumption relates to certain demand

      24    notes.   Do you see that?

      25    A   Yes.




                                                                    Appx. 02026
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                                      Seery - Direct                      124


       1   Q    Can you explain to the Court what that assumption is and

       2   why the Debtor believed that it was reasonable?

       3   A    Well, the Debtor has certain notes that are demand notes.

       4   These are all from related entities.        Most of the notes, the

       5   demand notes, we have demanded, and we've commenced litigation

       6   to collect.     And we assume that we're going to be able to

       7   collect those.

       8        Three notes that were long-term notes -- these were notes

       9   with maturities in 2047 that had been stretched out a couple

      10   years ago -- were defaulted recently.        And we have accelerated

      11   those notes and we've asserted demands and we have commenced

      12   litigation, I believe, on each of those last week to collect.

      13   So we do estimate that we will collect on all of the notes

      14   that we've demanded and that we've commenced action on.        So

      15   the demand notes as well as the accelerated notes.

      16        The next, the next bullet shows there's one Dugaboy note

      17   that has not defaulted.      That also has a 2047 maturity.    I

      18   believe it's about $18 million.      And we expect that one to

      19   stay current, because now I think the relater parties learned

      20   that when you don't pay a long-dated note, it accelerates,

      21   provided the holder, which is us, wishes to accelerate it,

      22   which we did.     And so that note we do not expect to be

      23   collected in the time period.

      24   Q    Okay.

      25                MR. MORRIS:   Let's go down to M.




                                                                       Appx. 02027
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                                    Seery - Direct                       125


        1   BY MR. MORRIS:

        2   Q   M relates to certain claims.    Do you see that?

        3   A   Yes.

        4   Q   Can you just describe at a high level what assumption was

        5   made with which -- with respect to which particular claims?

        6   A   Well, we've summarized them there.    And what we've assumed

        7   is that, with respect to Class 8, IFA, which is a derivative

        8   litigation claim that seeks to hold, loosely, HCMLP liable for

        9   obligations of NexBank, is worth zero.    I think that's pretty

      10    close to settling.   We assumed here $94.8 million for UBS,

      11    which was the estimated amount, and $45 million for

      12    HarbourVest.

      13    Q   And when you say the estimated amount, are you referring

      14    to the 3018 order on voting?

      15    A   Yes.    We just use the estimated amount in this projection

      16    based upon the 3018 order.

      17    Q   Okay.   And finally, let's look at P.   P has a payout

      18    schedule.   Do I have that right?

      19    A   That's an estimated payout schedule, yes.

      20    Q   And what do you mean by that, that it's estimated?

      21    A   Based upon our projections and how we perceive being able

      22    to monetize the assets and reach the valuations that we want

      23    to reach, we believe we could make these distributions.

      24    However, there's no requirement to make them.

      25        So the first and foremost objective we have, as I said




                                                                    Appx. 02028
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                                       Seery - Direct                        126


       1   earlier, is to maximize value, and not -- it's not based on a

       2   payment schedule, it's based upon the market opportunity.          And

       3   we've estimated for our purposes here that we'll be able to

       4   meet these distribution amounts, but there's no requirement to

       5   do so.

       6   Q    Okay.

       7                MR. MORRIS:    Let's go to Page 3 of the document,

       8   please.

       9   BY MR. MORRIS:

      10   Q    Can you just describe generally what this page reflects?

      11   A    This is a comparison of the plan analysis and what we

      12   expect to achieve under the plan and the liquidation analysis

      13   if a trustee, a Chapter 7 trustee, were to take over.       And it

      14   compares those two distribution amounts based upon the

      15   assumptions on the prior page.

      16   Q    All right.    Let's just look at some of the -- some of the

      17   data points on here.       If we look at the plan analysis, what is

      18   -- what is projected to be available for distribution, the

      19   value that's available for distribution?

      20   A    $222.6 million.

      21   Q    Okay.    So, 222?     And on a claims pool that's estimated to

      22   be, for this purpose, how much?

      23   A    $313 million.

      24   Q    And what is the distribution, the projected distribution

      25   to general unsecured creditors on a percentage basis?




                                                                      Appx. 02029
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                                    Seery - Direct                       127


        1   A   On this analysis, to general unsecured creditors, it's

        2   62.14 percent.    But remember, that backs out the payment to

        3   the Class 7 creditors of 85 cents above.

        4   Q   Okay.    And does this plan analysis include any value for

        5   litigation claims?

        6   A   No, it does not.

        7   Q   And is that true for all forms of the Debtor's

        8   projections?

        9   A   That's correct, yes.

       10   Q   Okay.    And let's look at the right-hand column for a

       11   moment.   It says, Liquidation Analysis.     What does that column

       12   represent?

       13   A   That represents our estimate of what a Chapter 7 trustee

       14   could achieve if it were to take over the assets, sell them,

       15   and make distributions.

       16   Q   Okay.    And let's just look at the comparable data points

       17   there.    Under the liquidation analysis, as of -- the January

       18   liquidation analysis as of last week, what was projected to be

       19   available for distribution?

       20   A   A hundred and -- approximately $175 million.

       21   Q   Okay.    And what was the claims pool?

       22   A   The claims pool was $326 million.      Recall that that's a

       23   slightly larger claims pool because it doesn't back out the

       24   Class 7 claims.

       25   Q   Okay.    The convenience class claims?




                                                                     Appx. 02030
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                                     Seery - Direct                       128


        1   A   Correct.

        2   Q   Okay.     And what's the projected recovery for general

        3   unsecured claims under the liquidation analysis?

        4   A   Based on this analysis and the assumptions, 48 (audio

        5   gap).

        6   Q   Okay.     Based on the Debtor's analysis, are creditors

        7   expected to do better under this analysis in the -- under the

        8   Debtor's plan versus the hypothetical Chapter 7 liquidation?

        9   A   Yes.    Both -- both Class 7 and Class 8.

      10    Q   Okay.     Now, this set of projections differs from the

      11    projections that were included in the disclosure statement; is

      12    that right?

      13    A   That's correct.

      14    Q   Okay.     Can we just talk about what the differences are

      15    between the November projections that were in the disclosure

      16    statement and the January projections that are up on the

      17    screen?    Let's start with the monetization of assets, the

      18    second line.    Do you recall if there was an increase, a

      19    decrease, or did the value from the monetization of assets

      20    stay the same between the November projections and the January

      21    projections?

      22    A   They increased from November 'til -- 'til now.

      23    Q   Okay.     Can you explain to the judge why the value from the

      24    monetization of assets increased from November to January?

      25    A   Well, really, it's the composition of the assets and their




                                                                    Appx. 02031
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                                    Seery - Direct                      129


        1   value.    So there's four main drivers.

        2       The first is HarbourVest.    We had a settlement with

        3   HarbourVest, which include HarbourVest transferring to the

        4   Debtor $22-1/2 million of HCLOF interests.    Those have a real

        5   value, and we've now included them in the -- in the asset

        6   pool.    We've also included HarbourVest in the claims pool.

        7       The second was we talked a little bit earlier on the

        8   assumptions on the notes.    We previously had anticipated that,

        9   on the long-dated notes, a collection, we -- we'd receive

       10   principal and interest currently, but we wouldn't receive the

       11   full amount of the principal that was due well off in the

       12   future, and we would sell it a discount.

       13       So the amount of the asset pool has been increased by $24

       14   million, and that reflects the delta between or the change

       15   between what was in the prior plan, the notes paying and then

       16   being sold at a discount, and what's in the current plan,

       17   which include the accelerated notes, which is a $24 million

       18   note that Advisors defaulted on that we have accelerated and

       19   brought action on, as well as two six -- roughly $6 million

       20   notes, one from Highland Capital Real Estate and the other

       21   from HCM Services.    So that's, that's additional 24.

       22       In addition, Trussway, we've reexamined where Trussway is

       23   in the market, both its marketplace and its performance, and

       24   reassessed where the value is.    So that has increased by about

       25   $10.6 million.




                                                                     Appx. 02032
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                                     Seery - Direct                       130


        1       That doesn't mean that we would sell it today.      It means

        2   that, when you look at the performance of the company, what we

        3   think are the best opportunities in the market.      As we see the

        4   marketplace with managing the company over time, we think that

        5   that asset has appreciated considerably since November.

        6       And then, finally, there were additional revenues that

        7   flow into the model from the November analysis which would be

        8   distributable, and those include revenues from the 1.0 CLOs.

        9   Q   Okay.     So that accounts for the difference and the

      10    increase in value from the monetization of assets.      Is there

      11    also an increase in expenses from the November projections to

      12    the January projections?

      13    A   Yeah.     It's -- it's about -- it's around $25 million

      14    additional increase.

      15    Q   And can you explain to the Court what is the driver behind

      16    that increase in expenses?

      17    A   Yeah.     There's several drivers to that.   The first one is

      18    head count.    So our head count, we've increased.    As I

      19    mentioned earlier, we determined that we wanted to have a much

      20    more robust management presence.    So we've increased the head

      21    count, so we have a base comp, compensation, about $5 million

      22    more than we initially thought.

      23        Secondly, we have bonus comp.    So we've back-ended --

      24    structured a backend bonus performance bonus for the team, and

      25    that will run another $5 million, roughly.




                                                                     Appx. 02033
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                                   Seery - Direct                      131


       1        Previously, we had thought about, as you mentioned

       2   earlier, the sub-servicing, but we've now talked about and we

       3   have engaged a TPA, SEI, as well as experienced advisors.

       4   That's another $1 to $2 million.

       5        Operating expenses have increased by about $8 million,

       6   based upon our assessment.   The biggest driver there is D&O,

       7   which is up about $3 million.   In addition, we've gotten -- we

       8   determined to keep a bunch of agreements related to data

       9   collection and operations.   Those were requested by the

      10   Committee, but they also serve us in performing our functions.

      11   That's another couple million dollars.

      12        My comp, my bonus comp was not in the prior model.    So I

      13   have a bonus that has not been agreed to by the Court for the

      14   bankruptcy performance.   This is not a future bonus.    And we

      15   built that into the model.   Obviously, it's subject to Court

      16   approval and Committee objection, and I suppose anybody else's

      17   objection, but we'll -- we'll be before the Court for that.

      18   But we wanted to build that into the model so that we had it

      19   covered in the event that it was approved.

      20   Q    Was there also a change in the assumption from November to

      21   January with respect to the size of the general unsecured

      22   claim pool?

      23   A    Yes.   There have been -- there have been several changes

      24   that have happened, and we've added those and refined the

      25   claim pool numbers.




                                                                    Appx. 02034
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                                       Seery - Direct                       132


        1   Q   And are those changes reflected in the assumption we

        2   looked at earlier, Exhibit -- Assumption M, which went through

        3   certain claims that have been liquidated?

        4   A   Some, some are.       That assumption, I don't believe, was --

        5   it's not in front of me, but wasn't up to date.      So, that one,

        6   for example, assumed UBS at the 3018 estimated amount.         We've

        7   since refined that number to reflect the agreed-upon

        8   transaction with UBS, which is subject to Court approval.

        9   Q   Right.     But before we get to that, for purposes of the

       10   January model, the one that's up on the page -- and if we need

       11   to look at the prior page --

       12               MR. MORRIS:    Let's go to the prior page, the

       13   assumption.    Assumption M.

       14   BY MR. MORRIS:

       15   Q   Assume the UBS, the UBS claim at the $94.8 million, the

       16   3018 number.    Do you remember that?

       17   A   Yeah.     That's, that -- that's the assumption in this

       18   model.   I think back in November we assumed HarbourVest at

       19   zero and UBS at zero.      So we've since -- we've since refined

       20   those numbers, obviously, through both the 3018 process as

       21   well as the settlement with HarbourVest.

       22   Q   And did the -- did the inclusion -- withdrawn.      At the

       23   time that you prepared the November model -- withdrawn.         At

       24   the time the Debtor prepared the November model, did it know

       25   what the UBS or the HarbourVest claims would be valued at?




                                                                         Appx. 02035
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                                     Seery - Direct                       133


       1   A   No.    We just had our assumption back then, which was zero.

       2   And now, obviously, we know.

       3   Q   And so the January model took into account the settlement

       4   with HarbourVest and the 3018 motion; do I have that right?

       5   A   That's correct.      That's in the assumptions.

       6   Q   And what was the impact on the projected recoveries to

       7   general unsecured creditors from the changes that you've just

       8   described, including the increase in the claims amount?

       9   A   Well, when -- like any fraction, the distribution will go

      10   down if the claimant pool goes up.      So, with the denominator

      11   going up by the UBS and the UBS amount -- the UBS and the

      12   HarbourVest amounts, the distribution percentage went down.

      13   Q   Okay.    I want to focus your attention on the second line

      14   where we've got the monetization of assets under the plan at

      15   $258 million but under the liquidation analysis it's $192

      16   million.    Do you see that?

      17   A   Yes.

      18   Q   Can you tell Judge Jernigan why the Debtor believes that

      19   under the plan the Debtor or the post-confirmation Debtor is

      20   likely to receive or recover more for the --

      21       (Interruption.)

      22               THE COURT:   All right.   Hang on a minute.   Where is

      23   that coming from, Mike?

      24               THE CLERK:   Someone is calling in.

      25               THE COURT:   Okay.




                                                                      Appx. 02036
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                                       Seery - Direct                       134


        1               MR. MORRIS:    Thank you.

        2               THE COURT:    Mr. --

        3               MR. MORRIS:    Let me restate the question.

        4               THE COURT:    Yes.   Restate.

        5   BY MR. MORRIS:

        6   Q   Can you explain to Judge Jernigan why the Debtor believes

        7   that the -- under the plan corporate structure, the Debtor is

        8   likely to recover more from the monetization of assets than a

        9   Chapter 7 liquidation trustee would?

       10   A   Sure.     My experience is that Chapter 7 trustees will

       11   generally try to move quickly to monetize assets.         They will

       12   retain their own professionals, they will examine the assets,

       13   and they will look to sell those assets swiftly.

       14       The monetization plan does not plan to do that.         I've got

       15   a year's of experience -- a year now of experience with these

       16   assets, as well as we'll have a team with several years at

       17   least each of experience with the assets.      We intend to look

       18   for market opportunities, and think we'll be able to do it in

       19   a much better fashion than a liquidating Chapter 7 trustee.

       20       The nature of these assets is complex.      Many of them are

       21   private equity investments in operating businesses.        Certain

       22   of them are complicated real estate structures that need to be

       23   dealt with.    Some of them are securities that, depending on

       24   when you want to sell them, we believe there'll be better

       25   times than moving quickly forward to sell them now.




                                                                        Appx. 02037
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                                     Seery - Direct                     135


        1       So, with each of them, we think that we'll be able to do

        2   better than a Chapter 7 trustee based upon our experience.

        3   The only thing that we're level-set with a Chapter 7 trustee

        4   on is that cash is cash.

        5   Q   Do you have any concerns that a Chapter 7 trustee might

        6   not be able to retain the same personnel that the Debtor is

        7   projected to retain?

        8   A   Well, again, in my experience, it would be very difficult

        9   for a Chapter 7 trustee to retain the same professionals, and

      10    typically they don't.

      11        Secondly, retaining the individuals, I think, would be

      12    very difficult for a Chapter 7 trustee, would not have a

      13    relationship with them, and that gap of time and the risks

      14    that they would have to take to join a Chapter 7 trustee I

      15    think would lead most of them to look for different

      16    opportunities.

      17    Q   Okay.     One of the other things, one of the other changes I

      18    think you mentioned between the November and the January

      19    projections was the decision to assume the CLO management

      20    contracts.    Do I have that right?

      21    A   That's correct.

      22    Q   And why has the Debtor decided to assume the CLO

      23    management contracts?    How does that impact the analysis on

      24    the screen?

      25    A   Well, it does add to the expense, but it also adds to the




                                                                    Appx. 02038
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                                   Seery - Direct                       136


        1   proceeds.

        2       When we did the HarbourVest settlement, we ended up with

        3   the first significant interest in HCLOF.    HCLOF owns the vast

        4   majority of the equity in Acis 7, and also owns significant

        5   preferred share interests in the 1.0 CLOs.    And we think it's

        6   in the best interest of the estate to keep the management of

        7   those assets where we have an interest in the outcome of

        8   maximizing value with the estate.

        9       In addition, we're going to have employees who are going

      10    to work with us to manage those specific assets, so we feel

      11    like that will be something where we can control the

      12    disposition much better.

      13        There's also cross-interests that these CLOs have in --

      14    the 1.0 CLOs have in a number of other investments that

      15    Highland has.   As in all things Highland, it's interrelated,

      16    and so many of the companies have direct loans from the CLOs.

      17    We intend to refinance that, but we feel much more comfortable

      18    and feel that there would be value maximization if we're able

      19    to work directly with the Issuers as a manager while we seek

      20    in those underlying investments to refinance the CLO debt.

      21    Q   Has the Debtor -- has the Debtor reached an agreement with

      22    the Issuers on the assumption of the CLO management

      23    agreements?

      24    A   Yes, we have.

      25    Q   Can you describe for the Court the terms of the




                                                                    Appx. 02039
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                                      Seery - Direct                      137


       1   assumption?

       2              MR. RUKAVINA:    Your Honor, this --

       3              THE WITNESS:    Yes.

       4              MR. RUKAVINA:    Your Honor, this is Davor Rukavina.      I

       5   would object to this as hearsay.

       6              THE COURT:    Well, he has not --

       7              MR. MORRIS:    It's --

       8              THE COURT:    He's not said an out-of-court statement

       9   yet, so I overrule.

      10        Go ahead.

      11              THE WITNESS:    Yeah, we -- we are going to assume the

      12   CLO contracts.    We have had direct discussions with the

      13   Issuers.   They have agreed.

      14        The basic terms are that we're going to cure them by

      15   satisfying about $500,000 of cure costs related to costs that

      16   the CLO Issuers have incurred in respect of the case, and

      17   we'll be able to pay that over time.

      18              MR. RUKAVINA:    Your Honor, this is Davor Rukavina.      I

      19   would renew my objection and move to strike his answer that

      20   they've agreed.    That is hearsay, an out-of-court statement

      21   offered to prove the truth of the matter asserted.

      22              THE COURT:    Okay.    Mr. Morris, what is your response?

      23              MR. MORRIS:     He's describing an agreement.   I

      24   actually think it's in the Debtor's plan that's on file

      25   already.   But he's describing the terms of an agreement.      He's




                                                                      Appx. 02040
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                                       Seery - Direct                        138


       1   not saying what anybody said.       There's no out-of-court

       2   statement.     It's an agreement that's being described.

       3                THE COURT:    All right.    Thank you.   I overrule the

       4   objection.

       5                MR. MORRIS:    Okay.

       6   BY MR. MORRIS:

       7   Q    Does the Debtor believe that the CLO agreements will be

       8   profitable?

       9   A    Yes.

      10   Q    And why does the Debtor believe that the CLO agreements

      11   will be profitable to the post-confirmation estate?

      12   A    Well, we don't -- we don't break out profitability on a

      13   line-by-line basis.        But the simple math is that the revenues

      14   from the CLO contracts which will roll in to the Debtor from

      15   the management fees are more than what we anticipate the

      16   actual direct costs of monitoring and managing those assets

      17   would be.

      18   Q    Okay.    Are you aware that yesterday the Debtor filed a

      19   further revised set of projections?

      20   A    I am, yes.

      21   Q    All right.    Let's call those the February projections.

      22                MR. MORRIS:    Can we put those on the screen?

      23        It's Exhibit 7P, Your Honor.

      24                THE COURT:    Okay.

      25                MR. MORRIS:    All right.    I think that for some reason




                                                                         Appx. 02041
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                                    Seery - Direct                        139


       1   -- yeah, okay.   There we go.   Perfect.    Right there.

       2        Your Honor, these are the projections that were filed

       3   yesterday.   I'm going to move for the admission into evidence

       4   of these projections.

       5             THE COURT:    All right.

       6             MR. TAYLOR:    Your Honor, this is Clay Taylor.

       7             THE COURT:    Go ahead.

       8             MR. TAYLOR:    We object.   These were -- these were not

       9   previously provided.    They were provided on the eve of the

      10   confirmation hearing, after the Debtors had already revised

      11   them once and provided those on -- after close of business on

      12   a Friday before Mr. Seery's deposition.      And these were

      13   provided even later, certainly not within the three days

      14   required by the Rule.    And therefore we move to -- that these

      15   should not be allowed into evidence.

      16             THE COURT:    Mr. Morris, what is your response to

      17   that?

      18             MR. MORRIS:    Your Honor, first of all, the January

      19   projections were provided in advance of Mr. Seery's deposition

      20   and he was questioned extensively on it.      These projections

      21   have been updated since then, I think for the singular purpose

      22   of reflecting the UBS settlement.

      23        As Your Honor just saw, the prior projections included an

      24   assumption based on the 3018 motion.       Since Mr. Seery's

      25   deposition, UBS and the Debtor have agreed to publicly




                                                                      Appx. 02042
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                                    Seery - Direct                         140


       1   disclose the terms of the settlement, and that's reflected in

       2   these revised numbers.    I think there was one other change

       3   that Mr. Seery can testify to, but those are the only changes

       4   that were made.

       5             THE COURT:    All right.    Mr. Seery, what besides the

       6   UBS settlement do you think was put in these overnight ones?

       7             THE WITNESS:    I believe the only other change, Your

       8   Honor, was correcting a mistake.      In Assumption M, the second

       9   line is assumes RCP claims will offset against HCMLP's

      10   interest in the fund and will not be paid from the Debtor's

      11   assets.   That hasn't changed.

      12        Basically, the Debtor got an advance from RCP that was to

      13   -- for tax distributions, and did not repay it.       The RCP

      14   investors are entitled to recovery of that.       So we had

      15   previously backed that out.     It's about four million bucks.

      16   What happened was it was just double-counted.

      17             THE COURT:    Okay.

      18             THE WITNESS:    So, as an additional claim, it was

      19   counted as $8 million.    I think that's the only other change.

      20             THE COURT:    All right.    I overrule the objection.

      21   You may go forward.     I admit 7P.

      22             MR. MORRIS:    Thank you, Your Honor.

      23        (Debtor's Exhibit 7P is received into evidence.)

      24             MR. MORRIS:    Can you just -- if we can go to the next

      25   page, please.




                                                                     Appx. 02043
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                                    Seery - Direct                        141


        1   BY MR. MORRIS:

        2   Q   So, with -- seeing that the claims pool under the plan

        3   previously was $313 million, and what's the claims pool under

        4   the projections up on the screen under the plan?

        5   A   Two -- well, remember, there's 273 for Class 8, and then

        6   you'd add in the Class 7 as well, which is the $10.2 million.

        7   So the 273 went from 313 to 273 with that settlement.

        8   Q   And is there any -- is there any reason for the decrease

        9   other than the change from the 3018 settlement -- order figure

       10   to the actual settlement amount?

       11   A   For the UBS piece, no.   And then, as I mentioned, I

       12   believe the other piece would have been that four million --

       13   that additional $4 million that was taken out.

       14   Q   And did those two changes have a -- did those two changes

       15   have an impact on the projected recoveries under the plan?

       16   A   Sure, particularly with respect to -- to the Class 8.

       17   Those recoveries went up significantly because the denominator

       18   went up.

       19   Q   Okay.   Does the Debtor believe that its plan is feasible?

       20   A   Yes, absolutely.

       21   Q   And do you know whether the administrative priority and

       22   convenience class claims will be paid in full under the

       23   Debtor's plan?

       24   A   Yes.    We monitor the cash very closely, so we do have

       25   additional cash to raise, but we're set to reach or exceed




                                                                    Appx. 02044
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                                    Seery - Direct                          142


       1   that target, so we do believe we'll be able to pay all the

       2   administrative claims when they come in.      Obviously, we have

       3   to see what they are.    We will be able to pay Class 7 on the

       4   effective date.    Any other distributions, we expect to be able

       5   to make as well.

       6        So, and then it's -- then it's a question of going forward

       7   with a few other claims that we have to pay over time.       We

       8   have the cash flow to pay those.    Frontier, for example, we'll

       9   be able to pay that claim over time in accordance with the

      10   restructured terms.    If the assets that secure that claim are

      11   sold, they would be paid when those assets are sold.

      12   Q    Frontier, will the plan enable the Debtor to pay off the

      13   Frontier secured claim?

      14   A    Yes.    That's what I was explaining.    The cash flow is

      15   sufficient to support the current P&I on that claim.       We will

      16   be able to satisfy it from other assets if we determine not to

      17   sell the asset securing the Frontier claim, or if we sell the

      18   asset securing the Frontier claim we could satisfy that claim.

      19   The asset far exceeds the value of the claim.

      20   Q    Has the plan been proposed for the purpose of avoiding the

      21   payment of any taxes?

      22   A    No.    We expect all tax claims to be paid in accordance

      23   with the Code, and to the extent that there are additional

      24   taxes generated, we would pay them.

      25   Q    Okay.   Let's just talk about Mr. Dondero for a moment




                                                                      Appx. 02045
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                                    Seery - Direct                        143


        1   before we move on.   Are you aware that Mr. Dondero's counsel

        2   has requested the backup to, you know, these numbers,

        3   including the asset values?

        4   A   It -- I'm not sure if it was his counsel or one of the

        5   other related-entity counsels.

        6   Q   Okay.    But you're aware that a request was made for the

        7   details regarding the asset values and the other aspects of

        8   this?

        9   A   Yes.

       10   Q   Those were -- were those formal requests or informal

       11   requests?

       12   A   They were certainly at my deposition.

       13   Q   Right.    But you haven't seen a document request or

       14   anything like that, have you?

       15   A   No.

       16   Q   Did the Debtor make a decision as to whether or not to

       17   provide the rollup, the backup information to Mr. Dondero or

       18   the entities acting on his behalf?

       19   A   Yes.

       20   Q   And what did the Debtor decide?

       21   A   We would not do that.

       22   Q   And why did the Debtor decide that?

       23   A   Well, I think that's pretty standard.    The underlying

       24   documentation and the specific terms of the model are very

       25   specific, and they are -- they are confidential business




                                                                    Appx. 02046
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                                      Seery - Direct                      144


        1   information that runs through what we expect to spend and what

        2   we expect to receive and when we expect to sell assets and

        3   then receive proceeds, and the prices at which we expect to

        4   sell them.

        5       To the extent that any entity wants to have that

        6   information as a potential bidder, that would be very

        7   detrimental to our ability to maximize value.      So, typically,

        8   I wouldn't expect that to be given out, and I would not

        9   approve it to be given out here.

       10   Q   Did the Debtor disclose to Mr. Dondero's counsel or

       11   counsel for one of his entities the agreement in principle

       12   with UBS before the updated plan analysis was filed last

       13   night?

       14   A   I believe that disclosure was done a while ago, to Mr.

       15   Lynn.

       16   Q   So, to the best of your -- so, to the best of your

       17   knowledge, the Debtor actually shared the specifics of the

       18   agreement with UBS with Mr. Dondero and his counsel before

       19   last night?

       20   A   Yes.     I have specific personal knowledge of it because we

       21   had to ask UBS for their permission, and they agreed.

       22   Q   Okay.

       23               MR. MORRIS:   All right.   Let's move on to 1129(b),

       24   Your Honor, the cram-down portion.

       25   BY MR. MORRIS:




                                                                      Appx. 02047
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                                   Seery - Direct                       145


       1   Q   Are you aware, Mr. Seery, how various classes have voted

       2   under the plan?

       3   A   I am generally, yes.

       4   Q   Okay.    Did any class vote to reject the plan, to the best

       5   of your knowledge?

       6   A   I don't -- I guess it depends on how you define the class.

       7   I think the answer is that I don't believe that, when you

       8   count the full votes of the -- the allowed claims and the

       9   votes in any class, I don't believe any of the classes voted

      10   to reject the plan.

      11   Q   What type of claims are in Class 8?

      12   A   General unsecured claims.

      13   Q   And what percentage of the dollar amount of Class 8 voted

      14   to accept?

      15   A   It's -- I think it's near -- now with the Daugherty

      16   agreements, it's near a hundred percent of the third-party

      17   dollars.    I don't know the individual employees' claims off

      18   the top of my head.

      19   Q   All right.    And what about the number in Class 8?    Have a

      20   majority voted to accept or reject in Class 8?

      21   A   If you include the employee claims -- which, again, we

      22   think have no dollar amounts -- then I think it's a majority

      23   would have rejected.   The vast dollar amounts did accept.

      24   Q   Okay.    Let's talk about those employees claims for a

      25   moment.    Do you have an understanding as to the basis of the




                                                                     Appx. 02048
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                                       Seery - Direct                       146


        1   claims?

        2   A   Yes.

        3   Q   What's your understanding of the basis of the claims?

        4   A   Most of the claims are based on deferred compensation, and

        5   that's the 2005 Highland Capital Management bonus plan.         And

        6   that bonus plan provides certain deferred payment amounts to

        7   the employees to be paid over multiple-year periods, provided

        8   that they are in the seat when the payment is due.      That's the

        9   vesting date.

      10    Q   Okay.

      11                MR. MORRIS:    Your Honor, just as a note-keeping

      12    matter, the deferred compensation plan and the annual bonus

      13    plan are Exhibits 6F and 6G, respectively, and they're on

      14    Docket 1822.

      15                THE COURT:    All right.

      16    BY MR. MORRIS:

      17    Q   And Mr. Seery, are you generally familiar with those

      18    plans?

      19    A   I am, yes.

      20    Q   In order to receive benefits under the plans, are the

      21    employees required to be employed at the time of vesting?

      22    A   Yeah.    Our counsel refers to them, various terms, but

      23    generally -- our outside labor counsel.      They're referred to

      24    as seat-in-the-seat plans, meaning that your seat has to be in

      25    a seat at the office at the day that the payment is due.        If




                                                                      Appx. 02049
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                                     Seery - Direct                      147


        1   you're terminated for cause or if you resign, you're not

        2   entitled to any payment.

        3       So either you're there and you receive it or you're not

        4   and you don't.   The only exception to that, I believe, is

        5   death and disability.    Or disability.

        6   Q   All right.   Did the Debtor terminate the annual bonus

        7   plan?

        8   A   Yes, we did.

        9   Q   And in what context did the Debtor terminate the annual

      10    bonus plan?

      11    A   Well, we had discussion on it last week.    As Mr. Dondero

      12    had also testified, the plan was to terminate all the

      13    employees prior to the transition.   That's well known among

      14    the employees.   The board terminated the 2005 bonus plan and

      15    instead replaced it with a KERP plan that was approved by this

      16    Court.

      17    Q   And what was your understanding of the consequences of the

      18    termination of the bonus plan for -- for purposes of the

      19    claims that have been asserted by the employees who rejected

      20    in Class 8?

      21    A   It's clear that, under the 2005 HCMLP bonus plan, no

      22    amounts are due because the plan has been terminated.

      23    Q   All right.   Do you have an understanding as to when

      24    payments become due under the deferred compensation -- under

      25    the compensation plan?




                                                                    Appx. 02050
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                                        Seery - Direct                       148


        1   A   I do, yes.

        2   Q   And when are they due?

        3   A   The next payments are due in May.

        4   Q   And what is the Debtor intending to do with respect to the

        5   objecting employees?

        6   A   The Debtor will have terminated all those employees before

        7   that date.

        8   Q   All right.    So, what's -- what are the consequences of

        9   their termination vis-à-vis their claims under the deferred

      10    compensation plan?

      11    A   They won't have any claims.

      12    Q   Okay.    So is it the Debtor's view that the employees who

      13    voted to reject in Class 8 have no valid claims under the

      14    annual comp -- annual bonus plan or the deferred compensation

      15    plan?

      16                MR. RUKAVINA:    Your Honor, this is Davor Rukavina.

      17    With due respect, Your Honor, these employees have voted.         The

      18    voting is on file.       There has been no claim objections to

      19    their claims filed.      There's been no motion to designate their

      20    votes filed.    So Mr. Seery's answer to this is irrelevant.

      21    They have votes -- pursuant to this Court's disclosure

      22    statement order, they have votes and they have counted, and

      23    now Mr. Seery is attempting to basically impeach his own

      24    balloting summary.

      25                THE COURT:    Mr. Morris, what is your response?




                                                                       Appx. 02051
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                                     Seery - Direct                      149


       1              MR. MORRIS:    The point of cram-down, Your Honor, is

       2   it fair and equitable.     Does -- does -- is it really fair and

       3   equitable to the 99 percent of the economic interests to allow

       4   24 employees who have no valid claims to carry the day here?

       5   And this is -- that's what cram-down is about, Your Honor.

       6              THE COURT:    All right.   I overrule the objection.

       7   BY MR. MORRIS:

       8   Q    Let's talk about Class 7 for a moment, Mr. Seery.     That's

       9   the convenience class; is that right?

      10   A    That's correct.

      11   Q    How and why was that created?

      12   A    Well, initially, that was created because we had two types

      13   of creditors in the case, broadly speaking.      We had liquidated

      14   claims, which were primarily trade-type creditors, and we had

      15   unliquidated claims, which were the litigation-type creditors.

      16   And so that class was created to deal with the liquidated

      17   claims, and the Class 8 would deal with the unliquidated

      18   claims, which were expected to, as we talked about earlier

      19   with respect to the monetization plan, take some time to

      20   resolve.

      21   Q    Was the creation of the convenience class a product of

      22   negotiations with the Committee?

      23   A    The initial discussion on how we set it up I believe was

      24   generated by the Debtor's side, but how it evolved and who

      25   would be in it and how it was treated in terms of




                                                                     Appx. 02052
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                                   Seery - Direct                        150


       1   distributions was a product of negotiation with the Committee.

       2   Q    Okay.   So how was the dollar threshold figure arrived at?

       3   How did you actually determine to create a convenience class

       4   at a million dollars?

       5   A    It was through negotiation with the Committee.    So this

       6   was one of those items that moved a fair bit, in my

       7   recollection, through the many negotiations we had, heated

       8   negotiations on some of these items, with the Committee.

       9   Q    And are all convenience class -- all holders of

      10   convenience class claims holders of claims that were

      11   liquidated at the time the decision was made to create the

      12   class?

      13   A    I believe so.   I don't think there's been -- other than --

      14   well, there -- we just had some settlements today, and I think

      15   that relates to the employees, but those would be the only

      16   ones that there would be disputes about, and that would roll

      17   into the liquidat... the convenience class.

      18   Q    Okay.   Finally, is there any circumstance under which

      19   holders of Class 10 or 11, Class 10 or Class 11 claims will be

      20   able to obtain a recovery under the plan?

      21   A    Theoretically, there's a circumstance, and that is if

      22   every other creditor in the case were to be paid in full, with

      23   interest at the federal judgment rate, including Class 9,

      24   which are the subordinated claims.   If those all got paid in

      25   full, then theoretically the junior interest holders could




                                                                    Appx. 02053
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                                     Seery - Direct                     151


        1   receive distributions.

        2       However, based upon our projections, that would be wholly

        3   dependent on a significant recovery in the Litigation -- by

        4   the Litigation Trustee.

        5   Q   Okay.   Let's move now to questions of the Debtor release

        6   and the plan injunction.   Is the Debtor providing a release

        7   under the plan?

        8   A   Yes.

        9   Q   Is anyone other than the Debtor providing a release under

      10    the plan?

      11    A   No.

      12    Q   Who is the Debtor proposing to release under the plan?

      13    A   The release parties are pretty similar to what you

      14    typically would see, in my experience, in most plans.    You

      15    have the independent board, myself as CEO and CRO, the

      16    professional -- the Committee members, the professionals in

      17    the case, and the employees that we reached agreement with

      18    respect to certain of them who have signed on to a

      19    stipulation, and others, get a broader release for negligence.

      20    Q   Okay.   Is the Debtor aware of any facts that might give

      21    rise to a colorable claim against any of the proposed release

      22    parties?

      23    A   Not with respect to any of the release parties.     So the --

      24    obviously, I don't think there's any claims against me.    But

      25    the same is true with respect to the oversight board, the




                                                                    Appx. 02054
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                                     Seery - Direct                     152


        1   independent board.

        2       The Committee has been, you know, working with us hand-in-

        3   glove, and I think if they thought we -- there was something

        4   there, we would have heard it.

        5       With respect to the professionals, we haven't seen

        6   anything as an independent board.

        7       And with respect to the employees' that -- general

        8   negligence release, these are current employees and we have

        9   been monitoring them for a year and we don't have any evidence

       10   or anything to suggest that there would be a claim against

       11   them.

       12   Q   Are there conditions to the employees' release?

       13   A   There are.     So, the employee release, as we talked about

       14   earlier, was highly negotiated with the Committee.    It

       15   requires that employees assist in the monetization efforts,

       16   which is really on the transition and the monetization.    They

       17   don't have to assist in bringing litigations against anybody,

       18   so that's not part of what the provision requires.    But it

       19   does require that they assist generally in our efforts to

       20   monetize assets.

       21       We don't think that's going to be significant, but if

       22   there are individual questions or help we need, we certainly

       23   would reach out to them.    If it's significant time, that will

       24   be a different discussion.

       25       And then with respect to the two senior employees who




                                                                    Appx. 02055
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                                       Seery - Direct                        153


        1   signed the stipulation, they have to give up a part of their

        2   distribution for their release.

        3   Q   All right.     I think you just alluded to this, but has the

        4   release been the subject of negotiation with the Creditors'

        5   Committee?

        6   A   Yeah.     We've touched on it a bunch of times, and we

        7   certainly, unfortunately, let it spill over into the court a

        8   couple times.    It was a hotly-negotiated piece of the plan.

        9   Q   Okay.     Has the Committee indicated to the Debtor in any

       10   way that anybody subject to the release is the subject of a

       11   colorable claim?

       12   A   Anyone subject to the release?      No.

       13   Q   Yeah.     All right.   Let's talk about the plan injunction

       14   for a moment.    Are you familiar with the plan injunction?

       15   A   Broadly, yes.

       16   Q   And what is your broad understanding of the plan

       17   injunction?

       18   A   Anybody who has a claim or thinks they have a claim will

       19   broadly be enjoined from bringing that, other than as it's

       20   satisfied under the plan or else ultimately bringing it before

       21   this Court.    And that's the gatekeeper part, which is a little

       22   bit of combining the two pieces.

       23   Q   And what's your understanding of the purpose of the

       24   injunction?

       25   A   It's really to prevent vexatious litigation.        We, as




                                                                        Appx. 02056
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                                   Seery - Direct                          154


        1   independent directors, stepped into what I think most people

        2   would fairly say is one of the more litigious businesses and

        3   enterprises that they've seen.    And we have a plan that will

        4   allow us to monetize assets for the benefit of the creditor

        5   body, provided we're able to do that and not have to put out

        6   fires every day on different fronts.      So what we're hoping to

        7   do with the injunction is ensure that we can actually fulfill

        8   the purposes of the plan.

        9   Q   All right.   Let's talk about some of the litigation that

       10   you're referring to.

       11            MR. MORRIS:   Can we put up on the screen the

       12   demonstrative for the Crusader litigation?

       13   BY MR. MORRIS:

       14   Q   And Mr. Seery, I would just ask you to kind of describe

       15   your understanding in a general way about the history of the

       16   Crusader litigation.

       17            MR. MORRIS:   And, Your Honor, just to be clear here,

       18   this is a demonstrative exhibit.    As you can see in the

       19   footnotes, it's heavily footnoted to the documents and to --

       20   and, really, to the court cases themselves.     The documents on

       21   the exhibit list include the dockets from each of the

       22   underlying litigations.     And I just want to just have Mr.

       23   Seery describe at an extremely high level some of the

       24   litigation that the Debtor has confronted over the years, you

       25   know, as the driver, as he just testified to, for the decision




                                                                     Appx. 02057
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                                      Seery - Direct                        155


        1   to seek this gatekeeper injunction.

        2               THE COURT:   All right.

        3   BY MR. MORRIS:

        4   Q   So, Mr. Seery, can you just describe kind of in general

        5   terms the Crusader litigation?

        6   A   Yeah.    I apologize to the Redeemer team for maybe not

        7   doing this justice.      But this is litigation that came out of a

        8   financial crisis upheaval related to this fund.      Disputes

        9   arose with respect to the holders of the interests, which were

      10    the -- ultimately became the Redeemers, and Highland as the

      11    manager.

      12        That went through initial litigation, and then into the

      13    Bermuda courts, where it was subject to a scheme.      The scheme

      14    required or allowed for the liquidation of the fund and then

      15    distributions to the -- to the holders, and then deferred many

      16    of the payments to Highland.

      17        At some point, Highland, frustrated that it wasn't able to

      18    get the payments, decided to just take them, and I think, you

      19    know, fairly -- can be fairly described, at least by the

      20    arbitration panel, as coming up with reasons that may not have

      21    been wholly anchored in reality as to what its reasons were

      22    for taking that money.

      23        That led to further disputes with the Redeemers, who then

      24    terminated Highland and brought an arbitration action against

      25    Highland.    They were successful in that arbitration and




                                                                     Appx. 02058
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                                      Seery - Direct                      156


       1   received a $137 arbitration award.      And right up to the

       2   petition date, that arbitration pursued.      When they finally

       3   got their -- the arbitration award, they were going to

       4   Delaware Chancery Court to file it and perfect it, and the

       5   Debtor filed.

       6   Q    Okay.

       7                MR. MORRIS:   Let's go to the next slide, the Terry/

       8   Acis slide.     If we could just open that up a little bit.    It's

       9   -- as you can imagine, Your Honor, it's a little difficult to

      10   kind of summarize the Acis/Terry saga in one slide, but we've

      11   done the best we can.

      12   BY MR. MORRIS:

      13   Q    Mr. Seery, can you describe generally for Judge Jernigan,

      14   who is well-versed in the matter, the broad overview of this

      15   litigation?

      16   A    There's clearly nothing I can tell the Court about the

      17   bankruptcy that it doesn't already know.      But very quickly,

      18   for the record, Mr. Terry was an employee at Highland.        He

      19   also has a partnership interest in Acis, which was, in

      20   essence, the Highland CLO business.      He -- and he got into a

      21   dispute with Mr. Dondero regarding certain transactions that

      22   Mr. Dondero wanted to enter into and Mr. Terry didn't believe

      23   were appropriate for the investors.

      24        Strangely, the assets that underlie that dispute are still

      25   in the Highland portfolio, both Targa (phonetic) and Trussway.




                                                                     Appx. 02059
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                                     Seery - Direct                     157


        1   Mr. Terry was terminated, or quit, depending on whose side of

        2   the argument you take.   Mr. Terry then sought compensation in

        3   the arbitration pursuant to the partnership agreement.

        4   Ultimately, he was awarded an arbitration award of roughly $8

        5   million.

        6       When he went to enforce that -- that was against Acis.

        7   When he went to enforce that against Acis, which had all the

        8   contracts, Highland went about, I think, terribly denuding

        9   Acis and moving value.   Mr. Terry ultimately was able to file

       10   an involuntary against Acis, and after a tremendous amount of

       11   litigation had a plan confirmed that gave him certain rights

       12   in Acis and any ability to challenge certain transactions with

       13   respect to Highland that formed the basis of his claims in the

       14   Highland bankruptcy.

       15       That wasn't the end of the saga, because Highland

       16   commenced a litigation -- well, not Highland, but HCLOF and

       17   others, directed by others -- commenced litigation against Mr.

       18   Terry in Guernsey, an island in the English Channel.     That

       19   litigation wound its way for a couple -- probably close to two

       20   years, at least a year and a half, and ultimately was -- it

       21   was dismissed in Mr. Terry's favor.

       22       While that was pending, litigation was commenced in New

       23   York Supreme Court against Mr. Terry and virtually anybody who

       24   had ever associated with him in the business, including --

       25   including some of the rating agencies.    That was withdrawn as




                                                                    Appx. 02060
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                                       Seery - Direct                        158


        1   part of our efforts working with DAF to try to bring a little

        2   bit of sanity to the case.      But it was withdrawn without

        3   prejudice.

        4       But ultimately, you know, we've agreed to a claims

        5   settlement, which was approved by this Court, with Acis and

        6   Mr. Terry.

        7   Q   All right.

        8               MR. MORRIS:    How about UBS?   Can we get the UBS

        9   slide?

       10               THE WITNESS:   I should mention that there's other

       11   litigations involving Mr. Terry and Highland individuals that

       12   are outstanding, I believe, in Texas court.       We have not yet

       13   had to deal with those.

       14   BY MR. MORRIS:

       15   Q   Okay.    Can you describe for the Court your general

       16   understanding of the UBS litigation?

       17   A   Again, UBS comes out of the financial crisis.       It was a

       18   warehouse facility that UBS had established for Highland.         It

       19   actually was a pre-crisis facility that was restructured in

       20   early '08, while the markets were starting to slide but before

       21   they really collapsed.      That litigation started after Highland

       22   failed to make a margin call.      UBS foreclosed out -- or it

       23   wasn't really a foreclosure, because it's a warehouse

       24   facility, but basically closed out all the interest and sought

       25   recovery from Highland for the shortfall.




                                                                       Appx. 02061
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                                    Seery - Direct                      159


        1       Highland was one of the defendants, but there are numerous

        2   defendants, including some foreign subsidiaries of Highland.

        3       That case wend its way through the New York Supreme Court,

        4   up and down between the Supreme and the Appellate Division,

        5   which is the intermediate appellate court in New York.

        6   Incredibly litigious effort over virtually every single item

        7   you could possibly think of.

        8       Ultimately, UBS got a judgment for $500-plus million and

        9   -- plus prejudgment interest against two of the Highland

      10    subsidiaries.   It then sought to commence action up -- enforce

      11    its judgment through various theories against Highland.     That

      12    is part of the settlement that we have -- it's been part of

      13    the lift stay motion here, the 3019, as well as the 3018, and

      14    as well as the ultimate settlement we've discussed today.

      15    Q   Okay.   Moving on to Mr. Daugherty, can you describe for

      16    the Court your understanding of the Daugherty litigation?

      17    A   The Daugherty litigation goes back even further.     It did

      18    -- I think the original disputes were -- or, again, started to

      19    happen between Mr. Daugherty and Mr. Dondero even prior to the

      20    crisis, but Mr. Dondero -- Daugherty certainly stayed with

      21    Highland post-crisis.   And then when Mr. Daugherty was severed

      22    or either resigned or terminated from his position, there was

      23    various litigations that began between the parties very

      24    intensely in state court, one of the more nasty litigations

      25    that you can imagine, replete with salacious allegations and




                                                                    Appx. 02062
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                                      Seery - Direct                        160


        1   press releases.

        2          That litigation then led to an award originally for Mr.

        3   Daugherty from HERA, which was an entity that had assets that

        4   Mr. Daugherty alleges were stripped.       Mr. Daugherty had to pay

        5   a judgment against Highland.     Ultimately, litigations were

        6   commenced in both the state court and the Delaware Chancery

        7   Court.    Those litigations, many of those continue, because

        8   they're not just against the entities but specific

        9   individuals.    Mr. Daugherty got a voting -- a claim allowed

       10   for voting purposes in our case of $9.1 million, and we've

       11   since reached an agreement with Mr. Daugherty on his claim,

       12   save for a tax case which we announced earlier that relates to

       13   compensation, claimed compensation with respect to a tax

       14   distribution, which we have defenses for and he has claims

       15   for.

       16               MR. MORRIS:   All right.   We can take that down,

       17   please.

       18   BY MR. MORRIS:

       19   Q      And let's just talk for a few minutes about some of the

       20   things that have happened in this case.      Did Mr. Dondero

       21   engage in conduct that caused the Debtor to seek and obtain a

       22   temporary restraining order?

       23   A      Yes, he did.

       24   Q      And did the Debtor -- did Mr. Dondero engage in conduct

       25   that caused the Debtor to seek and obtain a preliminary




                                                                      Appx. 02063
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                                     Seery - Direct                     161


        1   injunction against him?

        2   A   Yes.

        3   Q   And has the Debtor filed a motion to hold Mr. Dondero in

        4   contempt for violation of the TRO?

        5   A   Yes.

        6   Q   Are you aware that -- of the CLO-related motion that was

        7   filed in mid-December?

        8   A   It's similar in that these are controlled entities that

        9   brought similar types of claims against the Debtor and

      10    interfered in similar ways, albeit not as directly threatening

      11    with respect to the personnel of the Debtor.

      12    Q   Okay.   And you're aware of how that -- that motion was

      13    resolved?

      14    A   I know we resolved it, and I'm drawing a blank on that.

      15    But --

      16    Q   All right.   Are you aware, did Mr. Daugherty also object

      17    to the Acis and HarbourVest settlements, or at least either

      18    him or entities acting on his behalf?

      19    A   I think you meant Mr. Dondero.    I don't believe Mr.

      20    Daugherty did.

      21    Q   You're right.   Thank you.   Let me ask the question again.

      22    Thank you for the clarification.   We're almost done.   To the

      23    best of your knowledge, did Mr. Dondero or entities that he

      24    controls file objections to the Acis and HarbourVest

      25    settlements?




                                                                    Appx. 02064
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                                        Seery - Direct                       162


        1   A   Yes, they did.

        2   Q   And we're here today with this long recitation because the

        3   remaining objectors are all Mr. Dondero or entities owned or

        4   controlled by him; is that right?

        5   A   That's correct.

        6   Q   All right.

        7               MR. RUKAVINA:    Your Honor, I didn't have a chance to

        8   object in time.    Entities owned or controlled by Mr. Dondero.

        9   There's no evidence of that with respect to at least three of

      10    my clients, and this witness has not been asked predicate

      11    questions to lay a foundation.         Mr. Dondero does not own or

      12    control the three retail (inaudible).         So I move to strike

      13    that answer.

      14                MR. MORRIS:    Your Honor, I withdraw with respect to

      15    the three funds.    It's fine.

      16                THE COURT:    All right.    With that withdrawal, then I

      17    think that resolves the objection.

      18                MR. MORRIS:    Uh, --

      19                THE COURT:    Or I overrule the remaining portion.

      20        Okay.    Go ahead.

      21                MR. RUKAVINA:    That does, Your Honor.    Thank you.

      22    BY MR. MORRIS:

      23    Q   Are -- are -- is everything that you just described, Mr.

      24    Seery, the basis for the Debtor's request for the gatekeeper

      25    and injunction features of the plan?




                                                                        Appx. 02065
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                                     Seery - Direct                       163


       1   A    Well, everything I described are a part of the basis for

       2   that.   I didn't describe every single basis with respect to

       3   why those --

       4   Q    So what are -- what are the other reasons that the Debtor

       5   is seeking the gatekeeper and injunction provisions in the

       6   plan?

       7   A    We really do need to be able to operate the business and

       8   monetize the assets without direct interference and litigation

       9   threats.   We didn't go through some of the specifics, and I

      10   hesitate to burden the Court again, but the email to me, the

      11   email to Mr. Surgent, the testimony threatening -- effectively

      12   threatening Mr. Surgent, in my opinion, by Mr. Dondero, in the

      13   court in previous weeks, statements by his counsel indicating

      14   that Mr. Dondero is going to sue me for hundreds of millions

      15   of dollars down the road.

      16        I mean, this is nonstop.    I'm an independent fiduciary.

      17   I'm trying to maximize value for the estate.       I've got some

      18   guy who's threatening to sue me?      It's absurd.

      19              MR. MORRIS:    Your Honor, I have no further questions,

      20   but what I would respectfully request is that we take just a

      21   short five-minute break.     I'd like to just confer with my

      22   colleagues before I pass the witness.

      23              THE COURT:    All right.   Five-minute break.

      24              MR. MORRIS:    Thank you, Your Honor.

      25              THE CLERK:    All rise.




                                                                      Appx. 02066
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                                       Seery - Direct                        164


       1        (A recess ensued from 1:58 p.m. to 2:06 p.m.)

       2                THE CLERK:    All rise.

       3                THE COURT:    All right.    Please be seated.   We're back

       4   on the record in Highland.          Mr. Morris, anything else?

       5                MR. MORRIS:    All right, Your Honor.    Can you hear me?

       6                THE COURT:    I can, uh-huh.

       7                MR. MORRIS:    Okay.    Mr. Seery, are you there?

       8                THE WITNESS:    I am, yes.

       9                MR. MORRIS:    I just have a few follow-up questions,

      10   Your Honor, if I may.

      11                THE COURT:    Okay.

      12                        DIRECT EXAMINATION, RESUMED

      13   BY MR. MORRIS:

      14   Q    Okay.    Mr. Seery, we talked for a bit about the difference

      15   between the convenience class and the general unsecured

      16   claims.     Do you recall that?

      17   A    Yes.

      18   Q    And that's the difference between Class 7 and 8; do I have

      19   that right?

      20   A    Yes.

      21   Q    And what is the recovery for claimants in Class 7, to the

      22   best of your recollection, the convenience class?

      23   A    It's 85 cents.

      24   Q    And under --

      25   A    On the dollar.




                                                                         Appx. 02067
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                                       Seery - Direct                       165


        1   Q   And under the projections that were filed last night, and

        2   we can call them up on the screen if you don't have total

        3   recall, do you recall what Class 8 is projected to recover now

        4   that we've taken into account the UBS settlement?

        5   A   Approximately 71.

        6   Q   Okay.

        7   A   Percent.     71 cents on the dollar.

        8               THE COURT:   Okay.   The answer --

        9   BY MR. MORRIS:

      10    Q   Okay.     Do I this right --

      11                THE COURT:   The answer was a little garbled.    Can you

      12    repeat the answer, Mr. Seery?

      13                THE WITNESS:   Approximately 71 cents on the dollar,

      14    Your Honor.

      15                THE COURT:   Okay.   Thank you.

      16    BY MR. MORRIS:

      17    Q   Okay.     And do I have that right, that that 71 cents

      18    includes no value for potential litigation claims?

      19    A   That's correct.      We didn't even put that in our

      20    projections at all.

      21    Q   So is it possible, depending on Mr. Kirschner's work, that

      22    holders of Class 8 claims could recover an amount in excess of

      23    85 percent?

      24    A   It's possible, yes.

      25    Q   Okay.     Are you aware that Dugaboy has suggested that the




                                                                        Appx. 02068
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                                      Seery - Direct                         166


        1   Debtor should resolicit because their -- their -- the

        2   projections in the November disclosure statement were

        3   misleading?

        4   A      I'm aware that they've made allegations along those lines,

        5   yes.

        6   Q      Okay.   Do you think the November projections were

        7   misleading in any way?

        8   A      No, not at all.

        9   Q      And why not?

      10    A      Well, the plan was -- the projections are for the plan,

      11    and they contain assumptions.     And it was clear in the plan

      12    that those assumptions could change.       So the value of the

      13    assets, which aren't static, does change.      The costs aren't

      14    static.    They do change.   The amount of the claims, the

      15    denominator, was not static and would change.

      16    Q      Okay.   And were the -- were the changes in the claims, for

      17    example, changes that were all subject to public viewing, as

      18    the Court ruled on 3018, as the settlement with HarbourVest

      19    was announced?

      20    A      Well, the plan -- the terms of the plan made clear that

      21    the Class 8 claims would -- would be whatever the final

      22    amounts of those claims were going to be.      We did resolve the

      23    claims of HarbourVest and then ultimately the settlement

      24    announced today, but in front of -- in front of the world, in

      25    front of the Court, with a 9019 motion.




                                                                        Appx. 02069
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                                    Seery - Direct                     167


       1   Q    Okay.   We had finished up with some questioning about the

       2   gatekeeper and the injunction provision.    Do you recall that?

       3   A    Yes, I do.

       4   Q    And you had testified as to the reasons why the Debtor was

       5   seeking that particular protection.   Do you recall that?

       6   A    Yes.

       7   Q    In the absence of that protection, does the Debtor have

       8   any concerns that interference by Mr. Dondero could adversely

       9   impact the timing of the Debtor's plan?

      10   A    Well, that's my opinion and what I testified to before.      I

      11   think the -- the injunction -- the exculpation, the

      12   injunction, and the gatekeeper are really critical and

      13   essential elements of this plan, because we have to have the

      14   ability, unfettered by litigation, particularly vexatious

      15   litigation in multiple jurisdictions, we have to be able to

      16   avoid that and be able to focus on monetizing the assets and

      17   try to maximize value.

      18   Q    Is there a concern that that value would erode if

      19   resources and time and attention are diverted to the

      20   litigation you've just described?

      21   A    Absolutely.   The focus of the team has to be on the

      22   assets' monetization, creative ways to get the most value out

      23   of those assets, and not on defending itself, trying to paper

      24   up some sort of litigation defense against vexatious

      25   litigation, and also spending time actually defending




                                                                    Appx. 02070
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                                        Seery - Direct                         168


       1   ourselves in various courts.

       2   Q    Okay.    Last couple of questions.       If there was no

       3   gatekeeper provision in the plan, would you accept appointment

       4   as the Claimant Trustee?

       5   A    You broke up.    No which provision?

       6   Q    If there was no gatekeeper provision in the -- in the

       7   confirmation order, would you accept the position as Claimant

       8   Trustee?

       9   A    No, I wouldn't.       Just -- just like when I came on, there

      10   were -- there are some pretty essential elements that I

      11   mentioned before.     One is indemnification.      Two is directors

      12   and officers insurance.        And three was a gatekeeper function.

      13   I want to make sure that we're not at risk, that I'm not at

      14   risk, for doing my job.

      15   Q    And I think you just said it, but if you were unable to

      16   obtain D&O insurance, would you accept the position as

      17   Claimant Trustee?

      18   A    No, I would not.

      19                MR. MORRIS:    I have no further questions, Your Honor.

      20                THE COURT:    All right.   So, you went two hours and 34

      21   minutes in total with your direct.        So we'll now pass the

      22   witness for cross.        And the Objectors get an aggregate of two

      23   hours and 34 minutes.

      24        Who's going to go first?

      25                MR. RUKAVINA:    Your Honor, Davor Rukavina.       I will.




                                                                           Appx. 02071
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                                          Seery - Direct                      169


        1                 THE COURT:    Okay.   Go ahead.

        2                 MR. RUKAVINA:    Mr. Vasek, if you can pull up Exhibit

        3   6N, the ballot summary, Page 7 of 15 on the top.

        4                 MR. POMERANTZ:    Mr. Morris, you're not on mute.

        5                 MR. MORRIS:    Thank you, sir.

        6                 MR. RUKAVINA:    Mr. Vasek, did you hear me?   There it

        7   is.

        8                                 CROSS-EXAMINATION

        9   BY MR. RUKAVINA:

      10    Q     Mr. Seery, are you familiar with this ballot tabulation

      11    that was filed with the Court and that has been admitted into

      12    evidence?

      13    A     Yes, I believe I've seen this.

      14    Q     Okay.    And this says that 31 Class 8 creditors rejected

      15    and 12 Class 8 creditors accepted the plan, correct?

      16    A     That's correct.

      17    Q     And since then, I think we've heard that Mr. Daugherty and

      18    maybe two other employees have changed their vote to an

      19    accept; is that correct?

      20    A     That's correct, yes.

      21    Q     Okay.    Other than three, those three employees that are

      22    changing, do you know of any other Class 8 creditors that are

      23    changing their votes?

      24    A     Mr. Daugherty is not an employee.

      25    Q     I apologize.    Other than those three Class 8 creditors




                                                                          Appx. 02072
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                                     Seery - Cross                      170


        1   that are changing their votes, do you know of any other ones

        2   that are changing their votes?

        3   A   No.

        4   Q   Okay.   You didn't tabulate the ballots, did you?

        5   A   No, I did not.

        6   Q   Do you have any reason to question the accuracy of this

        7   ballot summary that's been filed with the Court?

        8   A   No, I do not.

        9   Q   Okay.   You mentioned that many of the people that rejected

      10    the plan are former employees who you don't think will

      11    ultimately have allowed claims, correct?

      12    A   Not ultimately.   I said they don't have them now.

      13    Q   Okay.   Are you aware that the Court ordered that

      14    contingent unliquidated claims be allowed to vote in an

      15    estimated amount of one dollar?

      16    A   I'm aware of that, yes.

      17    Q   Okay.   All right.   Now, no motion to reconsider that order

      18    has been filed, correct?

      19    A   Not to my knowledge.

      20    Q   Okay.   No objection to these rejecting employees' claims

      21    have been filed yet, correct?

      22    A   Correct.

      23    Q   Okay.   And no motion to strike or designate their vote has

      24    been filed as of now, correct?

      25    A   Correct.




                                                                     Appx. 02073
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                                        Seery - Cross                     171


        1               MR. RUKAVINA:    You can take down that exhibit, Mr.

        2   Vasek.

        3   BY MR. RUKAVINA:

        4   Q   Mr. Seery, the Debtor itself is a limited partnership; I

        5   think you confirmed that earlier, correct?

        6   A   Correct.

        7   Q   And its sole general partner is Strand Advisors, Inc.,

        8   correct?

        9   A   Correct.

       10   Q   And to your understanding, the Debtor, as a limited

       11   partnership, is managed by its general partner, correct?

       12   A   Correct.

       13   Q   Okay.    And Strand, that's where the independent board of

       14   you, Mr. Nelms, and Mr. Dubel -- or I apologize if I'm

       15   misspelling, misstating his name -- that's where the board

       16   sits, at Strand, correct?

       17   A   Yes.

       18   Q   Okay.    And that board has been in place since about

       19   January 9, 2020?

       20   A   Yes.

       21   Q   Okay.    Strand is not a debtor in bankruptcy, correct?

       22   A   No.

       23   Q   Okay.    Do you have any understanding as to whether, under

       24   non-bankruptcy law, a general partner is liable for the debts

       25   of the limited partnership that it manages?




                                                                      Appx. 02074
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                                       Seery - Cross                      172


        1   A   I do.

        2   Q   Okay.    What's your understanding?

        3   A   Typically, a general partner is liable for the debts of

        4   the partnership.

        5   Q   Okay.    And under the plan, Strand itself is an exculpated

        6   party and a protected party and a released party for matters

        7   arising after January 9, 2020, correct?

        8   A   Yes.

        9   Q   Okay.    You mentioned that you're the chief executive

       10   officer and chief restructuring officer in this case for the

       11   Debtor, correct?

       12   A   For the Debtor, yes.

       13   Q   Yeah.    You are not a Chapter 11 trustee, right?

       14   A   No.

       15   Q   Okay.    You are one of the principal authors of this plan,

       16   correct?

       17   A   Consultant.

       18               MR. MORRIS:    Objection to the form of the question.

       19               THE COURT:    Sustained.

       20   BY MR. RUKAVINA:

       21   Q   You are --

       22               THE COURT:    Sustained.

       23   BY MR. RUKAVINA:

       24   Q   You are --

       25               THE COURT:    Rephrase.




                                                                      Appx. 02075
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                                       Seery - Cross                      173


       1   BY MR. RUKAVINA:

       2   Q   -- one of the principal --

       3               MR. RUKAVINA:    I apologize.

       4   BY MR. RUKAVINA:

       5   Q   You had input in creating this plan, didn't you?

       6   A   I did, yes.

       7   Q   Okay.     And you're familiar with the plan's provisions,

       8   aren't you?

       9   A   Yes.

      10   Q   Okay.     And you, of course, approve of the plan, correct?

      11   A   Yes.

      12   Q   Okay.     And you are, of course, familiar generally with

      13   what the property of the estate currently is, correct?

      14   A   Yes.

      15   Q   Okay.     And part of the purpose of the plan, I take it, is

      16   to vest that property in the Claimant Trust in some respects

      17   and the Reorganized Debtor in some respects, correct?

      18   A   I don't -- I don't know if that's a fair characterization.

      19   Some property -- maybe some property will stay with the

      20   Debtor, some will be transferred directly to the Trust.

      21   Q   Okay.     All property of the estate as it currently exists

      22   will stay with the Debtor or go to the Trust, correct?

      23   A   Yes.

      24   Q   Okay.     And under the plan, the Creditor Trust will be

      25   responsible for payment of prepetition claims, correct?




                                                                     Appx. 02076
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                                       Seery - Cross                        174


       1   A    Yes.

       2   Q    And under the plan, the Creditor Trust will be responsible

       3   for the payment of postpetition pre-confirmation claims,

       4   correct?

       5   A    Do you mean admin claims?      I don't --

       6   Q    Sure.

       7   A    I don't understand your question.       I'm sorry.

       8   Q    Yes.    We can call them admin claims.

       9   A    Yeah.    Those -- they'll be -- they will be paid on the

      10   effective date or in and around that time.          So I'm not sure if

      11   that's actually going to be from the Trust, but I think it's

      12   actually from the Debtor, as opposed to from the Trust.

      13   Q    Okay.    But after the creation of the Claimant Trust, --

      14   A    Uh-huh.

      15   Q    -- whatever administrative claims are not paid by that

      16   time will be assumed by and paid from the Claimant Trust,

      17   correct?

      18   A    I don't recall that specifically.

      19   Q    Is it your testimony that the Reorganized Debtor will be

      20   obligated post-effective date of the plan to pay any admin

      21   claims that are then unpaid?

      22                MR. MORRIS:    Objection to the form of the question.

      23                THE COURT:    Sustained.   Rephrase.

      24   BY MR. RUKAVINA:

      25   Q    Who pays unpaid admin claims under the plan once the plan




                                                                        Appx. 02077
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                                        Seery - Cross                        175


        1   goes effective?

        2   A   I believe the Debtor does.         The Reorganized Debtor.

        3   Q   Okay.    The Reorganized Debtor also gets a discharge,

        4   correct?

        5   A   Yes.

        6   Q   Okay.    And there is no bankruptcy estate left after the

        7   plan goes effective, correct?

        8               MR. MORRIS:    Objection to the form of the question.

        9               THE COURT:    Overruled.

       10               MR. RUKAVINA:    Your Honor, I have the right to know

       11   what the objection to my question is.

       12               THE COURT:    I overruled.

       13               MR. MORRIS:    Okay.

       14               THE COURT:    I overruled the objection.

       15               MR. RUKAVINA:    Thank you.

       16   BY MR. RUKAVINA:

       17   Q   Mr. Seery, do you remember my question?

       18   A   That whether there was a bankruptcy estate after the

       19   effective date?

       20   Q   Yes.

       21   A   There wouldn't be a bankruptcy estate anymore, no.

       22   Q   Okay.    Under the plan, the creditors, to the extent that

       23   they have their claims allowed, the prepetition creditors,

       24   they're the beneficiaries of the Claimant Trust, correct?

       25   A   They are some of the beneficiaries, yes.




                                                                        Appx. 02078
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                                    Seery - Cross                        176


        1   Q   Okay.   And you would be the Trustee, I think you said, of

        2   the Claimant Trust?

        3   A   Of the Claimant Trust, yes.

        4   Q   Okay.   And you will have fiduciary duties to the

        5   beneficiaries of the Claimant Trust, correct?

        6   A   I believe I have some, yes.

        7   Q   Okay.   Well, as the Trustee, you will have some fiduciary

        8   duties; you do agree with that?

        9   A   That's what I said, yes.

       10   Q   Okay.   What's your understanding of what those fiduciary

       11   duties to the beneficiaries of the Claimant Trust will be?

       12   A   I think they'll be -- they are cabined to some degree by

       13   the provisions of the agreement, but generally there will be a

       14   duty of care and a duty of loyalty.

       15   Q   Do you feel like you'll have a duty to try to maximize

       16   their recoveries?

       17   A   That depends.

       18   Q   On what?

       19   A   My judgment on what's the -- if I'm exercising my duty of

       20   care and my duty of loyalty.

       21   Q   Okay.   But surely you'd like to, whether you have a duty

       22   or not, you'd like to maximize their recoveries as Trustee,

       23   wouldn't you?

       24   A   Yes.

       25   Q   Okay.   Now, in addition to the beneficiaries, which I




                                                                    Appx. 02079
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                                        Seery - Cross                          177


        1   believe are the Class 8 and Class 9 creditors, the plan

        2   proposes to give non-vested contingent interests in the Trust

        3   to certain holders of limited partnership interests, correct?

        4   A   Yes.

        5   Q   Okay.     And those non-vested contingent interests would

        6   only be paid and would only vest if and when all unsecured

        7   creditors and subordinated creditors are paid in full, with

        8   interest, correct?

        9   A   Yes.

      10    Q   Okay.     And those non-vested contingent interests are a

      11    property interest, although they're an inchoate property

      12    interest, correct?

      13    A   I don't know.     I think I testified in my deposition that I

      14    -- I reached for inchoate, but I'm not an expert in the

      15    definitions of property interests.        I don't know if they're

      16    too ethereal to be considered a property interest.

      17    Q   Okay.

      18                MR. RUKAVINA:    Mr. Vasek, will you please pull up Mr.

      19    Seery's deposition at Page 215?       And if you'll go to Page 200

      20    -- can you zoom -- can you zoom that in a little bit?        Mr.

      21    Vasek, can you zoom on that?

      22                MR. VASEK:   Just a moment.     There's some sort of

      23    issue here.

      24                MR. RUKAVINA:    Okay.   And then go to Page 216.

      25    Scroll down to 216, please.




                                                                        Appx. 02080
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                                        Seery - Cross                        178


        1               MR. VASEK:   Okay.   I can't see it, so --

        2               MR. RUKAVINA:    Okay.   Stay, stay where you are.   Go

        3   down one more row.

        4   BY MR. RUKAVINA:

        5   Q   Okay.    Mr. Seery, can you see this?

        6   A   Yes.

        7   Q   Okay.    So, I ask you on Line 21, "They may be a property

        8   interest, but inchoate only, correct?"       And you answer, "That

        9   is my belief.    I don't claim to be an expert on the different

       10   types of property interests," --

       11               MR. RUKAVINA:    Mr. Vasek, can you go to the next

       12   page?

       13   BY MR. RUKAVINA:

       14   Q   (continues) "-- whether they be inchoate, reversionary,

       15   ethereal.    I don't claim to be an expert on the different

       16   types of property interests."

       17       Do you see that answer, sir?

       18   A   Yes.

       19   Q   And do you stand by your answer given on Lines 23 through

       20   Line 4 of the next page?

       21   A   Yes.

       22   Q   Okay.     And these non-vested contingency -- contingent

       23   interests in the Claimant Trust, they may have some value in

       24   the future, correct?

       25   A   Yes.




                                                                       Appx. 02081
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                                        Seery - Cross                      179


        1               MR. RUKAVINA:    Okay.   You can take that down, Mr.

        2   Vasek.

        3   BY MR. RUKAVINA:

        4   Q   Have you tried to see whether anyone outside this case, or

        5   anyone at all, would pay anything for those unvested

        6   contingent interests to the Claimant Trust?

        7   A   No.

        8   Q   Okay.     Now, the Debtor is a registered investment advisor

        9   under the Investment Advisers Act of 1940; is that correct?

      10    A   That's correct.

      11    Q   And under that Act, the Debtor owes a fiduciary duty to

      12    the funds that it manages and to the investors of those funds,

      13    correct?

      14    A   Clearly to the funds, and generally to the investors more

      15    broadly, yes.

      16    Q   Okay.     And would you agree that that duty compels the

      17    Debtor to look for the interests of the funds and the

      18    investors of those funds ahead of its own interests?

      19    A   Generally, but it's a much more fine line than what you're

      20    describing.    It means you can't -- the manager can't put its

      21    own interests in front of the investors and the funds.       It

      22    doesn't mean that the manager subordinates its interest in the

      23    -- to the investors and the funds.

      24                MR. RUKAVINA:    Well, Mr. Vasek, please pull up the

      25    October 20th transcript at Page 233.




                                                                       Appx. 02082
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                                     Seery - Cross                        180


       1             MR. MORRIS:    What transcript is this?

       2             MR. RUKAVINA:    October 20, 2019.   Mr. Vasek has the

       3   docket entry.

       4             MR. MORRIS:    Oh, so it's the -- Your Honor, I just do

       5   want to point out that Mr. Rukavina objected, in fact, to the

       6   use of trial transcripts, but we'll get to that when we put on

       7   our evidence, when we finish up.

       8             MR. RUKAVINA:    Well, Your Honor, I believe that

       9   you're allowed to use a trial transcript to impeach testimony,

      10   which is what I'm going to do now.

      11        So, for that purpose, Mr. Vasek, if you could -- are you

      12   on Page 233?

      13             THE COURT:    And just so the record is clear, this is

      14   from October 2020, not October 2019, which is, I think, what I

      15   heard.   Continue.

      16             MR. MORRIS:    Your --

      17             MR. RUKAVINA:    Your Honor, I apologize, you did hear

      18   that and I did make a mistake.     Yes, this is at Docket 1271.

      19        Mr. Vasek, if you'll scroll down, please.      Okay.   No, stop

      20   there.

      21   BY MR. RUKAVINA:

      22   Q    And you see on Line 16, sir, you're asked your

      23   understanding, and then you answer, "Okay."     "And in

      24   exercising those duties, the manager, under the Advisers Act,

      25   has a duty to subordinate its interests to the interests of




                                                                       Appx. 02083
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                                        Seery - Cross                       181


        1   those investors in the CLOs, correct?"      And you answer --

        2               MR. RUKAVINA:    Go down, Mr. Vasek.

        3   BY MR. RUKAVINA:

        4   Q   -- "I think -- I think, generally, when you think about

        5   the fiduciary duty, and I think that we -- I want to make sure

        6   I'm very specific about this, is that the manager has a duty,

        7   fiduciary duties -- there's a whole bunch of legal analysis of

        8   what they are, but they are significant -- that the manager

        9   owes to the investors.      And to the extent" --

      10                MR. RUKAVINA:    Scroll down, please.

      11    BY MR. RUKAVINA:

      12    Q   "And to the extent that the manager's interests would

      13    somehow be -- somehow interfere with the investors' in the

      14    CLO, he is supposed to -- he or she is supposed to subordinate

      15    those to the benefit of the investors."

      16        Did I read that accurately, Mr. Seery?

      17    A   You did.

      18    Q   Was that your testimony on October 20th last?

      19    A   Yes.

      20    Q   Okay.    Are you willing to revise your testimony from a few

      21    minutes ago that the manager does not have to subordinate its

      22    interests to the interests of the investors?

      23    A   No.    I think that's very similar.

      24    Q   Okay.

      25    A   You left out the part about garbled up top where I said it




                                                                      Appx. 02084
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                                           Seery - Cross                      182


        1   was nuanced, almost exactly what I just said.          On Line 9, I

        2   believe, on the prior page.

        3   Q      Well, I heard you say a couple of minutes ago, and maybe I

        4   misunderstood because of the WebEx nature, that the manager

        5   does not have to subordinate its interests to the interests of

        6   the investors.       Did I misheard you say that a few minutes ago?

        7   A      I think you misheard it.      I said it's a nuanced analysis,

        8   and it's -- it's pretty significant.           But the manager does

        9   subordinate his general interest and assures that the CLO or

      10    any of the investors' interests are paramount, but he doesn't

      11    subordinate every single interest.

      12           For example, and I think it's in this testimony, the

      13    manager, if the fund isn't doing well, doesn't just have to

      14    take his fee and not get paid.         He's allowed -- entitled to

      15    take his fee.       He doesn't subordinate every single interest of

      16    his.    He doesn't give up his home and his family.        So it's --

      17    it's a nuanced analysis.         The interests of the manager are

      18    subordinated to the interests of the investors and the fund.

      19    I don't -- I don't disagree with anything I said there.          I

      20    think I'm consistent.

      21    Q      Okay.

      22                   MR. RUKAVINA:    You can take that down, Mr. Vasek.

      23    BY MR. RUKAVINA:

      24    Q      So, how do you describe, sir, the fiduciary duty that the

      25    Debtor owes to the funds that it manages and to the investors




                                                                          Appx. 02085
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                                       Seery - Cross                          183


        1   in those funds?

        2               MR. MORRIS:    Objection to the -- to the extent it

        3   calls for a legal conclusion, Your Honor.        I just want to make

        4   sure we're -- we're asking a witness for his lay views.

        5               THE COURT:    Okay.    I overrule the objection.    He can

        6   answer.

        7               THE WITNESS:    Yes.   As a manager of a fund, the

        8   manager is a fiduciary to the fund, and sometimes to the

        9   investors, depending on the structure of the fund.        Some funds

      10    are purposely set up where the investors are actually debt-

      11    holders, and their interests are much more cabined by the

      12    terms of the contract, as opposed to straight equity holders.

      13    But the manager has a duty to seek to maximize value of the

      14    assets in the best interests of the underlying -- of the fund

      15    and the underlying investors, to the extent that it can,

      16    within the confines and structure of the fund.

      17    BY MR. RUKAVINA:

      18    Q   Okay.    And these duties as you just described them, they

      19    would apply to the Reorganized Debtor, correct?

      20    A   They would apply to the Reorganized Debtor to the extent

      21    that it's a manager for a fund, not, for example, with respect

      22    to necessarily interests -- the inchoate interests that we

      23    talked about earlier.

      24    Q   Sure.    And I apologize, I meant just for the fund.         And if

      25    the manager, the Reorganized Debtor, breaches those duties,




                                                                           Appx. 02086
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                                    Seery - Cross                       184


        1   then it's possible that there's going to be liability,

        2   correct?

        3   A   It's possible.

        4   Q   Okay.   Now, under the plan, the limited partnership

        5   interests in the Reorganized Debtor will be owned by the

        6   Claimant Trust, correct?

        7   A   Yes.

        8   Q   Okay.   And there's a new entity called New GP, LLC that

        9   will be created or already has been created, correct?

       10   A   Yes.

       11   Q   Okay.   And that entity will hold the general partnership

       12   interest in the Reorganized Debtor, correct?

       13   A   I believe that's correct.

       14   Q   Okay.   And that entity -- that being New GP, LLC -- will

       15   also be owned by the Claimant Trust, correct?

       16   A   Yes.

       17   Q   Okay.   Who will manage the Reorganized Debtor?

       18   A   The G -- the GP will manage the Reorganized Debtor.

       19   Q   Okay.   And will there be an officer or officers of the

       20   Reorganized Debtor, or will it all be managed through the GP?

       21   A   It'll be managed through the GP.

       22   Q   Okay.   And who will manage the GP?

       23   A   Likely, I will.

       24   Q   Okay.   That's the current plan, that you will?

       25   A   I'll be the Claimant Trustee, and I believe that I'll be




                                                                    Appx. 02087
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                                    Seery - Cross                       185


        1   responsible for any assets that remain in the Reorganized

        2   Debtor, yes.

        3   Q   Okay.   Right now, the Debtor is managing its own assets as

        4   the Debtor-in-Possession, right?

        5   A   Yes.

        6   Q   And it is managing various funds and CLOs, right?

        7   A   Yes.

        8   Q   Okay.   And right now, the Debtor is attempting to reduce

        9   some of its assets to money, like the promissory notes that

      10    you mentioned earlier that the Debtor filed suit on, correct?

      11    A   Yes.

      12    Q   And the Debtor is trying to reduce some of its assets to

      13    money, like the promissory notes, to benefit its creditors,

      14    correct?

      15    A   Yes.

      16    Q   Okay.   And correct me if I'm wrong, but the Committee has

      17    filed various claims and causes of action against Mr. Dondero,

      18    correct?

      19    A   They -- they've filed some.    I haven't -- I haven't looked

      20    at their (indecipherable) closely, but --

      21    Q   Okay.

      22    A   -- some are preserved in the case.

      23    Q   You understand --

      24    A   In the plan.   I'm sorry.

      25    Q   You understand that the Committee is doing that for the




                                                                    Appx. 02088
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                                    Seery - Cross                       186


        1   benefit of the estate, correct?

        2   A   Yes.

        3   Q   And you understand that they're also doing that for the

        4   benefit of creditors, correct?

        5   A   Yes.

        6   Q   Okay.   And under the plan, just so that I'm clear, those

        7   claims that the Committee has asserted will be preserved and

        8   will vest in either the Claimant Trust or the Litigation Sub-

        9   Trust, correct?

      10    A   Yes.

      11    Q   Okay.   And under the plan, the Reorganized Debtor would

      12    continue to manage its assets, correct?

      13    A   Yes.

      14    Q   And it would continue to manage the Funds and the CLOs,

      15    correct?

      16    A   Yes.

      17    Q   And the Claimant Trust would attempt to liquidate and

      18    distribute to its beneficiaries the assets that are

      19    transferred to it, correct?

      20    A   Yes.

      21    Q   Okay.   And you mentioned that the Claimant Trust will have

      22    an Oversight Board comprised of five members, right?

      23    A   Yes.

      24    Q   And four of them will be the people that are currently on

      25    the Committee, right?




                                                                    Appx. 02089
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                                      Seery - Cross                       187


        1   A   Yes.

        2   Q   And the fifth is David Pauker, and I think you mentioned

        3   that he's independent.    David Pauker is the fifth member,

        4   right?

        5   A   Yes.

        6   Q   Who -- who is he?

        7   A   David Pauker is a very well-known professional in the

        8   restructuring world.    He's a long-time financial advisor in --

        9   in reorganizations.    He's served on numerous boards in

       10   restructuring -- restructurings.

       11   Q   Okay.    So, other than a different corporate structure and

       12   the Claimant Trust, the monetization of assets for the benefit

       13   of creditors would continue post-confirmation as now, correct?

       14   A   I -- I believe so.    I'm not exactly sure what you asked

       15   there.

       16   Q   No one is putting in any new money under the plan, are

       17   they?

       18   A   No.    No.

       19   Q   Okay.    There's no exit financing contingent on the plan

       20   being confirmed, right?

       21   A   You mean no exit -- the plan is not contingent on exit

       22   financing.   I think you just mixed up your -- your financing

       23   and your plan.

       24   Q   I apologize.    There's no exit financing in place today,

       25   correct?




                                                                    Appx. 02090
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                                    Seery - Cross                        188


        1   A   No.

        2   Q   Okay.   So, post-confirmation, you are basically going to

        3   continue managing the CLOs and funds and trying to monetize

        4   assets for creditors the same as you are today, correct?

        5   A   Similar, yes.

        6   Q   Okay.   And just like the Committee has some oversight role

        7   in the case, the members of the Oversight Board will have some

        8   oversight role post-confirmation, correct?

        9   A   Yes.

      10    Q   Okay.   You don't need anything in the plan itself to

      11    enable you to continue managing the Debtor and its assets,

      12    correct?

      13    A   I don't need anything in the plan?

      14    Q   Correct.

      15    A   I don't -- I don't understand the question.    Can you

      16    rephrase it?

      17    Q   Well, you are managing the Debtor and its assets today,

      18    correct?

      19    A   Yes.

      20    Q   Okay.   Nothing in the plan is going to change that,

      21    correct?

      22    A   Well, it's going to change it a lot.

      23    Q   Okay.   Well, with respect to you managing the Funds and

      24    the CLOs, you don't need anything in the plan that you don't

      25    have today to keep managing them, do you?




                                                                    Appx. 02091
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                                     Seery - Cross                       189


        1   A   No.    The Debtor manages them, and I will -- I'm the CEO

        2   and I'll be in a similar position with a different team.

        3   Q   Okay.    And I believe you told me that you expect the

        4   Debtor to administer the CLOs for two or three years, maybe?

        5   A   However long it takes, but we expect -- our projections

        6   are that we'd be able to monetize most of the assets within

        7   two years.

        8   Q   Does that include the CLOs?

        9   A   It does, yes.

       10   Q   Okay.    Now, you're going to be the person for the

       11   Reorganized Debtor in charge of managing the CLOs, correct?

       12   A   I'll be the person responsible for managing the

       13   Reorganized Debtor.    The Reorganized Debtor will be the

       14   manager of the CLOs.

       15   Q   Okay.    But the buck will stop with you at the Reorganized

       16   Debtor, right?

       17   A   Yes.

       18   Q   Okay.    You're going to have a team of employees and

       19   outside professionals helping you, but ultimately, on behalf

       20   of the Reorganized Debtor, you're going to be the one in

       21   charge of managing the CLOs, correct?

       22   A   Yes.

       23   Q   Okay.    That means that you'll also be making decisions as

       24   to when to sell assets of the CLOs, correct?

       25   A   Yes.




                                                                      Appx. 02092
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                                       Seery - Cross                       190


        1   Q   Okay.     And to be clear, the CLOs, they own their own

        2   assets, whatever they are, and the Debtor just manages those

        3   assets, right?

        4   A   Correct.

        5   Q   The Debtor doesn't directly own those assets, right?

        6   A   No.

        7   Q   And currently there's more than one billion dollars in CLO

        8   assets that the Debtor manages?

        9   A   Approximately.

      10    Q   Yeah.     And the Debtor receives fees for its services,

      11    correct?

      12    A   Yes.

      13    Q   Can you generally describe how the amount of those fees is

      14    calculated and paid, if you have an understanding?

      15    A   How the fees are calculated and paid?

      16    Q   Yes, sir.

      17    A   It's a percentage of the assets.

      18    Q   Assets administered or assets sold in any given time

      19    period?

      20    A   Administered.

      21    Q   Okay.     So the sale of CLO assets does not affect the fees

      22    that the Reorganized Debtor would receive under these

      23    agreements?

      24                MR. MORRIS:    Objection to the form of the question.

      25                THE COURT:    Over --




                                                                      Appx. 02093
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                                        Seery - Cross                     191


        1               THE WITNESS:    That's not correct.

        2               THE COURT:   Overruled.

        3   BY MR. RUKAVINA:

        4   Q   Okay.    What is not correct about that?

        5   A   When you sell the assets, the amount administered shrinks,

        6   so you have less fees.

        7               MR. RUKAVINA:    Your Honor, the answer cut out at the

        8   very end.    You have less--?

        9               THE WITNESS:    Fees.

      10    BY MR. RUKAVINA:

      11    Q   Fees?    I understand.    Okay.   So are you saying that there

      12    is a disincentive to the Reorganized Debtor to sell assets in

      13    the CLOs?

      14    A   No.

      15    Q   Okay.    Is there an incentive to the Reorganized Debtor to

      16    sell assets in the CLOs?

      17    A   To do their job correctly, yes.

      18    Q   Okay.    And the Debtor wishes to assume those contracts

      19    because the Debtor will get those fees going forward and

      20    there'll be a profit, even after the expenses of servicing

      21    those contracts are taken out, correct?

      22    A   They are profitable. That's one of the reasons that we're

      23    assuming, yes.

      24    Q   Okay.    Now, over my objection, you testified that the CLOs

      25    have agreed to the assumption of these contracts, right?




                                                                      Appx. 02094
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                                      Seery - Cross                        192


        1   A   Yes.

        2   Q   Okay.     Is there anything in the record other than your

        3   testimony here today demonstrating that?

        4   A   I believe there is, yes.

        5   Q   What do you believe there is in the record other than your

        6   testimony?

        7   A   I believe we filed a notice of assumption.

        8   Q   Okay.     My question is a little bit different.   You

        9   testified that the CLOs, over my objection, have agreed to the

      10    assumption.    You did testify so, right?

      11    A   Yes.

      12    Q   Okay.     What is there in the record, sir, from the CLOs

      13    confirming that?

      14    A   You mean today's record?

      15    Q   Yes, sir.

      16    A   I'm the only one who's testified so far.

      17    Q   Okay.     Are you aware of anything in the exhibits that

      18    would confirm your testimony?

      19    A   Not that I know of.

      20    Q   Has there been an agreement with the CLOs that's been

      21    reduced to writing?

      22    A   Yes.

      23    Q   So there is a written agreement with the CLOs providing

      24    for assumption?

      25    A   Yes.




                                                                      Appx. 02095
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                                        Seery - Cross                       193


        1   Q   A signed, written agreement?

        2   A   No, it's -- it's email.

        3   Q   Okay.    When was this email agreement reached?

        4   A   Within the last couple weeks.         There's a number of back

        5   and forths where that was agreed to, and I believe we filed a

        6   notice of assumption.

        7               MR. RUKAVINA:    Mr. Vasek, if you will please pull up

        8   Mr. Seery's January 29th deposition.

        9   BY MR. RUKAVINA:

      10    Q   Mr. Seery, you remember me deposing you last Friday,

      11    correct?

      12    A   Yes.

      13    Q   And you remember me asking you if there was a written

      14    agreement in place with the CLOs?

      15    A   I don't recall specifically.

      16                MR. RUKAVINA:    Okay.   Mr. Vasek, if you would please

      17    scroll to that.    Okay.    Stop there.

      18    BY MR. RUKAVINA:

      19    Q   Sir, you'll recall I also deposed you January 20th, right?

      20    A   Yes.

      21    Q   Okay.    And do you remember that we had some discussion

      22    regarding whether the CLOs would consent or not?

      23    A   Yes.

      24    Q   Okay.    And do you remember telling me something like that

      25    like you think that they will and that's still in the works on




                                                                        Appx. 02096
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                                        Seery - Cross                        194


        1   January 20th?

        2   A   I don't recall specifically, but if you say that's what it

        3   says.

        4   Q   Okay.    Well, here I'm asking you on January 29th, Line 17,

        5   "I asked you before and you didn't have anything in writing by

        6   then, so let me ask now.      As of today, do you have anything in

        7   writing from the CLOs consenting to the assumption of those

        8   management agreements?"      I'm sorry.     Contracts.   Answer, "I

        9   don't believe that I do.      It could be on my email I opened.        I

      10    don't recall."

      11                MR. RUKAVINA:    Scroll down, Mr. Vasek.

      12    BY MR. RUKAVINA:

      13    Q   Okay.    Then I ask, "Do you have an understanding of

      14    whether those CLOs have consented in writing to the assumption

      15    of the management agreements?"      And you answer, "I believe

      16    they have.    The actual final docs haven't been completed, but

      17    I believe they have agreed in writing, yes."

      18        Then I ask --

      19                MR. RUKAVINA:    Scroll down a little bit more.

      20    BY MR. RUKAVINA:

      21    Q   I ask, "Do you expect the final docs to be completed

      22    before Tuesday's confirmation hearing?"        Answer, "I don't know

      23    whether they will be done by Tuesday."

      24        Did I read all of that correctly, sir?

      25    A   Other than your misstatement.         The word was "unopened."




                                                                         Appx. 02097
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                                          Seery - Cross                        195


        1   Q     Thank you.    So, let me ask you again today.     As of today,

        2   is there a written agreement that has been signed by the

        3   parties providing for the assumption of the CLO agreements?

        4   A     When phrased the way you did, is it signed by the parties,

        5   no.

        6   Q     Okay.

        7                 MR. RUKAVINA:    You can take that down, Mr. Vasek.

        8   BY MR. RUKAVINA:

        9   Q     I think -- I'm not sure if you quantified this earlier,

      10    but it might help.      I believe that the Reorganized Debtor

      11    projects that it will generate revenue of $8.269 million post-

      12    reorganization from managing the CLO contracts, correct?

      13    A     It's in that neighborhood.       I did not testify to that

      14    earlier.

      15    Q     That's what I meant.       And when I asked you at deposition,

      16    you were able to give me an estimate of how much it would cost

      17    to generate that revenue, correct?

      18    A     I was not?

      19    Q     You were?    I'm sorry.     Let me --

      20    A     Did you say I wasn't or I was?

      21    Q     Let me -- I apologize.       Let me ask again.   I talk too fast

      22    and I have an accent.         You have been able to give an estimate

      23    of how much the Reorganized Debtor will expend to generate

      24    that revenue, correct?

      25    A     Yes.




                                                                         Appx. 02098
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                                     Seery - Cross                       196


        1   Q   Okay.   Do you remember what your estimate is?

        2   A   I -- I think it was around $2 million a year.    It was a

        3   portion of our employees plus the contracts.

        4   Q   Okay.   So, over the life of the projection at $8.2

        5   million, do you remember that you projected costs of about

        6   $3.5 to $4 million to generate that revenue?

        7   A   If -- if you are representing that to me, I'd accept it.

        8   Yes, that sounds about right.

        9   Q   Well, suffice it to say you're projecting at least $4

      10    million in net profit over the next two years for the

      11    Reorganized Debtor from managing the CLO agreements, correct?

      12    A   Net profit is not a fair, fair way to analyze it, no.

      13    Q   Okay.   Are you projecting any profit for the Reorganized

      14    Debtor from managing the CLO agreements post-confirmation?

      15    A   Yes.

      16    Q   Okay.   Do you have an estimate of what that profit is?

      17    A   General overview are the contracts are profitable to about

      18    the tune of $4 million over that period.

      19    Q   Okay.   Thank you.   If the Reorganized Debtor makes a

      20    profit post-confirmation, is it fair to say that that would

      21    then be dividended up or distributed up to the partners,

      22    ultimately to the Claimant Trust?

      23    A   I don't think that's fair to say, no.

      24    Q   Okay.   So, if the Reorganized Debtor makes a profit post-

      25    confirmation, where does that profit go?




                                                                    Appx. 02099
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                                        Seery - Cross                     197


        1   A   The Reorganized Debtor -- what kind of profit?      I don't

        2   understand your question.

        3   Q   Okay.    I apologize if I'm being too simplistic about it.

        4   If a business, after it takes account of its expenses to

        5   generate revenue, has any money left over, would that be

        6   profit to you?

        7   A   Yes.

        8   Q   Okay.    Do you think that the Reorganized Debtor, post-

        9   confirmation, will make a profit?

      10    A   I don't know.

      11    Q   Okay.    Do you think that the Reorganized Debtor, post-

      12    confirmation, will lose money?

      13    A   I think there will be costs, and the costs will exceed the

      14    -- the amount that it generates on an income basis, yes.

      15    Q   Okay.    Thank you.

      16                MR. RUKAVINA:    Mr. Vasek, if you'll please pull up

      17    the plan, the injunctions, and releases.      9F.

      18        (Pause.)

      19    BY MR. RUKAVINA:

      20    Q   I apologize, Mr. Seery.

      21                MR. RUKAVINA:    So, Mr. Vasek, if you'll go to the

      22    bottom of the Page 51.      Stop there.

      23    BY MR. RUKAVINA:

      24    Q   So, I'm going to read just the first couple sentences

      25    here, Mr. Seery, if you'll read it along with me.      Subject --




                                                                      Appx. 02100
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                                     Seery - Cross                       198


       1   this is the bottom paragraph:    Subject in all respects to

       2   Article 12(b), no enjoined party may commence or pursue a

       3   claim or cause of action of any kind against any protected

       4   party that arose or arises from or is related to the Chapter

       5   11 case, the negotiation of the plan, the administration of

       6   the plan, or property to be distributed under the plan, the

       7   wind-down of the business of the Debtor or Reorganized Debtor.

       8       I'd like to stop there.     Do you see that clause there, Mr.

       9   Seery, talking about the wind-down of the business of the

      10   Debtor or Reorganized Debtor?    Do you see that, sir?

      11   A   Yes.

      12   Q   Okay.     Do I understand correctly that this provision we've

      13   just read means that, upon the assumption of these CLO

      14   management agreements, if the counterparties to those

      15   agreements want to take any action against the Reorganized

      16   Debtor, they first have to go through this channeling

      17   injunction?

      18   A   I believe that's what it says, yes.

      19   Q   Okay.     Because the wind-down of the business of the

      20   Reorganized Debtor will include the management of these CLO

      21   portfolio management agreements, correct?

      22   A   Yes.

      23   Q   Okay.     As well as the management of various funds that the

      24   Debtor owns, correct?

      25   A   Yes.




                                                                    Appx. 02101
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                                      Seery - Cross                         199


        1   Q   Okay.    And would you agree with me that the new general

        2   partner, New GP, LLC, is also a protected party under the

        3   plan?

        4   A   I assume it is.    I don't recall specifically.

        5   Q   I believe you discussed to some degree postpetition

        6   losses.    I'd like to visit a little bit about those.       Since

        7   January 9th, 2020, Mr. Dondero was not an officer of the

        8   Debtor, correct?

        9   A   Correct.

      10    Q   And since January 9th, 2020, he was no longer a director

      11    of Strand, correct?

      12    A   That's correct.

      13    Q   Since January 9th, 2020, until he was asked to resign, he

      14    was an employee, correct?

      15    A   Yes.

      16    Q   And about -- I'm trying to remember.       About when did he

      17    resign?    October something of 2020?     Do you remember?

      18    A   I don't recall.

      19    Q   Okay.    Do you recall if it was in October 2020?

      20    A   It was in the fall.

      21    Q   Okay.    And he resigned because the independent board asked

      22    him to resign, correct?

      23    A   Yes.

      24    Q   Okay.    And you mentioned that the estate has had a

      25    postpetition drop in the value of its assets and the assets




                                                                         Appx. 02102
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                                     Seery - Cross                      200


        1   that it manages.   Right?

        2   A   I believe I went through the estate's assets.    The only

        3   asset that wasn't a direct estate asset was the hundred

        4   percent control of Select Equity Fund.    I didn't talk about

        5   the Fund assets.

        6   Q   Okay.   Do you recall that the disclosure statement that

        7   the Court approved states that, postpetition, there was a drop

        8   from approximately $566 million to $328 million in the value

        9   of Debtor assets and assets under Debtor management?

      10    A   Yes.    That's the $200 million I walked through earlier.

      11    Q   Okay.   And I believe you mentioned some of it was due to

      12    the pandemic, right?

      13    A   It certainly impacted the markets.    The pandemic didn't

      14    cause a specific loss.   It impacted the markets and the

      15    ability to work within those markets.

      16    Q   But you also believe that Mr. Dondero was responsible for

      17    something like a hundred million dollars of these losses,

      18    right?

      19    A   Probably more.

      20    Q   Okay.   Mr. Dondero is not being released or exculpated for

      21    that, is he?

      22    A   No.

      23    Q   And while Mr. Dondero was an employee during the period of

      24    these losses, he answered to you as CEO and CRO, correct?

      25    A   Not during that period.    I wasn't (audio gap) until later.




                                                                    Appx. 02103
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                                      Seery - Cross                        201


        1   Q   I'm sorry.     As of January 9th, 2020, were you the CEO of

        2   the Debtor?

        3   A   No.

        4   Q   When did you become the CEO of the Debtor?

        5   A   I believe the order was July 9th, retroactive to a date in

        6   March.

        7   Q   July 9th, 2020?

        8   A   Correct.

        9   Q   Okay.     And when did you become the CRO of the Debtor?

      10    A   At the same time.

      11    Q   Okay.     So, between January and July 2020, you were one of

      12    the independent directors, correct?

      13    A   Yes.

      14    Q   Okay.     So, during that period of time, would Mr. Dondero

      15    have answered to that independent board?

      16    A   Yes.

      17    Q   Okay.     Now, if someone alleges that that independent board

      18    has any liability on account of Mr. Dondero's losses, that's

      19    released under this plan, isn't it?

      20    A   Yes.

      21    Q   Okay.     And if someone alleges that Strand has any

      22    liability on account of Mr. Dondero's losses, that's released

      23    under this plan, correct?

      24    A   Yes.

      25    Q   Okay.     And if someone believes that the Debtor -- that the




                                                                       Appx. 02104
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                                      Seery - Cross                       202


        1   way that the Debtor has managed the CLOs or its funds

        2   postpetition gives rise to a cause of action in negligence,

        3   that's also released and exculpated in the plan, correct?

        4   A   I believe it would be.    I'm not positive, but I believe it

        5   would be.

        6   Q   Well, let's be clear.    The plan does not release or

        7   exculpate you or Strand or the board for willful misconduct,

        8   gross negligence, fraud, or criminal conduct, correct?

        9   A   No, it does not.

      10    Q   Okay.     And I'm not, just so we're clear, I'm not alleging

      11    that, okay?    So I want the judge to understand I'm not

      12    alleging that.    But the plan does release and exculpate for

      13    negligence, right?

      14    A   Yes.

      15    Q   Okay.     Where do you have an understanding a cause of

      16    action for breach of fiduciary duty lies on the spectrum of

      17    negligence all the way to criminal conduct?

      18    A   It's -- it's not -- generally not criminal, although I

      19    suppose that breach of fiduciary duty could be criminal.

      20    Typically, it's negligence, and that you would breach a duty

      21    for either duty of care, duty of loyalty.    But it could slide

      22    to willful.    And probably most of the instances where they

      23    come up are where someone has done something willfully or

      24    grossly negligent.

      25    Q   Okay.     But -- and I would agree with you.   But there are




                                                                     Appx. 02105
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                                    Seery - Cross                       203


        1   certain breaches of fiduciary duty that are possible based on

        2   simple negligence, correct?

        3   A   They are, and in these instances, they don't -- they don't

        4   rise to actionable claims because they're indemnified by the

        5   funds.

        6   Q   Okay.   You have to explain that to me.   So, the negligence

        7   claim is not actionable because someone is indemnifying it?

        8   A   Typically, there's no way to recover because it's

        9   indemnified by the fund that the investor might be in.     If it

      10    goes beyond that, then it wouldn't be.

      11    Q   Okay.   So there are potential negligence breach of

      12    fiduciary duty claims that might be subject to these

      13    exculpations and releases that would not be indemnified?

      14    A   Gross negligence and willful misconduct, certainly.

      15    Q   Okay.   Now, post-confirmation, post-confirmation, if the

      16    Debtor, or the Reorganized Debtor, rather, engages in

      17    negligence or any actionable conduct, that's when the

      18    channeling injunction comes into play, right?

      19    A   I don't quite understand your question.

      20    Q   Okay.

      21    A   Can you repeat that?

      22    Q   Sure.   To your understanding, does the channeling

      23    injunction we're looking at right now -- and you can read it

      24    if you need to -- does it apply to purely post-confirmation

      25    alleged causes of action?




                                                                     Appx. 02106
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                                    Seery - Cross                       204


        1   A   It does apply to those, yes.

        2   Q   Okay.   And it says that the Bankruptcy Court will have

        3   sole and exclusive jurisdiction to determine whether a claim

        4   or cause of action is colorable, and, only to the extent

        5   legally permissible and as provided for in Article 11, shall

        6   have jurisdiction to adjudicate the underlying colorable claim

        7   or cause of action.

        8       Do you see that, sir?

        9   A   I do.

      10    Q   Okay.   And this -- the Bankruptcy Court's exclusive

      11    jurisdiction here, that would continue after confirmation?       Is

      12    that the intent behind the plan?

      13    A   It has -- it says what it says.     Will have the sole and

      14    exclusive jurisdiction to determine whether a claim is

      15    colorable, and then, to the extent permissible, it'll have

      16    jurisdiction to adjudicate.

      17    Q   Okay.   Nothing in this plan limits the period of the

      18    Bankruptcy Court's inquiry to the pre-confirmation time frame,

      19    correct?

      20    A   I don't believe it does, no.

      21    Q   Okay.   Have you taken into account the potential that this

      22    bankruptcy case will eventually be closed with a final decree?

      23    A   Have I taken that into account?

      24    Q   Well, do you know what a final decree in Chapter 11 is?

      25    A   I do.




                                                                    Appx. 02107
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                                        Seery - Cross                       205


       1   Q    Okay.    So, help me understand.      If there's a final decree

       2   and the bankruptcy case is closed, then who do I go to,

       3   because the Bankruptcy Court has exclusive jurisdiction, to

       4   get this clearing injunction cleared?

       5                MR. MORRIS:    Objection to the form of the question,

       6   Your Honor.

       7                THE COURT:    Sustained.    Rephrase.

       8                MR. RUKAVINA:    Okay.

       9   BY MR. RUKAVINA:

      10   Q    Is it the plan's intent, Mr. Seery, that this channeling

      11   injunction that we just looked at would continue to apply even

      12   after a point in time in which the bankruptcy case is closed?

      13   A    I don't believe so.

      14                MR. RUKAVINA:    Again, Your Honor, someone -- I heard

      15   someone's phone right when he answered, and I didn't hear his

      16   answer, if he could please re-answer.

      17                THE WITNESS:    I don't -- I don't think if the case is

      18   closed that's the intention.

      19   BY MR. RUKAVINA:

      20   Q    Okay.    What about if there's a final decree entered?

      21                MR. MORRIS:    Objection, Your Honor.   You know, the

      22   document kind of speaks for itself.

      23                THE COURT:     Overruled.   He can answer if he knows.

      24                THE WITNESS:     Yeah.   I don't -- I don't -- I'm not

      25   making a distinction between the case being closed and the




                                                                        Appx. 02108
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                                        Seery - Cross                      206


        1   final decree.    I believe in both instances they'll be pretty

        2   close to the same time and we'll make a judgment then as to

        3   how to close the case in accordance --

        4   Q   Okay.

        5   A   -- with the rules.

        6               MR. RUKAVINA:    Mr. Vasek, if you'll please scroll up

        7   to the beginning of this injunction.        A little bit higher.

        8   Right there.    Right there.

        9   BY MR. RUKAVINA:

       10   Q   The very first clause, Mr. Seery, if you'll read with me,

       11   says, Upon entry of the confirmation order -- pardon me --

       12   all enjoined parties are and shall be permanently enjoined on

       13   and after the effective date from taking any actions to

       14   interfere with the implementation or consummation of the

       15   plan.

       16       Do you see that, sir?

       17   A   I do, yes.

       18   Q   What does interfering with the implementation or

       19   consummation of the plan mean?

       20   A   It means in some way taking actions to upset, distract,

       21   stop, or otherwise prohibit or hurt the estate from

       22   implementing or consummating the plan.

       23   Q   Okay.    And is that intended -- is that clause we just

       24   read and you described intended to be very broad?

       25   A   I -- I think it's -- if the words have meaning, yes, that




                                                                       Appx. 02109
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                                        Seery - Cross                     207


       1   it should -- it's pretty broad.

       2   Q    Okay.    Is the Debtor not able to state with more

       3   specificity what it would believe interference with the

       4   implementation or consummation of the plan would mean?

       5                MR. MORRIS:    Objection to the form of the question.

       6                THE COURT:    Sustained.

       7                THE WITNESS:    I think it's -- I think it's --

       8                THE COURT:     Sustained.

       9                MR. RUKAVINA:     Okay.

      10                THE WITNESS:     I'm sorry.

      11   BY MR. RUKAVINA:

      12   Q    Well, you just gave us four or five examples of what

      13   interfering with the implementation or consummation of the

      14   plan might be.     Why isn't that, those four or five examples,

      15   why aren't they listed here?

      16                MR. MORRIS:    Object to the form of the question.

      17                MR. RUKAVINA:     Well, Your Honor, I'll withdraw it

      18   and I'll argue this at closing argument.

      19                THE COURT:     Okay.

      20   BY MR. RUKAVINA:

      21   Q    When did the Committee agree to you serving as the

      22   Claimant Trustee?

      23   A    In the late -- in the late fall.        I've been contemplated

      24   to be the Claimant Trustee.         I'm willing to take -- if we can

      25   come to an agreement.        They have their options open if we




                                                                       Appx. 02110
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                                        Seery - Cross                      208


        1   can't come to an agreement on compensation.

        2   Q      Okay.   And since the Committee agreed to you being the

        3   Claimant Trustee, you have reached a resolution with UBS,

        4   correct?

        5   A      I don't think so.    I think that that was before UBS, the

        6   UBS resolution was reached.

        7   Q      I'm sorry.   When did you reach the UBS resolution in

        8   principle with UBS?

        9   A      I don't recall the exact date, but I do recall specific

       10   conversations where some of the Committee members were

       11   supportive.     I didn't know that UBS wasn't, but I assumed

       12   that some meant not all.      And that was UBS, because I don't

       13   think we had a deal yet.

       14   Q      Well, let me ask the question in a little bit of a

       15   different way.      Whenever the Debtor reached the agreement in

       16   principle with UBS that your counsel described this morning,

       17   whenever that point in time was, the Committee had already

       18   agreed before that point in time to you serving as Claimant

       19   Trustee, correct?

       20   A      I believe so, yes.

       21   Q      And is the answer the same with respect to the

       22   HarbourVest settlement?

       23   A      I believe so.   With HarbourVest, I believe so as well,

       24   yes.

       25   Q      What about the Acis settlement?




                                                                      Appx. 02111
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                                       Seery - Cross                        209


        1   A   I don't believe so.      I think Acis came first.     I don't

        2   think we settled on an agreement on Claimant Trustee until

        3   after the Acis -- certainly after the Acis agreement, maybe

        4   not after the Acis 9019.      I just don't recall.

        5   Q   Okay.     And the million-dollar cutoff for convenience

        6   class creditors, that number was a negotiated amount with the

        7   Committee, correct?

        8   A   Yes.

        9   Q   Okay.    Thank you, Mr. Seery.

       10              MR. RUKAVINA:    Your Honor, I'll pass the witness.

       11               THE COURT:    All right.   Just for purposes of time,

       12   it's 3:00 o'clock, so you went 48 minutes.

       13       Who's next?

       14               MR. DRAPER:    Mr. Taylor is.

       15              THE COURT:     All right.   Mr. Taylor, go ahead.

       16               MR. TAYLOR:    Yes, Your Honor.    At this time, what we

       17   would like the Court to do, we are asking for a brief

       18   continuance and to go into tomorrow, and there is a reason

       19   for that and I would like to explain it.

       20       Mr. Dondero has communicated an offer which we believe to

       21   be a higher and better offer than what the plan analysis,

       22   even in its most recent iteration that was just changed last

       23   night, will yield significantly higher recoveries.         Those are

       24   guaranteed recoveries.      There is a cash component to that

       25   offer.   There are some debt components, but they would be




                                                                        Appx. 02112
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                                     Seery - Cross                        210


        1   secured by substantially all of the assets of Highland.

        2       We believe it's a higher and better offer, that the

        3   creditors and the Creditors' Committee, Mr. Seery, who

        4   obviously has been testifying all day on the stand, may have

        5   heard some -- some inkling of it via a text or an email he

        6   might have been able to glance at, or maybe not, because he's

        7   been too busy, and that's understandable.

        8       But we do believe it is a material offer.       It is a real

        9   offer.   And for that reason, we would like to request the

       10   Court's indulgence.    This has gone rather fast.     We believe

       11   that in the event that it does not gain any traction, then we

       12   could complete this confirmation hearing tomorrow, or it's

       13   more than likely that we could.      And therefore we would

       14   request a continuance until tomorrow morning beginning at

       15   9:30 so all the parties can confer, consider that offer, and

       16   see if it gains any traction.

       17             THE COURT:   All right.

       18             MR. POMERANTZ:   Your -- Your --

       19             THE COURT:   Go ahead.     Mr. Morris?   Or who is going

       20   to respond --

       21             MR. POMERANTZ:   Your --

       22             THE COURT:   -- to that?

       23             MR. POMERANTZ:   Your Honor, this is Jeff --

       24             THE COURT:   Mr. Pomerantz?

       25             MR. POMERANTZ:   This is Jeff Pomerantz. I will




                                                                      Appx. 02113
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                                        Seery - Cross                        211


        1   respond.

        2       I think right at the beginning of the hearing, or

        3   slightly after, I did receive an email from Michael Lynn

        4   extending this offer.       The email was also addressed to Mr.

        5   Clemente.    As we have told Your Honor before, if the Committee

        6   is interested in continuing negotiations with Mr. Dondero, far

        7   be it from us to stand in the way.

        8       So what I would really ask is for Mr. Clemente to respond

        9   to think if -- to see if he thinks that this offer is worthy.

       10   If it's worthy and the Committee wants to consider it, we

       11   would by all means support a continuance.         If it is not, I

       12   think this is just a last-minute delay without a reason.         And

       13   if there is no likelihood of that being acceptable or the

       14   Committee wanting to engage, we would want to continue on.

       15               THE COURT:   All right.     Mr. Clemente, what say you?

       16               MR. CLEMENTE:    Yes.    Yes, Your Honor.   Matt Clemente

       17   on behalf of the Committee.

       18       Obviously, I haven't had a chance to confer with my

       19   Committee members, but there's no reason to not continue the

       20   confirmation hearing today.         I will be able to confer with

       21   them over email, et cetera, this evening.        There's simply no

       22   reason to not continue going forward at this particular point

       23   in time, Your Honor.

       24       So, although I haven't conferred with the Committee

       25   members, that would be what I would recommend to them.         And so




                                                                         Appx. 02114
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                                       Seery - Cross                        212


        1   my view, the Committee's view, I believe, would be let's

        2   continue forward and we'll discuss Mr. Dondero's proposal that

        3   I know came across after opening statements this morning, you

        4   know, in due course.      But I do not believe that a continuance

        5   here is necessary or appropriate.

        6               THE COURT:    All right.   Mr. Taylor, that request is

        7   denied, so you may cross-examine.

        8               MR. TAYLOR:    Yes.   (Pause.)   I'm sorry, Your Honor.

        9   I have a couple people that are in my ear.        But yes, I'm ready

      10    to proceed.

      11                THE COURT:    Okay.

      12                               CROSS-EXAMINATION

      13    BY MR. TAYLOR:

      14    Q   Mr. Seery, I believe you can probably largely testify from

      15    your memory of the various iterations of the plan analysis

      16    versus the liquidation analysis.       But to the extent that

      17    you're unable to, we can certainly pull those up.

      18        Mr. Seery, you put forth or Highland put forth on November

      19    24th of 2020 a plan analysis versus a liquidation analysis,

      20    correct?

      21    A   I think that's the approximate date, yes.

      22    Q   Okay.     And do you recall what the plan analysis predicted

      23    the recovery to general unsecured creditors in Class 8 would

      24    be at that time?

      25    A   I believe it was in the 80s.




                                                                        Appx. 02115
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                                       Seery - Cross                         213


        1   Q   And approximately 87.44 percent?

        2   A   That sounds close, yes.

        3   Q   Okay.    And then just right before -- the evening before

        4   your deposition that took place on January 29th, I believe a

        5   revised plan analysis versus a liquidation analysis was

        6   provided.    Do you remember that?

        7   A   Yes.

        8   Q   Okay.    And what was the predicted recovery to general

        9   unsecured creditors under that analysis?

       10   A   I believe that was --

       11               MR. MORRIS:    Object to the form of the question.     I

       12   just want to make sure that we're talking about the -- and

       13   maybe I misunderstood the question -- plan versus liquidation.

       14               THE COURT:    Okay.   Could you restate --

       15               MR. TAYLOR:    I said plan analysis.

       16               THE COURT:    Plan.

       17               THE WITNESS:    I believe that that initially was in

       18   the -- in the high 60s.

       19   BY MR. TAYLOR:

       20   Q   It was --

       21   A   Might have been --

       22   Q   -- 62.14 percent; is that correct?

       23   A   Okay.    Yeah.    That sounds -- I'll take your

       24   representation.      That's fine.

       25   Q   Okay.    And going back to the November 28th liquidation




                                                                       Appx. 02116
Case 3:21-cv-00881-X Document 138-73 Filed 07/14/23   Page 215 of 296 PageID 10698



                                     Seery - Cross                     214


       1   analysis, what did Highland believe that creditors in Class 8

       2   would get under a liquidation analysis?

       3   A    I don't recall the -- if you just tell me, I'll -- I'll --

       4   if you're reading it, I'll agree with -- because I -- from my

       5   memory.

       6   Q    62.6 percent?   Is that correct?

       7   A    That sounds about right.

       8   Q    You would agree with me, would you not, that 62.6 cents on

       9   the dollar is higher than 62.14 cents, correct?

      10   A    Yes.

      11   Q    And so at least comparing the January 28th versus -- of

      12   2021 versus the November 24th of 2020, the liquidation

      13   analysis actually ended up being higher than the plan

      14   analysis, correct?

      15   A    Yes.

      16   Q    But there was -- there was some changes also in the plan

      17   analysis.    I'm sorry.   There were some subsequent changes that

      18   were done over the weekend that were provided on February 1st.

      19   Is that correct?

      20   A    Yes.

      21   Q    Okay.   And what were -- give us an overview of what those

      22   changes were.

      23   A    What are -- what are you comparing?    What would you like

      24   me to compare?

      25   Q    Okay.   The January to February plan analysis, what were




                                                                    Appx. 02117
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                                      Seery - Cross                       215


        1   the changes?    Why did it go up from 62.6 to 71.3?

        2   A   The main changes, as we discussed earlier, and maybe the

        3   only major change, was the UBS claim amount, which went down

        4   significantly from the earlier iteration.     And then there was

        5   the small change related to the RCP recovery, which was a

        6   double-count.

        7   Q   Okay.    And you talked about earlier about what assumptions

        8   went into these analyses, correct?

        9   A   Yes.

      10    Q   And you said these assumptions were always done after

      11    careful consideration.     Is that a correct summation of what

      12    you said?

      13    A   I think that's fair.

      14    Q   Okay.

      15                MR. TAYLOR:   Mr. Assink, could you pull up the

      16    November assumptions?

      17    BY MR. TAYLOR:

      18    Q   I believe that's coming up, Mr. Seery.     The Court.

      19        (Pause.)

      20                MR. TAYLOR:   And go down one page, please, Mr.

      21    Assink.    Roll up.   The Assumption L.

      22    BY MR. TAYLOR:

      23    Q   So, these are the November assumptions, correct, Mr.

      24    Seery?

      25    A   I believe so, yes.




                                                                     Appx. 02118
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                                       Seery - Cross                      216


        1   Q   Okay.    And what was the assumption that you made after

        2   careful consideration regarding the claims for UBS and

        3   HarbourVest?

        4   A   The plan assumes zero, that was L, for those claims.

        5   Q   Okay.    And ultimately what did -- and I believe you just

        6   announced this today and made this public today -- what is

        7   UBS's claim?    What are you proposing that it be allowed at?

        8   A   $50 million in Class 8, and then they have a junior claim

        9   as well.

       10   Q   Okay.    And what about HarbourVest?    What kind of allowed

       11   claim did they end up with?

       12   A   $45 million in Class 8 and a $35 million junior claim.

       13   Q   So your well-reasoned assumption, carefully considered,

       14   was off by $95 million; is that correct?

       15               MR. MORRIS:    Objection to the form of the question.

       16               THE COURT:    Overruled.

       17               THE WITNESS:    The difference between zero and those

       18   numbers is $95 million, yes.

       19   BY MR. TAYLOR:

       20   Q   You solicited creditors of the Highland estate based upon

       21   the November plan analysis and liquidation analysis that was

       22   provided and that we're looking at right now, correct?

       23   A   It was one of the bases, yes.      It's the plan is what --

       24   what we solicited votes for, not the projections.

       25   Q   But this was included within the disclosure statement; is




                                                                      Appx. 02119
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                                      Seery - Cross                      217


       1   that correct?

       2   A    It's one of the bases.    It was included, yes.

       3   Q    And this is the bases by which you believe that the best

       4   interests of the creditors have been met better than a Chapter

       5   7 liquidation, correct?

       6   A    I believe this evidences that the best interest test would

       7   be satisfied, yes.

       8   Q    And so the record is very clear, for this Court and

       9   anybody looking at the record, no solicitation was done of the

      10   creditor body after the disclosure statement was sent out?      No

      11   updates were sent, correct?

      12   A    Updated projections were filed, but no solicitation was --

      13   was -- there was only one solicitation.    We did not resolicit.

      14   That's correct.

      15   Q    Okay.   Mr. Seery, how much are you -- after this plan, or

      16   if this plan is confirmed, how much are you going to be paid

      17   per month to be the Trustee?

      18   A    For the Trustee role, $150,000 per month is the base.

      19   Q    It's a base amount?    On top of that, you're going to

      20   receive some sort of bonus amount, correct?

      21   A    There's two bonuses.    There's a bonus for the bankruptcy

      22   case, which I'd need Court approval for, and then I'm going to

      23   seek a bonus for the Trustee work, which would be a

      24   combination of myself and the team for a performance bonus.

      25   That's to be negotiated.




                                                                    Appx. 02120
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                                      Seery - Cross                      218


        1       To be fair, the Committee or the Oversight Group may not

        2   agree to any change, in which case we would not have an

        3   agreement.

        4   Q   And what would happen if you don't come to an agreement,

        5   Mr. Seery?

        6   A   They would have to get a different Plan Trustee.

        7   Q   Okay.    So it's certainly going to have to be greater than

        8   zero, correct?

        9   A   Typically.

      10    Q   Is it going to be in the nature of three or four percent

      11    of the sales proceeds, or have you considered that?

      12    A   Oh, I'm sorry.    Yeah, you mean the bonus?   No.   I've been

      13    thinking -- my apologies.    I misunderstood.   I thought you

      14    meant any number.    I haven't -- I haven't had negotiation with

      15    them.   I'm thinking about looking at the full recovery of the

      16    team -- for the team, looking at expected performance numbers,

      17    and then trying to negotiate a structure of bonus compensation

      18    that would be payable to the whole team, and then allocated by

      19    the CEO (garbled) which would be made.

      20    Q   When predicting the expenses of the Trust going forward in

      21    your projections, did you build in an amount for a bonus fee?

      22    A   No.   It wouldn't be part of the expenses.    It would come

      23    out at the end.

      24    Q   Okay.    So those additional expenses are not shown in the

      25    plan analysis, correct?




                                                                     Appx. 02121
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                                      Seery - Cross                      219


        1   A   No, they're not.     It's just not going to be an expense.

        2   It'll be a -- as an operating expense.     It'll be an

        3   expenditure at the end out of distributions.

        4   Q   Okay.    And did you subtract those from the distributions?

        5   A   No.

        6   Q   Okay.    A Chapter 7 trustee is not going to charge $150,000

        7   or more to monetize these assets, is he?

        8   A   No.

        9   Q   Have you priced how much D&O insurance is going to be on a

      10    go-forward basis post-confirmation?

      11    A   I'm sorry.   I couldn't -- couldn't hear you.

      12    Q   Sorry.    Let me get closer to my mic.   Have you priced what

      13    D&O insurance is going to run the Trust on a go-forward basis

      14    post-confirmation?

      15    A   Yes.

      16    Q   Okay.    And what are you projecting that to run?

      17    A   About $3-1/2 million.

      18    Q   And is that per annum for over the two-year life of this

      19    plan?

      20    A   Well, it's the two-year projection period, not life.     But

      21    I expect that that's for the two-year projection period.

      22    Q   Okay.    So approximately one point -- I'm sorry, you said

      23    $3.5 million, correct?

      24    A   Yes.

      25    Q   Okay.    So, $1.75 million per year?




                                                                     Appx. 02122
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                                     Seery - Cross                      220


        1   A   Yes.

        2   Q   On top of the minimum $1.8 million per year that you're

        3   going to be paid, correct?

        4   A   Well, that's -- that's the base compensation.    But, again,

        5   to be fair to the Oversight Committee, they haven't approved

        6   it yet.    So the Committee, the Committee reserves their rights

        7   to negotiate a total package.

        8   Q   And there's going to be a Litigation Trustee, correct?

        9   A   Yes.

      10    Q   And that Litigation Trustee is going to be paid some

      11    amount of compensation, correct?

      12    A   Yes.

      13    Q   That has not been negotiated yet, correct?

      14    A   No, I believe -- I believe the base piece has.    But his --

      15    I don't know what the contingency fee or if that's been

      16    negotiated yet.    I don't know.

      17    Q   And what is the base fee for the Litigation Trustee?

      18    A   My recollection is it was about $250,000 a year, some

      19    number in that area.

      20    Q   Thank you.    So, at this point, over the two-year period,

      21    we're looking at approximately $3.6 million to you, $3.5

      22    million to the D&O insurance, and approximately $500,000 base

      23    fee to the Litigation Trustee, plus a contingency.    Is that

      24    correct?

      25    A   That's probably real close, yes.




                                                                    Appx. 02123
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                                      Seery - Cross                      221


        1   Q   Okay.    And how about U.S. Trustee fees?   You've estimated

        2   of how much those are going to be during the two-year period,

        3   correct?

        4   A   They're built into the plan up 'til -- I think it's only

        5   up until the actual effective date, but I don't recall the

        6   specifics.

        7   Q   Okay.    And U.S. Trustee fees, the case is going to stay

        8   open and those are going to continue to have to be paid, even

        9   after confirmation, correct?

       10   A   Yes.

       11   Q   Okay.    And do you have an estimate of how much those are

       12   going to run per annum or over that two-year period?

       13   A   I don't recall, no.

       14   Q   Okay.    Well, they're provided within your projections,

       15   correct?

       16   A   Yes.

       17   Q   Okay.    A Chapter 7 trustee would not have to incur any of

       18   these costs, would they?

       19   A   I don't think they'll have to incur Chapter -- U.S.

       20   Trustee fees.   I don't know whether they would bring on a

       21   litigation trustee or not.    I would assume, since there's --

       22   appear to be valuable claims, they probably would, but perhaps

       23   they would do it themselves.    So I don't know the specifics of

       24   what they would do.

       25   Q   In preparing your liquidation analysis, did you ask




                                                                    Appx. 02124
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                                     Seery - Cross                        222


        1   Pachulski if they would be willing to work for a Chapter 7

        2   trustee if one was appointed?

        3   A   I didn't specifically ask, no.

        4   Q   Did you ask DIS, your, for lack of a better word,

        5   financial advisors in this case, if they would be willing to

        6   work with a Chapter 7 trustee?

        7   A   DSI.    No, I did not specifically ask them.

        8   Q   Okay.   All right.   Any of the accountants that you're

        9   working with, did you ask them if they would be willing to

       10   work with a Chapter 7 trustee?

       11   A   I didn't specifically ask them, no.

       12   Q   Okay.   The proposed plan has no requirements that you

       13   notice any potential sale of either Highland assets or

       14   Highland subsidiary assets; is that correct?

       15   A   Do you mean after the effective date?

       16   Q   Yes.

       17   A   No, it does not.

       18   Q   In the SSP sale, which is a subsidiary of Trussway, which

       19   is a subsidiary of Highland, or actually it's a sub of a sub

       20   of Highland, you conducted the sale of SSP, correct?

       21   A   The team did, yes.    I was part.

       22   Q   All right.   That was not noticed to the creditor body; is

       23   that correct?

       24   A   That's correct.

       25   Q   And it is the Debtor's and your position that no notice




                                                                    Appx. 02125
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                                      Seery - Cross                     223


        1   was required because this was a sub of a sub and therefore

        2   this was in the ordinary course?

        3   A   Not exactly, no.

        4   Q   Okay.   Then what is your position?

        5   A   It was in the ordinary course.    It was -- I believe it's a

        6   sub of a sub of a sub, and a significant portion of the

        7   interests are owned by third parties.

        8   Q   It is possible, is it not, that had you noticed this to

        9   the larger creditor body, that you might have engendered a

      10    competitive bidding situation that might have reached a higher

      11    return for investors, correct?

      12    A   The same possibility is it could have gone lower.

      13    Q   But it is possible, correct?

      14    A   Certainly possible.

      15    Q   In fact, there is normally requirements under the

      16    Bankruptcy Code and the Rules that asset sales are noticed out

      17    to the creditor body, correct?

      18    A   Asset sales that -- property of the estate, yes.     Other

      19    than in the ordinary course, of course.

      20    Q   I believe you have described Mr. Dondero as being very

      21    litigious within this case; is that correct?

      22    A   I believe so, yes.

      23    Q   Okay.   Did Mr. Dondero initiate any litigation in this

      24    case prior to September 2020?

      25    A   Prior to September?    I don't believe so.   I don't know




                                                                    Appx. 02126
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                                      Seery - Cross                         224


       1   when he filed the claim from NexPoint.        It certainly indicated

       2   that -- I believe it was from NexPoint.        My memory is slightly

       3   off here.    He filed a claim in -- administrative claim, which

       4   effectively is like you're bringing a complaint, against HCMLP

       5   for the management of Multi-Strat and the sale of the life

       6   settlement policies out of Multi-Strat, which was conducted in

       7   the spring.

       8   Q    And wasn't Mr. Dondero seeking document production related

       9   to that sale?

      10   A    No.

      11   Q    Okay.    I believe that the preliminary injunction that you

      12   talked about and were questioned earlier, the plan asks to

      13   enjoin (garbled) party from allowing the plan to go effective.

      14   Is that correct?

      15   A    I'm sorry.    I didn't understand you question.     There was a

      16   -- there was a bunch of interference.

      17   Q    Okay.    Sure.   I'm sorry about that.    I don't know if

      18   that's -- I don't think that's me, but --

      19   A    It may not be.    It sounded like someone else.

      20   Q    The injunction prohibits anybody from interfering with the

      21   plan going effective, correct?

      22   A    The plan injunction?

      23   Q    Yes.

      24   A    Yes.

      25   Q    Okay.    Just so I'm clear, is the plan injunction




                                                                       Appx. 02127
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                                      Seery - Cross                        225


        1   attempting to strip appellate rights of Mr. Dondero?

        2   A   No.

        3   Q   Okay.     So, if, for instance, if he were to file any appeal

        4   of an order confirming this plan, he wouldn't be in violation

        5   of that plan injunction?

        6   A   I don't think so, because the order wouldn't be final.

        7   Q   Okay.     But it -- it says upon entry of a confirmation

        8   order, you're enjoined from doing so.      So that's not the

        9   intent?

      10    A   It certainly would not be my intent.      I don't think that

      11    anybody had that in mind.

      12    Q   Okay.     And if Mr. Dondero were to seek a stay pending

      13    appeal either during that 14-day period or afterwards, is that

      14    plan injunction attempting to stop that -- that sort of

      15    action?

      16    A   I apologize.     You're breaking up.   But I think I

      17    understood your question.    No, it was -- it was your screen as

      18    well.   No.   If either this Court stays its own order or a

      19    higher court says that the order is stayed, then there would

      20    be no way there could be any allegation that it's interfering

      21    with an order if it's not effective.

      22    Q   Mr. Dondero opposed the Acis sale, correct?

      23    A   The Acis settlement?

      24    Q   Correct.

      25    A   Yes.




                                                                       Appx. 02128
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                                      Seery - Cross                     226


        1   Q   After he opposed the Acis settlement, the next filing Mr.

        2   Dondero made was requesting that the Debtor notice the sale of

        3   any assets or any major subsidiary assets.    Is that correct?

        4   A   I don't recall the sequence of his filings.     I think that

        5   Judge Lynn at least sent a letter to that effect.    I don't

        6   recall if there is a filing to that effect.

        7   Q   Did Mr. Dondero, through his counsel, attempt to resolve

        8   that motion without filing anything further?

        9   A   I don't recall the specifics of the motion.     I know they

      10    asked for some sort of relief that -- that we thought was

      11    inappropriate.

      12    Q   When the Court postponed any hearing on Mr. Dondero's

      13    request for relief until the eve of the confirmation hearing,

      14    and Mr. Pomerantz announced that no sales were expected before

      15    confirmation, did Mr. Dondero withdraw his motion?

      16    A   Again, I don't recall the specifics of the motion.    I only

      17    recall the letter from Judge Lynn.

      18    Q   Did Mr. Dondero do anything more than object to the

      19    HarbourVest deal?

      20    A   Not that I know of.

      21    Q   Did Mr. Dondero do anything more than respond to the

      22    Defendants' injunction suit?

      23             MR. MORRIS:    Objection to the form of the question.

      24    I mean, -- objection to the form.

      25             THE COURT:    Overruled.




                                                                    Appx. 02129
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                                    Seery - Cross                        227


        1            MR. TAYLOR:    I apologize.    I should have said the

        2   Debtor's injunction suit.

        3            THE WITNESS:   Yeah, the -- I'm not sure of the

        4   specific order, but certainly the communications with me,

        5   which I think are prior to the order.     The communications with

        6   Mr. Surgent, which I believe are after the order.      Certain

        7   communications with Mr. Waterhouse, which were oral.     Those

        8   were all similarly difficult and obstreperous actions.

        9   BY MR. TAYLOR:

      10    Q   Has Mr. Dondero commenced any adversary proceeding or

      11    litigation in this case other than filing a competing plan?

      12             MR. MORRIS:    Objection to the form of the question.

      13             THE COURT:    Over --

      14             THE WITNESS:   Yeah, I don't --

      15             THE COURT:    -- ruled.

      16             THE WITNESS:    I don't believe he's commenced an

      17    adversary.   I'm sorry, Judge.     I don't believe he's commenced

      18    an adversary proceeding, no.

      19    BY MR. TAYLOR:

      20    Q   Mr. Dondero didn't file any opposition to the life

      21    settlement sale, did he?

      22    A   We didn't do the life settlement (garbled) Court.

      23    Q   Right.   Again, that wasn't noticed through the -- this

      24    Court, was it?

      25    A   It was an -- the reason was it was an asset of Multi-Strat




                                                                     Appx. 02130
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                                    Seery - Cross                        228


        1   Fund.   It wasn't an asset of the Debtor's.

        2   Q   Okay.   Mr. Dondero did have concerns regarding the life

        3   settlement sale, correct?

        4   A   Yes.

        5   Q   In fact, he believed that they were being sold for

        6   substantially less than what could have otherwise been

        7   received, correct?

        8   A   He may have.

        9   Q   And if you conduct any subsequent sales for less than

      10    market value that might ultimately prevent the waterfall from

      11    ever reaching Mr. Dondero, he would have no recourse under

      12    this proposed plan to object to this sale or otherwise have

      13    any comment on it.   Is that correct?

      14    A   I clearly object to the thinking that that was less than

      15    market value.   It was -- it was more than market value.   So I

      16    don't -- I disagree with the premise of your question.

      17    Q   So, I don't believe that was the question that was asked.

      18    The question that was asked is, as you move forward with your

      19    -- what I will characterize as a wind-down plan, not putting

      20    that word in your mouth -- but as you execute forward on your

      21    plan, as these sales of these assets go through, no notice is

      22    going to be provided, correct?

      23    A   Not necessarily.   It depends on the asset and what we

      24    think of the, you know, the -- the position of the parties at

      25    the time.




                                                                    Appx. 02131
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                                      Seery - Cross                      229


        1       If we have a -- if we have a transaction that's pending

        2   that wouldn't be hurt by a notice and that we'd be able to get

        3   the Court's imprimatur to maybe more better insulate, if you

        4   will, against Mr. Dondero's attacks, then we may well come to

        5   the Court to seek that.

        6       The problem with noticing sales is that -- that it often

        7   depresses value.   That's just not the way folks outside of the

        8   bankruptcy world (audio gap) sales.

        9   Q   So there's no requirement that either public or private

       10   notice be provided, correct?

       11   A   No.    Meaning it is correct.

       12   Q   Okay.   And if Mr. Dondero had objections either to the

       13   pricing of the sale or the manner and means by which the sale

       14   was being conducted, he would be prohibited by the plan

       15   injunction from bringing any objection to such sale, correct?

       16   A   I believe so, yes.

       17   Q   Mr. Dondero also had concerns regarding the OmniMax sale,

       18   correct?

       19   A   Mr. Dondero did not go along with the OmniMax sale with

       20   the assets that he managed.    I don't know if he had concerns

       21   with -- with our sale or OmniMax's interests.

       22   Q   Did Mr. Dondero ever express to you any concern that the

       23   value wasn't being maximized regarding the sale of those

       24   assets?

       25   A   He thought he could get more.     I don't know that he




                                                                    Appx. 02132
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                                     Seery - Cross                         230


       1   thought that he could get more for his assets that he was

       2   managing or whether he thought he could get more for all of

       3   the assets.

       4   Q    Other than voicing those concerns, did Mr. Dondero file

       5   any pleading with this Court attempting to block that sale?

       6   A    Pleading with the Court?     No.

       7              MR. TAYLOR:    Your Honor, I would like to confer with

       8   my colleagues just very briefly and see if they have anything

       9   further.   And even if they don't, Mr. Lynn of my firm would

      10   like a very brief moment to address the Court prior to me

      11   passing the witness.

      12        So, if I may have a literally hopefully one-minute break

      13   where I can turn my camera off and my microphone off to confer

      14   with my colleagues, and then move forward?

      15              THE COURT:    Okay.   Well, you can have a one-minute

      16   break, but we're going to continue on with cross-examination

      17   at this point.   Okay?    I'm not sure what you meant by Mr. Lynn

      18   wants to raise an issue at this point.        Could you elaborate?

      19              MR. TAYLOR:    I will get some elaboration during our

      20   30-second to one-minute break, Your Honor.        I was just passed

      21   a note.

      22              THE COURT:    All right.     So, but I'll just you know,

      23   --

      24              A VOICE:   Your Honor?

      25              THE COURT:    -- I'm inclined to continue with the




                                                                       Appx. 02133
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                                      Seery - Cross                         231


        1   cross-examination.     You know, this isn't a time for, you know,

        2   arguments or anything like that.     All right?

        3       So, we'll take a one-minute break.       You can turn off your

        4   audio and video for one minute, and come back.

        5       (Off the record, 3:33 p.m. to 3:34 p.m.)

        6             THE WITNESS:    Your Honor?

        7             THE COURT:    Yes?

        8             THE WITNESS:    It's Jim Seery.    Can I turn it into

        9   just a two-minute break, since I've sat in my seat, and it

       10   would be better for him to just continue straight through.         I

       11   could use one or two minutes.

       12             THE COURT:    Okay.

       13             THE WITNESS:    I apologize.

       14             THE COURT:    All right.   Well, it's been more than

       15   minute.   Let's just say a five-minute break for everyone, and

       16   we'll come back at 3:39 Central time.       Okay.

       17             THE WITNESS:    Okay.   Thank you, Your Honor.    I

       18   appreciate that.

       19       (A recess ensued from 3:35 p.m. until 3:40 p.m.)

       20             THE CLERK:    All rise.

       21             THE COURT:    Please be seated.    All right.   We are

       22   back on the record.     Mr. Taylor, are you there?

       23             MR. TAYLOR:    I am, Your Honor.    My video is not

       24   wanting to start, but my -- I believe my audio is on.

       25             THE COURT:    Okay.   After you went offline for your




                                                                       Appx. 02134
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                                    Seery - Cross                          232


        1   one-minute break, Mr. Seery asked for a five-minute bathroom

        2   break, or a couple-minute.     Anyway, we've been gone on a

        3   bathroom break.   We're back now.

        4            MR. TAYLOR:    Thank you.   I was actually -- I was

        5   still listening with one ear, --

        6            THE COURT:    Okay.

        7            MR. TAYLOR:    -- Your Honor, so I understand.

        8            THE COURT:    All right.

        9            MR. TAYLOR:    So, thank you.

      10             THE COURT:    Are you finished with cross, or no?

      11             MR. TAYLOR:    Just a little bit of a follow-up.

      12                       CROSS-EXAMINATION, RESUMED

      13    BY MR. TAYLOR:

      14    Q   Mr. Seery, you had previously testified that Mr. Dondero's

      15    counsel had threatened you and/or the independent board, I was

      16    not exactly sure who you were referring to, with suits, and I

      17    believe you said a hundred million dollars' worth of suits and

      18    getting dragged into litigation.

      19        Is that still your testimony today, that you were -- you

      20    were threatened with suit by this firm of a suit of over a

      21    hundred million dollars?

      22    A   I believe what I was told by my counsel was that, not Mr.

      23    Dondero's, but one of the other counsel, who I can name, said

      24    specifically that Dondero will sue Seery for hundreds of

      25    millions of dollars.   We're going to take it up to the Fifth




                                                                      Appx. 02135
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                                       Seery - Cross                           233


        1   Circuit, get it reversed, and he'll go after him.

        2   Q   Okay.    So it was not Mr. Dondero's counsel, and you were

        3   not -- is that correct?

        4   A   No.    It was one of the other counsel on the phone today.

        5   Q   Okay.    And you base that not upon your own personal

        6   knowledge but based on some -- something else that you were

        7   told, correct?

        8   A   Yes.    By my counsel.

        9   Q   Thank you.

       10               MR. TAYLOR:    Yes, Your Honor.    We can pass the

       11   witness.

       12               THE COURT:    Okay.   So, you've gone, or you and Mr.

       13   Rukavina collectively have gone one hour and 17 minutes.            Mr.

       14   Draper, you're next.

       15               MR. DRAPER:    Yes, Your Honor.    Thank you.   I

       16   basically have no more than ten questions, so I gather the

       17   Court will welcome that.

       18               THE COURT:    Okay.

       19                              CROSS-EXAMINATION

       20   BY MR. DRAPER:

       21   Q   Mr. Seery, has the new general partner been formed yet?

       22   A   I don't know if they've been -- we've actually done the

       23   formation, but it -- it would be in process.

       24   Q   So it either has been formed or has not been formed?

       25   A   I don't -- I don't know the answer.




                                                                            Appx. 02136
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                                     Seery - Cross                      234


        1   Q   Okay.    Now, going forward, Judge Nelms and Mr. Dubel will

        2   have nothing to do with the Reorganized Debtor, correct?

        3   A   Not necessarily, but they don't have a specific role at

        4   this time.

        5   Q   They won't be officers or directors of the new general

        6   partner or the Reorganized Debtor, correct?

        7   A   I don't -- I don't believe so, but it's not set in stone.

        8   Q   All right.   Has any finance -- has any party who is the

        9   beneficiary of an exculpation, a release, or the channeling

       10   injunction contributed anything to this plan of reorganization

       11   in terms of money?

       12   A   No.

       13   Q   Have you ever interviewed a trustee as to how they would

       14   liquidate the assets or monetize the assets in this case?

       15   A   No.

       16   Q   And last question is, is there any bankruptcy prohibition

       17   that you're aware of that a Chapter 7 trustee could not do

       18   what you're doing?

       19   A   Which -- which -- what do you mean, under the plan?

       20   Q   No.   Could not monetize the assets of the estate in the

       21   manner that you're attempting to monetize them.

       22   A   I don't think there's a specific rule, but I just haven't

       23   -- I haven't seen that before, no.   So I don't think there's a

       24   specific rule that I know of.

       25   Q   Okay.




                                                                    Appx. 02137
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                                      Seery - Cross                         235


       1              MR. DRAPER:    I have nothing further for this witness.

       2              THE COURT:    All right.    I should have asked, we had a

       3   couple of other objectors.       Ms. Drawhorn, did you have any

       4   questions?

       5              MS. DRAWHORN:    I have no questions, Your Honor.

       6              THE COURT:    All right.    Were there any other

       7   objectors out there that I missed that might have questions?

       8        All right.   Any redirect?

       9              MR. MORRIS:    Your Honor, if I may, can I -- can I

      10   just take a short minute to confer with my colleagues?

      11              THE COURT:    Sure.   You can --

      12              MR. MORRIS:    Thank you.

      13              THE COURT:    -- put you --

      14              MR. MORRIS:    Two -- two minutes, Your Honor.

      15              THE COURT:    Okay.

      16        (Pause, 3:45 p.m. until 3:48 p.m.)

      17              THE COURT:    All right.    We've been a couple of

      18   minutes.   Mr. Morris?

      19              MR. MORRIS:    Yes, Your Honor.

      20              THE COURT:    What are --

      21              MR. MORRIS:    Just, just a few points, Your Honor.

      22              THE COURT:    Okay.

      23              MR. MORRIS:    Hold on a sec.   You ready, Mr. Seery?

      24              THE WITNESS:    I am, yes.

      25                            REDIRECT EXAMINATION




                                                                         Appx. 02138
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                                   Seery - Redirect                       236


        1   BY MR. MORRIS:

        2   Q   You were asked a number of questions about your

        3   compensation.    Do you recall all that?

        4   A   Yes, I do.

        5   Q   And you testified to the $150,000 a month.     Do you recall

        6   that?

        7   A   Yes.

        8   Q   Under the -- under the documentation right now, your

        9   compensation is still subject to negotiation with the

      10    Committee; is that right?

      11    A   Yes, it is.

      12    Q   Okay.   You were asked a couple of questions about the

      13    conduct of Mr. Dondero.     Earlier, you testified that the

      14    monetization plan was filed under seal at around the time of

      15    the mediation.    Do I have that right?

      16    A   Yes.    Right at the start of the mediation.

      17    Q   Okay.   And is that the first time that the Debtor made the

      18    constituents aware, including Mr. Dondero, that it intended to

      19    use that as a catalyst towards getting to a plan?

      20    A   That's the first time that we filed it, but that plan had

      21    been discussed prior to that.

      22    Q   And do you recall that there came a point in time where

      23    you -- when the Debtor gave notice that it intended to

      24    terminate the shared services agreements with the Dondero-

      25    related entities?




                                                                     Appx. 02139
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                                      Seery - Redirect                      237


        1   A   Yes.

        2   Q   And when did that happen?

        3   A   That was about 60 -- now it's like 62 days ago.

        4   Q   Uh-huh.   And you know, from your perspective, from the

        5   filing of the monetization plan in August through the notice

        6   of shared services, is that what you believe has contributed

        7   to the resistance by Mr. Dondero to the Debtor's pursuit of

        8   this plan?

        9   A   Well, I think there's a number of factors that

       10   contributed, but the evidence that I've seen is that when we

       11   started talking about a transition, if there wasn't going to

       12   be a deal, if Mr. Dondero couldn't reach a deal with the

       13   creditors, we were going to push forward with the monetization

       14   plan.   And the monetization plan required the transition of

       15   the employees.   And indeed, it called specifically, and we had

       16   testimony regarding it all through the case, about the

       17   employees being terminated or transferred.

       18       In order to transfer them over to an entity that's

       19   related, Mr. Dondero pulls all of those strings.       And he

       20   refused to engage on that.     We started in the fall.    We

       21   specifically told employees of the Debtor not to engage.        They

       22   couldn't spend his money, which made sense --

       23              MR. TAYLOR:    Objection, Your Honor.

       24              THE WITNESS:    So, very -- that --

       25              THE COURT:    Just -- there's an objection.




                                                                       Appx. 02140
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                                       Seery - Redirect                       238


        1               MR. MORRIS:    There's an objection.

        2               THE WITNESS:    I'm sorry.

        3               THE COURT:    There was an objection.

        4               MR. TAYLOR:    Yes, Your Honor.    Object --

        5               THE COURT:    Go ahead.

        6               MR. TAYLOR:    Yes, Your Honor.    This is Clay, Clay

        7   Taylor.   Objection.      He's directly said Mr. Dondero told other

        8   employees x, and that is purely hearsay, not based upon his

        9   personal opinion, or his personal knowledge, and therefore

       10   that part of the answer should be struck.

       11               MR. MORRIS:    Your Honor, it's a statement against

       12   interest.

       13               THE COURT:    Overrule the objection.    Go ahead.

       14               THE WITNESS:    Yeah.    The difficulty of transitioning

       15   this business, I've equated it to doing a corporate carve-out

       16   transaction on an M&A side.         It's hard, and you need

       17   counterparties on the other side willing to engage.           And what

       18   we went through over the weekend, on Friday, was seemingly

       19   that the Funds, you know, directed by Mr. Dondero, just

       20   haven't engaged.

       21       We actually gave them an extra two weeks to engage,

       22   because it's -- they've really been unable to do anything.           I

       23   mean, hopefully, we've got the employees working in a way that

       24   can -- that can foster and get around some of this

       25   obstreperousness, and I've used that word before, but that's




                                                                          Appx. 02141
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                                   Seery - Redirect                       239


        1   what it is.    It's really an attempt to just prevent the plan

        2   from going forward.

        3       And at some point, the plan will go forward.    And if we

        4   are unable to transition people, we will simply have to

        5   terminate them.    And that is not a good outcome for those

        6   employees, but it's not a good outcome for the Funds, either.

        7   And the Funds, Mr. Dondero, the Advisors, the boards, nobody

        8   wants to do anything except come in this court.

        9   BY MR. MORRIS:

       10   Q   Do you recall being asked about Mr. Dondero and certain

       11   things that he didn't do and certain actions that he hadn't

       12   taken?

       13   A   Yes.

       14   Q   By Mr. Taylor?    To the best of your recollection, did Mr.

       15   Dondero personally object to the HarbourVest settlement?

       16   A   I -- I don't recall if he did or if it was one of the

       17   entities.

       18   Q   It was Dugaboy.    Does that refresh your recollection?

       19   A   Dugaboy certainly objected, yes.

       20   Q   And do you understand that Dugaboy has appealed the

       21   granting of the 9019 order in the HarbourVest settlement?

       22   A   Yes.

       23   Q   And Mr. Taylor asked you to confirm that Mr. Dondero

       24   hadn't taken any action with respect to the life settlement

       25   deal.    Do you remember that?




                                                                    Appx. 02142
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                                      Seery - Redirect                     240


        1   A   I do.

        2   Q   But are you aware that Dugaboy actually filed an

        3   administrative claim relating to the alleged mismanagement of

        4   the life settlement sale?

        5   A   Yes, I did, I did allude to that.        I wasn't sure it was

        6   Dugaboy, but -- but that was very --

        7   Q   Uh-huh.

        8   A   -- very early on, an objection filed in the form of an

        9   administrative claim or complaint against, if you will,

      10    against Highland for the management of Multi-Strat.

      11    Q   Uh-huh.     And Mr. Dondero didn't personally file any motion

      12    seeking to inhibit the Debtor from managing the CLO assets; is

      13    that right?

      14    A   No, not the CLO assets, no.

      15    Q   Yeah.     But the Funds and the Advisors did.    That was the

      16    hearing on December 16th.     Do you recall that?

      17    A   Yeah.     That was the -- the Funds.     K&L Gates, the Funds,

      18    and the various Advisors.

      19    Q   All right.    Do you recall Mr. Rukavina asking you whether

      20    there was any evidence in the record to support your testimony

      21    that there was an agreement in place to assume the CLO

      22    management agreements?

      23    A   I recall the question, yes.

      24    Q   Okay.

      25                MR. MORRIS:   Your Honor, I'm going to ask Ms. Canty




                                                                       Appx. 02143
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                                         Seery - Redirect                       241


       1   to put up on the screen the Debtor's omnibus reply to the plan

       2   objections.

       3                  THE COURT:    Okay.

       4                  MR. MORRIS:    It was filed -- it was filed on January

       5   22nd.    And if we can go, I think, to -- I think it's Paragraph

       6   -- I think it's Paragraph 135 on Page 71.            Yeah.   Okay.

       7   BY MR. MORRIS:

       8   Q      Take a look at that, Mr. Seery.          Does that -- does that

       9   statement in Paragraph 135 accurately reflect the

      10   understanding that's been reached between the Debtor and the

      11   CLO Issuers with respect to the Debtor's assumption of the CLO

      12   management agreements?

      13   A      Yes.    I think that's consistent with what I testified to

      14   earlier, the substance of the agreement.

      15                  MR. MORRIS:    And if we can just scroll to the top,

      16   just to see the date.          Or the bottom.    I guess the top.

      17                  THE WITNESS:    Do you mean the date of this pleading?

      18   BY MR. MORRIS:

      19   Q      Yeah.    So, it was filed on January 22nd, right, ten days

      20   ago?    Okay.

      21   A      That's correct.

      22                  MR. MORRIS:    I'd like to put up on the screen an

      23   email, Your Honor, that I'd like to mark as Debtor's Exhibit

      24   10A.    And this is --

      25   BY MR. MORRIS:




                                                                            Appx. 02144
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                                       Seery - Redirect                     242


        1   Q   Do you recall, Mr. Seery, you testified that the agreement

        2   was reflected in an email?

        3   A   Yes.

        4   Q   Is this the email that you're referring to?

        5               MR. MORRIS:    If we could scroll down.   Right there.

        6               THE WITNESS:    Yes.

        7               MR. MORRIS:    Okay.   One -- the email below.   Okay.

        8   Right there.

        9   BY MR. MORRIS:

      10    Q   Is that the -- is that the email you had in mind?

      11    A   It was the series of emails.       We -- we had a -- I think I

      12    testified in the prior testimony, or my -- one of my

      13    depositions, that we had had a number of conversations with

      14    the Issuers and their counsel, and this was the summary of the

      15    agreement that was contained in these emails.

      16    Q   Okay.    And this is, this is the same date as the omnibus

      17    reply that we just looked at, right, January 22nd?

      18    A   That's correct.

      19    Q   Okay.    You were asked a question, I think, late in your

      20    cross-examination about a Chapter 7 trustee's ability to sell

      21    the assets in the same way as you are proposing to do.         Do you

      22    recall that testimony?

      23    A   Yes.

      24    Q   And I think, if I understood correctly, the question was

      25    narrowly tailored to whether there was any legal impediment to




                                                                         Appx. 02145
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                                    Seery - Redirect                       243


        1   a trustee doing -- performing the same functions as you.        Do I

        2   have that right?

        3   A   That's the question I was asked, whether the Bankruptcy

        4   Code had a specific prohibition.

        5   Q   Okay.    And I think, I think you testified that you weren't

        6   aware of anything.    Is that right?

        7   A   That's correct.

        8   Q   All right.     But let's talk about practice.   Do you think a

        9   Chapter 7 trustee will realize the same value as you and the

      10    team that you're assembling will, in terms of maximizing value

      11    and getting the maximum recovery for the assets?

      12    A   No.   As I testified earlier, you know, I've been working

      13    with these assets now for a year.      It's a complicated

      14    structure.   The assets are all slightly different.     And

      15    sometimes much more than slightly.     And the team that we're

      16    going to have helping managing is familiar with the assets as

      17    well.   We believe we'll be able to execute very well in the

      18    markets that we (garbled).

      19    Q   Do you think a Chapter 7 trustee will have a steep

      20    learning curve in trying to even begin to understand the

      21    nature of the assets and how to market and sell them?

      22    A   I think anybody coming into this, the way this company is

      23    set up, as an asset manager, and the diversity of the assets,

      24    would have a steep learning curve, yes.

      25    Q   Do you have any view as to whether the perception in the




                                                                        Appx. 02146
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                                    Seery - Redirect                     244


        1   marketplace of a Chapter 7 trustee taking over to sell the

        2   assets will have an impact on value as compared to a post-

        3   confirmation estate of the type that's being proposed under

        4   the plan?

        5   A   Yes, I do, and it certainly would be negative, in my

        6   experience.   Typically, assets are not conducted -- asset

        7   sales are not conducted through a bankruptcy court, and

        8   certainly not with a Chapter 7 trustee that has to sell them,

        9   and generally is viewed as having to sell them quickly.     So we

      10    -- we approach each asset differently, but certainly in a way

      11    that would be much more conducive to maximizing value than a

      12    Chapter 7 trustee could, just by the nature of their role.

      13    Q   Is it -- is it your understanding that, under the proposed

      14    plan and under the proposed corporate governance structure,

      15    that the Claims Oversight Committee will -- will manage you?

      16    That you'll report to that Committee and that they'll have the

      17    opportunity to make their assessment as to the quality of your

      18    work?

      19    A   Yeah, absolutely.    And that's consistent with what we've

      20    done before in this case.   Even where it wasn't an asset of

      21    the estate or was being sold in the ordinary course, we spent

      22    time with the Committee and the Committee professionals before

      23    selling assets.

      24    Q   And you've worked with the Committee for over -- for a

      25    year now, right?




                                                                     Appx. 02147
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                                    Seery - Redirect                     245


        1   A   It's over a year.

        2   Q   And the Committee is comfortable with you taking this

        3   role; is that right?

        4   A   I think they're supportive of it.      Comfortable might be

        5   not the right word choice.

        6   Q   Okay.   I appreciate the clarification.     And do you have

        7   any reason to believe that the -- that the Oversight Committee

        8   is going to allow you the unfettered discretion to do whatever

        9   you want with the assets of the Trust?

      10    A   Not a chance.   Not with this group.    Nor would I want to.

      11    There's no right or wrong answer for most of these things, and

      12    the collaborative views from professionals and people who have

      13    an economic stake in the outcome will be helpful.

      14    Q   Okay.   You were asked some questions about the November

      15    projections and the -- and the assumption that was made that

      16    valued the HarbourVest and the UBS claims at zero.     Do you

      17    recall that?

      18    A   Yes.

      19    Q   As of that time, was the Debtor still in active litigation

      20    with both of those claim holders?

      21    A   Very much so.

      22    Q   And after the disclosure statement was issued, do you

      23    recall that the Court entered its order on UBS's Rule 3018

      24    motion?

      25    A   Yes.




                                                                     Appx. 02148
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                                    Seery - Redirect                       246


        1   Q   And do you recall what the -- what the claims estimate was

        2   for voting purposes under that order?

        3   A   It was about $95 million.    That was -- it was together

        4   with the summary judgment orders of that date.     They were

        5   separate orders, but that was the lone hearing.

        6   Q   And was that public information, that order was publicly

        7   filed on the docket; isn't that right?

        8   A   Yes, it was.

        9   Q   Is there anything in the world that you can think of that

      10    would have prevented any claim holder from doing the math to

      11    try to figure out the impact on the estimated recoveries from

      12    the -- by using that 3018 claims estimate?

      13    A   No.   It would have -- it would have been quite easy to do.

      14    Q   And, in fact, that's what you wound up doing with respect

      15    to the January projections, right?

      16    A   That's correct.

      17    Q   And do you recall when the HarbourVest settlement, when

      18    the 9019 motion was filed?

      19    A   I don't recall the actual filing.      It was subsequent to

      20    the UBS, though.

      21              MR. MORRIS:   Ms. Canty, if you have it, can we just

      22    put it on the screen, to see if we can refresh Mr. Seery's

      23    recollection?    If we could just look at the very top.

      24    BY MR. MORRIS:

      25    Q   Does that refresh your recollection that the 9019 motion




                                                                      Appx. 02149
Case 3:21-cv-00881-X Document 138-73 Filed 07/14/23    Page 248 of 296 PageID 10731



                                    Seery - Redirect                     247


        1   was filed on December 23rd?

        2   A   Yes, it does.    The agreement was reached before that, but

        3   it took a little bit of time to document the particulars and

        4   then to -- to get it filed.

        5   Q   And this wasn't filed under seal, to the best of your

        6   recollection, was it?

        7   A   No, no.   This was -- this was open, and we had a very open

        8   hearing about it, because it was a related-party objection.

        9   Q   And to the best of your recollection, did this 9019 motion

      10    publicly disclose all of the material terms of the proposed

      11    settlement?

      12    A   Yes, it did.

      13    Q   Can you think of anything in the world that would have

      14    prevented any interested party from doing the math to figure

      15    out how this particular settlement would impact the claim

      16    recoveries set forth in the Debtor's disclosure statement?

      17    A   No.   And just again, to be clear, the plan and the

      18    projections had assumptions, but the plan was very clear that

      19    the denominator was going to be determined by the total amount

      20    of allowed claims.

      21    Q   And, again, at the time that that was filed, you hadn't

      22    reached a settlement with HarbourVest, had you?

      23    A   No.

      24    Q   And the order on the 3018 motion hadn't yet been filed; is

      25    that right?




                                                                     Appx. 02150
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                                  Seery - Redirect                      248


        1   A   That's correct.

        2   Q   Okay.   Has -- are you aware of any creditor expressing any

        3   interest in trying to change their vote as a result of the

        4   updates of the forecasts?

        5   A   Only Mr. Daugherty.     And actually, they have a stipulation

        6   with the two -- the two former employees.

        7   Q   All right.   But to be fair, that wasn't -- had nothing to

        8   do with the revisions to the projections?    That was just in

        9   connection with their settlement; is that right?

      10    A   That's correct.   As was, I suspect, Mr. Daugherty's, but

      11    he'd been aware of the settlements, just like everyone else.

      12    Q   Okay.   You were asked a couple of questions, I think, by

      13    Mr. Rukavina about whether there is anything that you need to

      14    do your job on a go-forward basis.    And I think you said no.

      15    Do I -- do I have that right?    Nothing further that you need?

      16    A   I -- I'm not really sure what your question means, to be

      17    honest.

      18    Q   Okay.   Fair enough.    To be clear, is there any chance that

      19    you would accept the position as the Claimant Trustee if the

      20    gatekeeper and injunction provisions of the proposed plan were

      21    extracted from those documents?

      22    A   No.   As I said earlier, they're integral in my view to the

      23    entire plan, but they're absolutely essential to my bottom.

      24    Q   Okay.   And through -- through the date of the effective

      25    date, are you relying on the exculpation clause of the -- have




                                                                    Appx. 02151
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                                      Seery - Redirect                      249


      1   you been relying on the exculpation clause in the January 9th

      2   order that you testified to at the beginning of this hearing?

      3   A    Yeah.    Both the January 9th order as well as the July

      4   order with respect to my CEO/CRO positions.

      5   Q    Okay.

      6                MR. MORRIS:    I've got nothing further, Your Honor.

      7                THE COURT:    All right.   Any recross on that redirect?

      8                A VOICE:   I believe Mr. Rukavina is speaking but is

      9   muted, Your Honor.

     10                THE COURT:    Mr. Rukavina, do you have any recross?

     11                MR. RUKAVINA:    Your Honor, I do, yes.    Thank you.   I

     12   apologize.

     13                THE COURT:    Okay.

     14                MR. RUKAVINA:    Can you hear me now?

     15                THE COURT:    Yes.

     16                THE WITNESS:    Yes.

     17                MR. RUKAVINA:    Thank you.

     18        Mr. Vasek, if you'll please pull up the Debtor's Omnibus

     19   Reply, Docket 1807.        And if you'll go to Exhibit C.     Do a word

     20   search for Exhibit C.        It's attached to it.    Okay.   Now scroll

     21   down.   Stop there.

     22                               RECROSS-EXAMINATION

     23   BY MR. RUKAVINA:

     24   Q    Mr. Seery, do you see what's attached as Exhibit C to the

     25   Omnibus Reply, which is proposed language in the confirmation




                                                                         Appx. 02152
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                                    Seery - Recross                         250


       1   order?

       2   A    I see the exhibit.       I didn't know if this was -- I don't

       3   know exactly what it's for.       If it's proposed language, I'll

       4   accept your representation.

       5                MR. RUKAVINA:    Well, scroll back up to Exhibit C, Mr.

       6   Vasek.    I want to make sure that I understand what you're

       7   saying.     Scroll back up.    Do the word search for where Exhibit

       8   C appears first.     Start again.    Okay.   So scroll up.

       9   BY MR. RUKAVINA:

      10   Q    So, you'll recall Mr. Morris was asking you about the

      11   paragraph in here where you outlined the terms of the

      12   agreement with the CLOs.       Do you recall that testimony?

      13   A    Yes.

      14   Q    Okay.    And then you see it says, The Debtor and the CLOs

      15   agreed to seek approval of this compromise by adding language

      16   to the confirmation order.       A copy of that language is

      17   attached hereto as Exhibit C and will be included in the

      18   confirmation order.

      19        Do you see that, sir?

      20   A    I do.

      21   Q    Okay.

      22                MR. RUKAVINA:    Mr. Vasek, go back to Exhibit C.

      23   BY MR. RUKAVINA:

      24   Q    So it's correct that this Exhibit C is the referenced

      25   agreement that the Debtor and the CLOs will seek approval of,




                                                                        Appx. 02153
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                                   Seery - Recross                      251


      1   correct?

      2   A    The -- the -- it may be word-splitting, but I believe it

      3   says that they've reached agreement and this is the language

      4   that will evidence that agreement or embody that agreement.

      5   Q    Okay.

      6                MR. RUKAVINA:   Scroll down, Ms. Vasek, to the next

      7   page, please.

      8   BY MR. RUKAVINA:

      9   Q    Real quick, do the CLOs owe the Debtor any money for the

     10   management fees?

     11   A    I don't -- well, the answer is there are accrued fees that

     12   haven't been paid, but when they have cash they run through

     13   the waterfall and pay them.

     14   Q    And I believe you mentioned to me those accrued fees

     15   before.    They're several million dollars, correct?

     16   A    It -- I don't know right off the top of my head.     They can

     17   aggregate and then they get paid down in the quarter depending

     18   on the waterfall.     And it's -- it's not a fair statement by

     19   either of us to say the CLOs, as if they're all the same.

     20   Each one is different.

     21   Q    I understand.    But as of today, you agree that the CLOs

     22   collectively owe some amount of money to the Debtor in accrued

     23   and unpaid management fees?

     24   A    I believe that's the case.

     25   Q    Okay.    And do you believe it's north of a million dollars?




                                                                     Appx. 02154
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                                    Seery - Recross                      252


        1   A   I don't recall.

        2   Q   Okay.

        3               MR. RUKAVINA:   Well, scroll down a couple of more

        4   lines, Mr. Vasek.    Stay there.

        5   BY MR. RUKAVINA:

        6   Q   Sir, if you'll read with me, isn't the Debtor releasing

        7   each Issuer, which is the CLOs, for and from any and all

        8   claims, debts, et cetera, by this provision?

        9   A   Claims.    Not -- not fees, but claims.   I don't believe

      10    there's any release of fees that the CLOs might owe and would

      11    run through the waterfall here.

      12    Q   Okay.    For and from any and all claims, debts,

      13    liabilities, demands, obligations, promises, acts, agreements,

      14    liens, losses, costs, and expenses, including without

      15    limitation attorneys' fees and related costs, damages,

      16    injuries, suits, actions, and causes of action, of whatever

      17    kind or nature, whether known or unknown, suspected or

      18    unsuspected, matured or unmatured, liquidated or unliquidated,

      19    contingent or fixed.

      20        Are you saying that that does not release whatever fees

      21    have accrued and the CLOs owe?

      22    A   I don't believe it would.      If it did, your client should

      23    be ecstatic.    But I don't believe it does that.

      24    Q   And you don't believe that it releases the CLOs of any and

      25    all other obligations that they may have to the Debtor and the




                                                                     Appx. 02155
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                                       Seery - Recross                        253


        1   estate?

        2   A   I -- again, I don't believe there are any, but I think

        3   it's a broad release of claims away from the actual fees that

        4   are generated by the Debtor.        I don't believe there's an

        5   intention to release fees that have accrued.

        6   Q   Have you seen this language before I showed it to you

        7   right now?

        8   A   I believe I have, yes.

        9   Q   Okay.    Take a minute.    Can you point the Court to anywhere

      10    where present or future fees under the CLO agreements are

      11    excepted from the release?

      12    A   I could go through, I'll take your representation, but I

      13    don't believe that that's what it -- it's supposed to release

      14    fees.   Again, if the fees are owed, they get paid, if there

      15    are assets there to pay them.

      16    Q   Okay.    This release and this settlement was never noticed

      17    out as part of a 9019, was it?

      18    A   I don't believe so, no.

      19    Q   Okay.    So, other than bringing it up here today, this is

      20    the first that the Court, at least, has heard of this,

      21    correct?

      22    A   Yeah, again, I don't --

      23                MR. MORRIS:    Objection to the form of the question.

      24                THE WITNESS:    Yeah.   I just stated before that I

      25    don't think this is a -- that there claims.




                                                                       Appx. 02156
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                                    Seery - Recross                         254


       1             THE COURT:    Wait.   Slow down.    I think --

       2             MR. SEERY:    Oh, I'm sorry, Your Honor.

       3             THE COURT:    -- there was an objection.     Go ahead, Mr.

       4   Morris.

       5             MR. MORRIS:    The notion that this is the first time

       6   the Court has heard of this is just factually incorrect.

       7   First of all, it's in the document from January 22nd.          Second

       8   of all, Mr. Seery testified to it last week at the preliminary

       9   injunction hearing.     I mean, --

      10             THE COURT:    I -- I --

      11             MR. MORRIS:    -- I don't know what the point of the

      12   inquiry is, but there's -- this is not new news.

      13             THE COURT:    Okay.   I sustain the objection.

      14   BY MR. RUKAVINA:

      15   Q    And Mr. Seery, can you point me to any document where

      16   counsel for the CLOs has signed this particular confirmation

      17   order or any other document agreeing to this language in the

      18   confirmation order?

      19   A    I don't think there's any document that's signed.         I think

      20   we already went over that.      I think the email is evidence

      21   their agreement to the general terms.        I don't see any

      22   agreement with respect to this particular language.

      23   Q    Well, you have no personal information?       You're going on

      24   what your lawyers told you that the CLOs agreed to, correct?

      25   A    That's correct.




                                                                      Appx. 02157
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                                      Seery - Recross                        255


        1   Q   Okay.    You didn't personally --

        2   A   Excuse me.    That's correct with respect to this language,

        3   not with respect to the agreement.       I was on the phone when

        4   they agreed.

        5   Q   Okay.    And they agreed orally, you're saying, to basically

        6   the assumption of the CLO management agreements?

        7   A   Correct.

        8   Q   Okay.

        9               MR. RUKAVINA:    Thank you, Your Honor.     I'll pass the

      10    witness.

      11                THE COURT:    All right.   Other recross?

      12                MR. TAYLOR:    Yes, Your Honor, I do.

      13                THE COURT:    Go ahead.

      14                              RECROSS-EXAMINATION

      15    BY MR. TAYLOR:

      16    Q   Mr. Seery, Clay Taylor again.       You worked -- I'm sorry,

      17    let me restart.    I believe you testified earlier, in response

      18    to questions by Mr. Morris, that you didn't believe a Chapter

      19    7 trustee would be very effective in monetizing these assets,

      20    correct?

      21    A   I think I said I didn't believe that the Chapter 7 trustee

      22    would be as effective at monetizing the assets as the

      23    Reorganized Debtor would be, and me in the role as Claimant

      24    Trustee.

      25    Q   And one of the reasons that you gave is you believe that




                                                                         Appx. 02158
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                                    Seery - Recross                      256


        1   the Chapter 7 trustee had to liquidate assets so quickly that

        2   it could not be effective; is that correct?

        3   A   Typically, that's the case, yes.

        4   Q   You worked for the Lehman trustee, correct?

        5   A   That's incorrect.

        6   Q   Okay.    Did you work on the Lehman case?

        7   A   Did I work in the case?    No.

        8   Q   Okay.    Did you -- how were you involved within -- within

        9   the Lehman case?

      10    A   It's a long history, but I was a relatively senior person,

      11    not senior level, not senior management level person at

      12    Lehman.    I ran the loan businesses and I helped a number of

      13    other places and I -- in the organization.      I helped construct

      14    the sale of Lehman to Barclays out of the broker-dealer and

      15    then helped consummate that sale.

      16    Q   Okay.    I believe, in that case, it was a SIPC -- the

      17    trustee was a SIPC trustee, correct?

      18    A   With respect to the broker-dealer.

      19    Q   Okay.    And you believe that a SIPC trustee is very -- has

      20    very similar rules with respect to asset sales; is that

      21    correct?

      22    A   There are some similarities, absolutely.

      23    Q   Okay.    And so in that case, the trustee was in place for

      24    seven years, yet you believe -- you want this Court to believe

      25    that a Chapter 7 trustee has to liquidate assets in a very




                                                                     Appx. 02159
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                                      Seery - Recross                     257


       1   short time frame, is that correct?

       2               MR. MORRIS:    Objection to the form of the question.

       3               THE WITNESS:    Yeah, in the Lehman case, --

       4               THE COURT:    Overruled.

       5               THE WITNESS:    I'm sorry, Judge.

       6               THE COURT:    Go ahead.

       7               THE WITNESS:    In the Lehman case, the SIPC trustee

       8   spent years litigating, not liquidating.        The broker-dealer

       9   was sold in our structured deal to Barclays, and then the SIPC

      10   trustee liquidated the remainder of the estate, which was the

      11   broker-dealer, but most of it had been sold to Barclays.       It

      12   was really a litigation case.

      13   BY MR. TAYLOR:

      14   Q    But it did -- that trustee did sell off subsequent assets

      15   after the initial sale, correct?

      16   A    That trustee, I don't think, managed -- I don't know about

      17   that.   The trustee didn't really manage any assets.       Other

      18   than litigations.

      19   Q    You've also testified that you didn't believe or that you

      20   would not take on this role without the gatekeeper and

      21   injunction -- gatekeeper role and injunction being in place;

      22   is that correct?

      23   A    Yes.

      24   Q    And you're also familiar with the Barton Doctrine,

      25   correct?




                                                                      Appx. 02160
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                                      Seery - Recross                        258


        1   A   I'm not.

        2   Q   Okay.    Do you believe that a Chapter 7 trustee could be

        3   sued by third parties without obtaining either relief from

        4   this Court -- let me just stop there.       Do you believe that a

        5   Chapter 7 trustee could be sued without seeking leave of this

        6   Court?

        7   A   I think it would be difficult.       I know that Chapter 7

        8   trustees have qualified immunity, so I think, whether it would

        9   be leave of this Court or it's just that there's a very high

       10   bar to suing them, I'm not exactly sure.       It's not something

       11   I've spent time on.

       12   Q   Okay.    So a hypothetical Chapter 7 trustee would have no

       13   need of the gatekeeper role or injunction if this case were

       14   converted to one under Chapter 7, correct?

       15   A   That's probably true.

       16   Q   Thank you.

       17               MR. TAYLOR:    No further questions.

       18               THE COURT:    All right.   Any other recross?

       19               MR. DRAPER:    Your Honor, I have nothing --

       20               THE COURT:    All right.

       21               MR. DRAPER:    -- further.

       22               THE COURT:    All right.   I think we're done, but

       23   anyone I've missed?

       24       All right.    Mr. Seery, it's been a long day.     You are

       25   excused from the virtual witness stand.




                                                                        Appx. 02161
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                                    Seery - Recross                        259


       1             THE WITNESS:    Thank you, Your Honor.

       2             THE COURT:    All right.   Mr. Morris, let's see if

       3   there's anything else we can accomplish today.     It's 4:18

       4   Central time.   Who would be your next witness?

       5             MR. MORRIS:    My next witness would be John Dubel,

       6   Your Honor.

       7             THE COURT:    All right.   Can you give us a time

       8   estimate for direct?

       9             MR. MORRIS:    I wouldn't expect Mr. Dubel to be more

      10   than 20 minutes or so, but I would offer the Court, if you

      11   think it would be helpful, counsel for the CLO Issuers is on

      12   the call, and I believe that they would be prepared to just

      13   confirm for Your Honor that there is an agreement in

      14   principle, just as Mr. Seery has testified to, and maybe you

      15   want to hear from her.    I know she's not really a witness, but

      16   she might be able to make some representations to give the

      17   Court some comfort that everything Mr. Seery has said is true.

      18             THE COURT:    I think that would be useful.   Is it Ms.

      19   Anderson or who is it?

      20             MS. ANDERSON:    That is -- it is, Your Honor.      And you

      21   know, I appreciate the testimony given.     I certainly do not

      22   want to testify, but thought it might be useful for the Court

      23   to hear from us.

      24        Amy Anderson on behalf of the Issuers from Jones Walker.

      25   Schulte Roth also represents the Issuers.     And I can represent




                                                                      Appx. 02162
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                                                                               260


       1   to the Court that the agreement as it's represented on Docket

       2   1807, as more particularly described in Exhibit C, which Your

       3   Honor has seen, is the agreement reached between the Issuers

       4   and the Debtor.

       5        There was some testimony about fees owed, accrued fees

       6   owed to the Debtor.     I certainly cannot speak to the substance

       7   of each particular management agreement with each CLO.        They

       8   are all distinct and unique and very lengthy documents.         I

       9   will -- I can represent to the Court that any accrued fees

      10   that are owed were not intended to be included in the release.

      11   It is -- it is not meant to release fees owed to Highland

      12   under the particular management agreements.

      13        Of course, if the Court has any questions or if I can

      14   provide anything further, I'm happy to.      And I will be on the

      15   hearing today and tomorrow, but I thought it might be useful,

      16   given the topic of the testimony this afternoon.

      17             THE COURT:    All right.   That was useful.   Thank you,

      18   Ms. Anderson.

      19        All right.   Well, Mr. Morris, shall we go ahead and hear

      20   from Mr. Dubel today, perhaps finish up a second witness?

      21             MR. MORRIS:    Yeah.    I think we have the time.     I

      22   think Mr. Dubel is here.    Are you here, Mr. Dubel?

      23             MR. DUBEL:    I am.    Can you hear me, Your Honor?

      24             THE COURT:    I can hear you, but I cannot see you.

      25   Oh, now I can see you.    Please raise your right hand.




                                                                     Appx. 02163
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                                       Dubel - Direct                        261


        1                 JOHN S. DUBEL, DEBTOR'S WITNESS, SWORN

        2               THE COURT:    All right.   Thank you.   Mr. Morris, go

        3   ahead.

        4               MR. MORRIS:    Thank you very much, Your Honor.

        5                             DIRECT EXAMINATION

        6   BY MR. MORRIS:

        7   Q   Mr. Dubel, can you hear me?

        8   A   I can, Mr. Morris.

        9   Q   Okay.    Do you have a position today with the Debtor, sir?

      10    A   I am a director of Strand Advisors, Inc., which is the

      11    general partner of the Debtor.

      12    Q   Okay.    And can you --

      13                MR. MORRIS:    Your Honor, just as a reminder, I'm

      14    going to ask Mr. Dubel to describe his professional experience

      15    in some detail, to put into context his testimony, but his

      16    C.V. can be found at Exhibit 6Y as in yellow on Docket No.

      17    1822.

      18                THE COURT:    All right.

      19    BY MR. MORRIS:

      20    Q   Mr. Dubel, can you describe your professional background?

      21    A   Yes.    I have approximately, almost, and I hate to say it

      22    because it's making me feel old, but I have almost 40 years of

      23    experience working in the restructuring industry.

      24        I have served in many roles in that, both as an advisor,

      25    an investor in distressed debt, and also a member of




                                                                        Appx. 02164
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                                    Dubel - Direct                        262


        1   management teams, and as a director, both an independent

        2   director and a non-independent director.

        3       My executive roles have included the -- both an executive

        4   director, chief executive officer, president, chief

        5   restructuring officer, chief financial officer.    And I have

        6   been involved in some of the largest Chapter 11 cases over the

        7   last several decades, including cases like WorldCom and

        8   SunEdison.

        9   Q   Let's focus your attention for a moment just on the

       10   position of independent director.    Have you served in that

       11   capacity before this case?

       12   A   I have.

       13   Q   Can you describe for the Court some of the cases in which

       14   you've served as an independent director?

       15   A   Sure.    I've served as an independent director in several

       16   cases that were I'll call post-reorg cases.    Werner Company,

       17   which was the largest climbing equipment manufacturer in the

       18   world, manufacturer of ladders, Werner Ladders.    You'll see

       19   them on every pickup truck running around the countryside.

       20       FXI Corporation, which is a -- one of the largest foam

       21   manufacturers.    Everybody's probably slept or sat on one of

       22   their products.

       23       Barneys New York, back in 2012, when they did an out-of-

       24   court restructuring.    I had previously been involved with

       25   Barneys 15 years before that, and so I was called upon because




                                                                    Appx. 02165
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                                   Dubel - Direct                         263


        1   of my knowledge to be an independent director in that

        2   situation.   Have had no relationship with Barneys since it

        3   emerged from Chapter 11 back in 1998.

        4       I have been the independent director in WMC Mortgage,

        5   which was a mortgage company owned by General Electric.

        6       And I am currently serving as an independent director in a

        7   company -- in two companies.    One, Alpha Media, which is a

        8   large radio station chain that recently filed Chapter 11, I

        9   believe it was late Sunday night, and I am also an independent

      10    director in the Purdue Pharma bankruptcy, and have served

      11    prior to the bankruptcy and am the chair of the special

      12    independent committee of directors -- special committee of

      13    independent directors in that particular situation.

      14    Q   That sounds like a lot.    In terms of other fiduciary

      15    capacities, I think your C.V. refers to Leslie Fay.    Were you

      16    involved in that case, and if so, how?

      17    A   I was.   That was -- for those people who may remember it,

      18    that goes back into the 1993 era.    Leslie Fay was a large

      19    apparel manufacturer, and at the time was one of the largest

      20    companies that had gone through an extensive fraud.    I say at

      21    the time because it was about a $180 million fraud, which

      22    pales by some of the ones that have followed it.

      23        I was brought in as the executive vice president in charge

      24    of restructuring, chief financial officer, and was also added

      25    to the board of directors.    Even though I wasn't independent,




                                                                    Appx. 02166
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                                    Dubel - Direct                      264


        1   I was added to the board of directors to have the fresh face

        2   on the board in that particular situation because of the fraud

        3   that had taken place.

        4   Q   And --

        5   A   Sun --

        6   Q   Go ahead.

        7   A   SunEdison, I was brought in as the CEO.    Actually,

        8   initially, as the chief restructuring officer, with a mandate

        9   to replace the CEO, which took place shortly after I was

       10   brought on board and -- because of various issues surrounding

       11   investigations by the SEC, DOJ, and allegations by the

       12   creditors of fraud.   And so I was brought in to run the

       13   company through its Chapter 11 process.

       14       As I'd mentioned earlier, WorldCom, I was brought in at

       15   the beginning of the case as the fresh chief financial

       16   officer.   And I think everybody is familiar with what happened

       17   in the WorldCom situation.

       18   Q   All right.   Based on that experience, do you have a view

       19   as to whether the appointment of independent directors is

       20   unusual?

       21   A   It is not.   More recently, it has -- it had been in the

       22   past.   Usually, you know, they would try and take the existing

       23   directors and form a special committee of the existing

       24   directors.   But I think the state of the art has become more

       25   where independent directors are brought in, mainly because the




                                                                    Appx. 02167
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                                   Dubel - Direct                       265


        1   cases have become a lot more complex in nature, and larger,

        2   and the transactions themselves are much more sophisticated.

        3   And so having somebody independent has been important for

        4   analyzing the various transactions.   And also, quite often,

        5   it's just bringing a fresh, independent voice to the company

        6   on the board.

        7   Q   Do you have an understanding as to the purpose and the

        8   role of independent directors generally in restructuring and

        9   bankruptcy cases?

      10    A   Sure.   As I kind of alluded to a little bit earlier, the

      11    -- probably the most critical thing is for restoring

      12    confidence in the company and in the management in terms of

      13    corporate governance, especially when there have been troubled

      14    situations, where -- whether it's been fraud or allegations

      15    made against the company and its prior management or when

      16    management has left under difficult situations.

      17        Also, you know, independent thought process being brought

      18    to the board is very important for helping guide companies.

      19    It's quite often the existing management team or the existing

      20    board may get stuck in a rut, as you can say, you know, in

      21    terms of their thinking on how to manage it, and having

      22    somebody with restructuring experience who provides that

      23    independent voice is very important to the operations.

      24        In addition, having someone who can look at conflicts that

      25    might arise between shareholders or shareholders and the board




                                                                    Appx. 02168
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                                    Dubel - Direct                      266


        1   members is important.   As I mentioned earlier, the WMC

        2   Mortgage situation was one where I was brought on to -- as an

        3   independent member of the board to effectively negotiate an

        4   agreement or a settlement between WMC and its parent, General

        5   Electric.   That entity was being -- WMC was being sued for

        6   billions of dollars, and there were issues as to whether or

        7   not General Electric should fund those obligations.    And so

        8   that was a role that is quite often occurring in today's day

        9   and age.

       10       In addition, evaluating transactions for companies is

       11   important, whereby either the shareholders who sit on the

       12   board or board members may be involved in those transactions,

       13   needing an independent voice to review it.    And, you know, I

       14   have served in situations.   Again, Barneys New York and Alpha

       15   Media is another example where, as an independent director, I

       16   am one of the parties responsible for evaluating those

       17   transactions and making recommendations to the entire board.

       18       And then, again, you know, situations where it's just

       19   highly-contentious and having, as I said, having that

       20   independent view brought to the table is something that is

       21   very helpful in these cases.

       22   Q   I appreciate the fulsomeness of the answer.    During the

       23   time that you served in these various fiduciary capacities, is

       24   it fair to say you spent a lot of time considering and

       25   addressing issues relating to D&O and other executive




                                                                    Appx. 02169
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                                   Dubel - Direct                       267


       1   liability issues?

       2   A   It's usually one of the things that you get involved with

       3   thinking about prior to taking on the role because you want to

       4   make sure that there are the appropriate protections for the

       5   director.

       6   Q   Can you describe for the Court some of the protections

       7   that you've sought or that you've seen employed in some of the

       8   cases you've worked on, including this one, by the way?

       9   A   Sure.   I mean, one of the first things you look to is does

      10   the company -- will the company indemnify the director for

      11   serving in that capacity?   And if the company will not

      12   indemnify, then there's always a question as to why not, and

      13   it's probably something you don't want to get involved with.

      14       Generally, that is something that I don't think I've ever

      15   seen a case where there has not been indemnification.

      16   Obviously, it would, you know, cause great pause or concern if

      17   they weren't willing to indemnify.   But that is important.

      18       Providing D&O insurance is very important.     And in most

      19   situations, you know, over the last 10-15 years, if there's

      20   not adequate D&O insurance -- quite often, the D&O insurance

      21   has been tapped out because of claims that will -- have been

      22   brought or are anticipated to be brought -- new D&O insurance

      23   is something that's front and center for the minds of

      24   independent directors such as myself.

      25       As you -- that gets you into the case and gets you moving.




                                                                     Appx. 02170
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                                     Dubel - Direct                     268


        1   As you start to look towards the confirmation and exit from

        2   the case, things that would be appropriate, that, you know,

        3   would always be something you would want to look at would be

        4   exculpation language, releases.    And in this particular case,

        5   the injunction, or what Mr. Seery earlier referred to as the

        6   gatekeeper clause, is something that is very important for

        7   directors, both, you know, as they're thinking through it and

        8   as they emerge.

        9   Q   All right.    Let's shift now to this case, with that

      10    background.    How did you learn about this case?

      11    A   I had a party who was involved in the case reach out to me

      12    in early part of December of 2019 to see if I would be

      13    interested in getting involved.    I think that was about the

      14    time -- it was after -- as I recall, it was after the case had

      15    been moved to Dallas and when there was a -- consideration of

      16    either a Chapter 11 or a Chapter 7 trustee.    I can't remember

      17    exactly which it was.    But there was talk about a motion to

      18    bring on a trustee and get rid of all the management and the

      19    like and such.

      20    Q   Can you describe in as much detail as you can recall the

      21    facts and circumstances that led to your appointment as an

      22    independent director?

      23    A   Sure.     I, as I said, I had -- early December, I had an --

      24    one of the parties involved -- had, probably within the next

      25    week, probably two or three others -- that reached out to see




                                                                    Appx. 02171
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                                   Dubel - Direct                       269


        1   if I would be interested in participating.    I met with the

        2   Creditors' Committee or -- I'm not sure if it was all the

        3   members, but representatives of the Creditors' Committee,

        4   along with counsel, and I believe financial advisors were

        5   involved.   They walked me through the issues.   They wanted to

        6   hear about my C.V.   Quite a few of them knew me, knew me well,

        7   but others wanted to hear about my background and how I would

        8   look at things as an independent director.

        9       That went through into the latter part of December.     I

       10   knew that they were talking to other parties.    I think it was

       11   probably right around the first of the year or so that I was

       12   informed, maybe a little bit earlier than that, that I was

       13   informed that Mr. Seery was one of the other parties that they

       14   were talking to, and Mr. Seery and I were put in touch with

       15   each other.   I had worked with Mr. Seery back probably nine

       16   years earlier when I was the CEO of FGIC.    He was involved in

       17   a matter that we were restructuring, and so knew him a little

       18   bit and was comfortable working with him as a, you know,

       19   another independent director.

       20       Then we took the time that we had to to -- or, I took the

       21   time to -- from the beginning, you know, the early part of

       22   December, look at the docket, understand what was taking

       23   place.   I -- in addition, I met with the company and its

       24   advisors, in-house counsel, the folks at DSI who were at the

       25   time the CRO and the company's counsel to better understand




                                                                    Appx. 02172
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                                   Dubel - Direct                       270


        1   some of the issues.

        2       Mr. Seery and I, as I said, were both selected, and we

        3   went through the process of, I guess, breaking the tie, I

        4   think, if I could say it that way, amongst the creditors and

        5   the Debtor as to who would be the third member of the board.

        6   And we were given the opportunity to go out, interview, and

        7   select the third member, which resulted in Russell Nelms'

        8   appointment to the board.   And also during that time, we were

        9   given the opportunity to have some input -- not a hundred

      10    percent input, but some input -- on the January 9th order that

      11    -- the January 9, 2020 order that was put in place appointing

      12    us and giving us some of the protections that we felt were

      13    appropriate and necessary in this case.

      14    Q   All right.   We'll get to that in a moment, but during this

      15    diligence period, did you form an understanding as to why an

      16    independent board was being formed, why it was being sought?

      17    A   Yes.   There was, my words, there was a lot of distrust

      18    between the creditors and the management -- not the CRO, but

      19    the prior management of the company -- and there had been a

      20    motion brought both to obviously bring the case back to Dallas

      21    from I think it was originally in Delaware and then there was

      22    a motion to seek, you know, to remove management and put in a

      23    trustee.

      24        There had been a dozen years of litigation with one party,

      25    about eight or nine years with another major party, and




                                                                    Appx. 02173
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                                     Dubel - Direct                         271


        1   several other of the major creditors were litigants.      The

        2   other, as I understood, the other creditors, main creditors in

        3   the case were all lawyers who had not yet gotten paid for the

        4   litigation work that they had done.    And so it was obvious

        5   that this was a very -- a highly-litigious situation.

        6   Q   In addition to speaking with the various constituents, did

        7   you do any diligence on your own to try to understand the case

        8   before you accepted the appointment?

        9   A   Yes.     I went to the docket to look at all the -- not every

      10    single thing that had been filed, but to try and look at all

      11    the key, relevant items that had been filed, get a better

      12    understanding of what was out there.      Looked at some of the

      13    initial filings of the company in terms of the, you know, the

      14    creditors, to understand who the creditor base was per the

      15    schedules that had been filed.    Looked at the -- some of the

      16    various pleadings that had been put in place.

      17    Q   Did you form a view as to the causes of the bankruptcy

      18    filing?

      19    A   Litigation.     That was my clear view.   This company had

      20    been in litigation with multiple parties, various different

      21    parties, since around 2008.    Generally, you would see

      22    litigation like the types that were, you know, that were here,

      23    you know, you'd litigate for a while, then you'd try and

      24    settle it.

      25        It did not appear to me that there was any intention on




                                                                      Appx. 02174
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                                     Dubel - Direct                        272


        1   the -- the Debtor to settle these litigations, but would

        2   rather just continue the process and proceed forward on the

        3   litigation until the very last minute.    And so it was obvious

        4   that this was going to -- that the Debtor was a, as I said, a

        5   highly-litigious shop, and that was one of the causes,

        6   obviously, the cause of the filing, along with the fact that

        7   judgments were about to be entered against the Debtor.

        8   Q   All right.     And in January 2020, do you recall that's when

        9   the agreement was reached between the Debtor, the Committee,

      10    and Mr. Dondero?

      11    A   Yeah, it was the first week or so, which resulted in a

      12    hearing on I believe it was January 9th in front of Judge

      13    Jernigan.

      14    Q   And as a part of that -- I think you testified at that

      15    hearing.    Do I have that right?

      16    A   I don't recall if I did.    I might have.   I might have

      17    testified at a subsequent hearing.    But --

      18    Q   But was --

      19    A   -- I was in the courtroom for that hearing, yes.

      20    Q   Was it part of that process by which you accepted the

      21    appointment as independent director?

      22    A   I accepted it based upon the order that had been

      23    negotiated amongst the parties, the creditors, the Debtor, Mr.

      24    Dondero, and others.    And that was the key thing that was --

      25    and approved by the Court on that date.    And that was key for




                                                                    Appx. 02175
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                                   Dubel - Direct                       273


        1   my acceptance of the role as an independent director.

        2   Q   And did you and the other prospective independent

        3   directors participate in the negotiation of the substance of

        4   the agreement?

        5   A   We did.   We didn't have a hundred percent say over it, but

        6   we were able to get our voices heard.     As Mr. Seery testified

        7   earlier, he was instrumental in coming up with an idea about

        8   how to put in place the injunction, you know, the -- I think

        9   he referred to it as the gatekeeper injunction, which was

      10    obviously in this case very critical to all three of us:    Mr.

      11    Seery, Mr. Nelms, and myself.

      12    Q   Can you describe for the Court kind of the issues of

      13    concern to you and the other prospective board members?     What

      14    was it that you were focused on in terms of the negotiations?

      15    A   Well, obviously, indemnification was important, but that

      16    was something that was going to be granted.    Having the right

      17    to obtain separate D&O insurance just for the three directors

      18    was important.   We were concerned that Strand Advisors, Inc.

      19    really had no assets, and so we wanted to make sure that the

      20    Debtor was going to get -- was going to basically guarantee

      21    the indemnification.

      22        The -- because of the litigious nature and what we had

      23    heard from all of the various parties involved, including

      24    people inside the Debtor who we had talked with, that it would

      25    be something that was important for us to make sure that the




                                                                    Appx. 02176
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                                    Dubel - Direct                       274


        1   injunction, the gatekeeper injunction was put in place.

        2   Q   And can you elaborate a little bit on I think you said you

        3   had done some diligence and you had formed a view as to the

        4   causes of the bankruptcy filing, but did this case present any

        5   specific concerns or issues that you and the board members had

        6   to address perhaps above and beyond what you experienced in

        7   some of the other cases you described?

        8   A   Well, as I said earlier, the fact that the litigation --

        9   the various litigations with the creditors have been going on

      10    for what I viewed as an inordinate amount of years, and that

      11    it was clear from my diligence that I had done that this had

      12    been directed by Mr. Dondero, to keep this moving forward in

      13    the litigation, and to, in essence, just, you know, never give

      14    up on the litigation.

      15        It was important that the types of protections that we

      16    were afforded in the January 9th order were put in place,

      17    because we -- none of us -- none of the three of us, and

      18    myself in particular, did not want to be in a position where

      19    we would be sued and harassed through lawsuits for the next,

      20    you know, ten years or so.   That's not something anybody would

      21    want to sign up for.

      22    Q   All right.   Let's look at the January 9th order and the

      23    specific provisions I think that you're alluding to.

      24             MR. MORRIS:    Can we call up Exhibit 5Q, please?

      25             THE WITNESS:   Pardon me while I put my glasses on to




                                                                    Appx. 02177
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                                      Dubel - Direct                       275


        1   read this.

        2               MR. MORRIS:   All right.   And if we can go to

        3   Paragraph 4.

        4   BY MR. MORRIS:

        5   Q   Is that the paragraph, sir, that was intended to address

        6   the concern that you just articulated about Strand not having

        7   any assets of its own?

        8   A   Yes, it is.

        9   Q   And can you just describe for the Court how that

      10    particular provision addressed that concern?

      11    A   Sure.    Since we were directors of Strand, which is the

      12    general partner of the Debtor, we felt it was important that

      13    the general -- that Highland, the Debtor, would provide the

      14    guaranty on indemnification, because Highland had the assets

      15    to back up the indemnification.

      16        It was also pretty clear, from my experience in having

      17    placed D&O insurance, you know, over the last 25-30 years,

      18    that if there was no, you know, opportunity for

      19    indemnification, putting in place insurance would be very

      20    difficult or exorbitantly expensive.       So having this

      21    indemnification by Highland was a very important piece of the

      22    order that we were seeking.

      23    Q   And the next piece is the insurance piece in Paragraph 5.

      24    Do you see that?

      25    A   I do.




                                                                        Appx. 02178
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                                    Dubel - Direct                       276


        1   Q   Did you have any involvement in the Debtor's efforts to

        2   obtain D&O insurance for the independent board?

        3   A   I did.

        4   Q   Can you just describe for the Court what role you played

        5   and what issues came up as the Debtor sought to obtain that

        6   insurance?

        7   A   Sure.    The Debtors had been looking to get an insurance

        8   policy in place.    They were not able to do that.   I happen to

        9   have worked with an insurance broker on D&O situations in some

      10    very difficult situations over the years and brought them into

      11    the mix.    They were able to go out to the market and find a

      12    policy that would cover us, the -- kind of the key components

      13    of that policy, though, were, number one, the guaranty that

      14    HCMLP would give -- I'm sorry, the guaranty that HCMLP would

      15    give to Strand's obligations, and also the -- I'll call it the

      16    gatekeeper provision was very important because these parties

      17    did not want to have -- they wanted to have what was referred

      18    to, commonly referred to as the Dondero Exclusion.

      19        So while we were -- we purchased a policy that covered us,

      20    it did have an exclusion, unless there were no assets left,

      21    and then the what I'll call -- we refer to as kind of a Side A

      22    policy would kick in.

      23    Q   Okay.    What do you mean by the Dondero Exclusion?

      24    A   The insurers did not want to cover the -- any litigation

      25    that Mr. Dondero would bring against directors.      It was pretty




                                                                      Appx. 02179
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                                     Dubel - Direct                         277


       1   commonly known in the marketplace that Mr. Dondero was very

       2   litigious, and insurers were not willing to write the

       3   insurance without the protections that this order afforded

       4   because they did not want to be hit with frivolous -- hit with

       5   claims on the policy for frivolous litigation that might be

       6   brought.

       7              MR. TAYLOR:    Your Honor, this is Mr. Taylor.    I've

       8   got to object to the last answer.       He testified as to what the

       9   insurers' belief was and what they would or would not do based

      10   upon their own knowledge.     It's not within his personal

      11   knowledge.   And therefore we'd move to strike.

      12              THE COURT:    I overrule that objection.

      13              MR. MORRIS:    Your Honor?

      14              THE COURT:    I overrule the objection.

      15              MR. MORRIS:    Thank you.    Thank you, Your Honor.

      16   BY MR. MORRIS:

      17   Q    Mr. Dubel, can you explain to the Court, in your work in

      18   trying to secure the D&O insurance, what rule the gatekeeper

      19   provision played in the Debtor's ability to get that?

      20   A    Based upon my discussions with the insurance broker, who I

      21   have worked with for 25-plus years, had that gatekeeper

      22   provision not been put in place, we would not have been able

      23   to get insurance.

      24   Q    All right.   Let's look at the gatekeeper provision.

      25              MR. MORRIS:    Can we go down to Paragraph 10, please?




                                                                       Appx. 02180
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                                       Dubel - Direct                     278


        1   Perfect.    Right there.

        2   BY MR. MORRIS:

        3   Q   Is this gatekeeper provision, is this also the source of

        4   the exculpation that you referred to?

        5   A   Yes.

        6   Q   And what's your understanding of how the exculpation and

        7   gatekeeper functions together?

        8   A   Well, my apologies, I'm not an attorney, so just from a

        9   business point of view, the way I look at this is that, you

       10   know, obviously, we're -- you know, the directors are not

       11   protected from willful misconduct or gross negligence, but any

       12   negligence -- you know, claims brought under negligence and

       13   the likes of such, and things that might be considered

       14   frivolous, would have to first go to Your Honor in the

       15   Bankruptcy Court for a review to determine if they were claims

       16   that should be entitled to be brought.

       17   Q   If you take a look at the provision, right, do you

       18   understand that nobody can bring a claim without -- in little

       19   i, it says, first determining -- without the Court first

       20   determining, after notice, that such claim or cause of action

       21   represents a colorable claim of willful misconduct or gross

       22   negligence against an indirect -- independent director.      Do

       23   you see that?

       24   A   I do.

       25   Q   Is it your understanding that parties can only bring




                                                                      Appx. 02181
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                                    Dubel - Direct                     279


       1   claims for gross negligence or willful misconduct if the Court

       2   makes a determination that there is a colorable claim?

       3   A    That's my understanding.

       4   Q    And the second --

       5   A    I think they have the right -- I think they have the right

       6   to go to the Court to ask if they can bring the claim, but the

       7   Court has to make the determination that it's a colorable

       8   claim for willful misconduct or gross negligence.

       9   Q    And if the Court -- is it your understanding that if the

      10   Court doesn't find that there is a colorable claim of willful

      11   misconduct or gross negligence, then the claim can't be

      12   brought against the independent directors?

      13   A    That is my understanding, yes.

      14   Q    And was -- taken together, Paragraphs 4, 5, and 10, were

      15   they of importance to you and the other independent directors

      16   before accepting the position?

      17   A    They were absolutely critical to me and definitely

      18   critical to the other directors, because we all negotiated

      19   that together, and it would -- I don't -- I don't think any of

      20   the three of us would have taken on this role if those

      21   paragraphs had not been included in the order.

      22   Q    Okay.   Just speaking for yourself personally, is there any

      23   chance you would have accepted the appointment without all

      24   three of those provisions?

      25   A    I would not have.




                                                                    Appx. 02182
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                                    Dubel - Direct                       280


        1   Q   And why is that?    In this particular case, why did you

        2   personally believe that you needed all three of those

        3   provisions?

        4   A   Well, you know, people like myself, you know, someone

        5   who's coming in as an independent director, come in in a

        6   fiduciary capacity.    And, you know, we take on risks.    Now,

        7   granted, in a Chapter 11 case, as the saying goes, you know,

        8   it's a lot safer because everything has to be approved by the

        9   Court, but there are still opportunities for parties to, in

       10   essence, have mischief going on and bring nuisance lawsuits

       11   that would take a lot of time and effort away from either the

       12   role of our job of restructuring the entity or post-

       13   restructuring, would just be nuisance things that would cost

       14   us money.   And we, you know, I did not want to be involved in

       15   that situation, knowing the litigious nature of Mr. Dondero

       16   from the research that I had done, you know, the diligence

       17   that I had done.   I did not want to subject myself to that.

       18   And it has proven an appropriate and very solid order because

       19   of the conduct of Mr. Dondero, as Mr. Seery has testified to

       20   earlier.

       21   Q   Do you have a view as to what the likely effect would be

       22   on future corporate restructurings if you and your fellow

       23   directors weren't able to obtain the type of protection

       24   afforded in the January 9th order?

       25   A   I think it would be very difficult to find qualified




                                                                      Appx. 02183
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                                   Dubel - Direct                        281


      1   people who would be willing to serve in these types of

      2   positions if they knew they had a target on their backs.       You

      3   know, it was something that was clear to us, to Mr. Seery, Mr.

      4   Nelms, myself at the time, that if we had a target -- we felt

      5   like we would have a target on our back if we didn't have

      6   these protections.

      7        It just wasn't worth the risk, the stress, the

      8   uncertainty, the potential cost to us.       And so I don't think

      9   anybody else would be, you know, willing to take on the roles

     10   as an independent director with the facts and circumstances

     11   and the players involved in this particular case.

     12             MR. MORRIS:    I have no further questions, Your Honor.

     13             THE COURT:    All right.   Pass the witness.   Let's see.

     14   You went -- I'm going to give a time.       You went 32 minutes.

     15   So, for cross of this witness, I'm going to limit it to an

     16   aggregate of 32 minutes.    Who wants to go first?

     17             MR. DRAPER:    Your Honor, this is Douglas Draper.

     18   I'll be happy to go first.

     19             THE COURT:    All right.

     20                            CROSS-EXAMINATION

     21   BY MR. DRAPER:

     22   Q    Mr. Dubel, prior to your engagement, did you happen to

     23   read the case of Pacific Lumber?

     24   A    I did not.

     25   Q    And were you advised about Pacific Lumber by somebody




                                                                     Appx. 02184
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                                    Dubel - Cross                       282


        1   other than a -- your lawyer?

        2   A   I'm not familiar with the case at all, Mr. Draper.

        3   Q   Are you aware, and you've been around a long time, that

        4   different circuits have different rules for liabilities of

        5   officers, directors, and people like that?

        6   A   I am aware that there are different, I don't know what the

        7   right term is, but precedents, I guess, in different circuits

        8   for any number of things, whether it's a sale motion or

        9   protections of officers and directors or anything.    So each

      10    circuit has its own unique situations.

      11    Q   And one last question.     On a go-forward, after -- if this

      12    plan is confirmed and on the effective date, you will not have

      13    any role whatsoever as an officer or director of the new

      14    general partner, correct?

      15    A   I have not been asked to.     As Mr. Seery testified, he may

      16    ask for assistance or just -- in most situations that I'm

      17    involved with, I may have a continuing role just as a -- I'll

      18    call it an advisor or somebody to provide a history.    But at

      19    this point in time, I have not been asked to have any

      20    involvement.

      21    Q   And based on your experience, you know that there's a

      22    different liability for a director and an officer versus

      23    somebody who is an advisor?

      24             MR. MORRIS:   Objection to the form of the question.

      25    No foundation.




                                                                    Appx. 02185
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                                     Dubel - Cross                       283


        1            THE COURT:    Overruled.

        2            MR. DRAPER:    Mr. Dubel has shown --

        3            THE COURT:    Mr. Dubel, you can answer if you know.

        4            MR. DRAPER:     Mr. Dubel, you can answer.

        5            THE WITNESS:    I'm sorry, Your Honor, I didn't hear

        6   you say overruled.    Thank you.

        7       Mr. Draper, I apologize, could you repeat the question?

        8   BY MR. DRAPER:

        9   Q   The question is you know from your experience that there's

      10    a different liability for somebody who is an officer or

      11    director versus somebody who's an advisor?

      12    A   Yes, that's my experience, which is why in several

      13    situations post-reorganization, while I have not been involved

      14    per se, and I use the term involved meaning, you know, on a

      15    day-to-day basis, if someone asks me to assist, I'll usually

      16    ask them to bring me in as a non -- an unpaid employee or a,

      17    you know, a nominally-amount-paid employee, so that I would be

      18    protected by whatever protections the company might provide.

      19             MR. DRAPER:    I have nothing further for this witness,

      20    Your Honor.

      21             THE COURT:    All right.   Other cross?

      22             MR. TAYLOR:    Yes, Your Honor.

      23             MR. RUKAVINA:    Yes, Your Honor.

      24             MR. TAYLOR:    Oh, go ahead, Davor.

      25             MR. RUKAVINA:    No, Clay, go ahead.




                                                                     Appx. 02186
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                                     Dubel - Cross                          284


       1                            CROSS-EXAMINATION

       2   BY MR. TAYLOR:

       3   Q    Mr. Dubel, this is Clay Taylor here on behalf on Mr.

       4   Dondero.     I believe you had previously testified in response

       5   to questions from Mr. Morris that Mr. Dondero had engaged in a

       6   pattern of litigious behavior; is that correct?

       7   A    I believe that's the testimony I gave, yes.

       8   Q    Okay.    And please give me the specific examples of which

       9   cases you believe he has engaged in overly-litigious behavior.

      10   A    Well, all of the cases that resulted in creditors, large

      11   creditors in our bankruptcy.    That would be the UBS situation,

      12   the Crusader situation which became the Redeemer Committee,

      13   litigation with Mr. Daugherty, with Acis and Mr. Terry.       And

      14   as I mentioned earlier, I'd, you know, been informed by

      15   members of the management team that it was Mr. Dondero's style

      16   to just litigate until the very end to try and grind people

      17   down.

      18   Q    Okay.    Was Mr. Dondero or a Highland entity the plaintiff

      19   in the UBS case?

      20   A    No, but what was referred -- what I was referring to was

      21   the nature in which he defended it and went overboard and

      22   refused to ever, you know, try and settle things in a manner

      23   that would have gotten things done.       And just looking at,

      24   having been involved in the restructuring industry for the

      25   last 40 years, as I said, almost 40 years, and been involved




                                                                      Appx. 02187
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                                       Dubel - Cross                     285


        1   in many, many litigious situations, it's obvious when someone

        2   is litigious, whether they're the plaintiff or the defendant.

        3   Q      So are you personally familiar with the settlement

        4   negotiations in the UBS case that happened pre-bankruptcy,

        5   then?

        6   A      I have been informed that there were settlement

        7   negotiations, and subsequently determined, through discussions

        8   with the parties, that they weren't really close to -- to a

        9   settlement.

       10   Q      But are you aware of --

       11   A      Mr. Dondero might have thought they were, but they were

       12   not.

       13   Q      Okay.   Would you be surprised to learn if UBS had offered

       14   to settle pre-bankruptcy for $7 million?

       15   A      As I understand, settlements -- settlement offers pre-

       16   bankruptcy had a tremendous number of -- I don't know what the

       17   right term is -- things tied to it and that clearly were never

       18   going to get done.

       19   Q      Okay.   When you say things were tied to it, what things

       20   were tied to it?

       21   A      I don't know all of the settlement discussions that took

       22   place, but what I was informed was that there were a lot of

       23   conditions that were included in that.     And it's -- if it had

       24   been an offer of $7 million and Mr. Dondero didn't settle for

       25   that, there must have been a reason why.     So, you know, since




                                                                     Appx. 02188
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                                    Dubel - Cross                       286


        1   the entities -- all of the entities within the Highland

        2   Capital empire, if you'd call it that, were being sued for

        3   almost a billion dollars.

        4   Q   Okay.   And you say there was lots of conditions that were

        5   tied to that.   What were the conditions?

        6   A   As I said earlier, I wasn't informed of them on all the

        7   prepetition settlements.    That's just what I was told, there

        8   was conditions.

        9   Q   Okay.   And who were you told these things by?

       10   A   Both external counsel and internal counsel.    Mr.

       11   Ellington, Scott Ellington, and Isaac -- the litigation

       12   counsel.

       13   Q   Okay.   So --

       14   A   That's -- sorry.

       15   Q   Okay.   In each of these cases, you were informed by your

       16   views by statements that were made to you by other people?

       17   A   Yes.

       18   Q   Okay.

       19   A   Made -- and particularly made by members of management of

       20   the Debtor, which is pretty informed.

       21   Q   Okay.   Which members of management were those?

       22   A   As I just testified, it was Mr. Ellington, who was the

       23   general -- the Debtor's general counsel, and Mr. Leventon,

       24   Isaac Leventon, who was the -- I believe his title was

       25   associate general counsel in charge of litigation.




                                                                     Appx. 02189
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                                          Dubel - Cross                       287


        1   Q      Okay.    Thank you.

        2                  MR. TAYLOR:    No further questions.

        3                  THE COURT:    All right.   Mr. Rukavina?

        4                                 CROSS-EXAMINATION

        5   BY MR. RUKAVINA:

        6   Q      Mr. Dubel, we've never met, although I think we were on

        7   the phone once together.         I know you're a director, so you're

        8   at the top, but having been in this case for more than a year,

        9   you probably have some understanding of the assets that the

      10    Debtor has, don't you?

      11    A      I do, but I'm not as facile with it as Mr. Seery,

      12    obviously.

      13    Q      Sure.    Is it true, to your understanding, that the Debtor

      14    owns various equity interests in third-party companies?

      15    A      Either directly or indirectly.       That's my understanding,

      16    yes.

      17    Q      Okay.    Have you heard of an entity called Highland Select

      18    Equity Fund, LP?

      19    A      I have.

      20    Q      And is that a publicly-traded company?

      21    A      I'm not familiar with its nature there, no.

      22    Q      Do you know how much of the equity of that entity the

      23    Debtor owns?

      24    A      I don't know off the top of my head, no.

      25    Q      And again, these may be unfair questions because you're at




                                                                          Appx. 02190
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                                     Dubel - Cross                         288


       1   the top, so I'm not trying to make you look foolish.       I'm just

       2   trying to see.    Let me ask one more.     Have you heard of

       3   Wright, W-R-I-G-H-T, Limited?

       4             MR. MORRIS:    Objection, Your Honor.    Beyond the

       5   scope.

       6             MR. RUKAVINA:    Your Honor, I can recall him on my

       7   direct, then.

       8             THE COURT:    Yeah.    I'll --

       9             MR. RUKAVINA:    But I'd just rather get it over with.

      10             THE COURT:    I'll allow it.

      11             MR. MORRIS:    All right.   If we're going to get rid of

      12   --

      13             THE COURT:    Overruled.

      14             MR. MORRIS:     No, that's fine.

      15   BY MR. RUKAVINA:

      16   Q    Have you heard of Wright, W-R-I-G-H-T, Limited?

      17   A    I think I have, but I just don't recall it, Mr. Rukavina.

      18   I'm sorry, Rukavina.    Sorry.

      19   Q    It's okay.    It's a --

      20   A    I'm looking at your chart here, at your name here, and it

      21   looks like Drukavina, so I really apologize.

      22   Q    Believe it or not, it's actually a very famous name in

      23   Croatia, although it means nothing here.

      24        So, all of the entities that the Debtor owns equity in, I

      25   guess you probably, just because, again, you're not in the




                                                                      Appx. 02191
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                                      Dubel - Cross                       289


        1   weeds, you can't tell us how much of that equity the Debtor

        2   owns, can you?

        3   A   I can't individually, no.     You know, Mr. Seery is our CEO

        4   and he's responsible for the day-to-day, you know, issues.      So

        5   usually we look at it more on a consolidated basis and not in

        6   the, you know, down in the weeds, as you refer to it, unless

        7   something specific came up.

        8   Q   Well, would you remember whether, when Mr. Seery or the

        9   prior CRO would provide you, as the board member, financial

       10   reports, whether that included P&Ls and balance sheets and

       11   financial reports for the entities that the Debtor owned

       12   interests in?

       13   A   We might -- we would have seen certain consolidating

       14   reports that might -- that would be, you know, consolidating

       15   financial statements that would be P&Ls.    Where we didn't

       16   consolidate them, I'm not sure we saw the actual individual-

       17   entity P&Ls on a regular basis.    We might have seen them if

       18   there was a transaction taking place.     But again, you know, I

       19   don't have -- I don't remember every single one of them, no.

       20   Q   And you would agree with me, sir, that the Pachulski law

       21   firm is an excellent restructuring, reorganization, insolvency

       22   law firm, wouldn't you?

       23   A   Yes, I would agree with you there.

       24   Q   Okay.   And you would expect them to ensure that anything

       25   that has to be filed with Her Honor is timely filed, wouldn't




                                                                    Appx. 02192
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                                         Dubel - Cross                      290


      1   you?

      2   A      I would expect that they would follow the rules.

      3   Q      Okay.    And you have the utmost of confidence, I take it,

      4   in your CRO, don't you?

      5   A      I have a tremendous amount of confidence in our CEO, who

      6   also happens to hold the title of CRO, yes, if that's what

      7   you're referring to as, Mr. Seery.

      8          (Interruption.)

      9                  MR. RUKAVINA:    John.

     10   BY MR. RUKAVINA:

     11   Q      Okay, I think -- yeah, I think I heard that you have

     12   tremendous confidence in the CEO, who happens to be the CRO,

     13   right?

     14   A      Yes, that's the case.

     15                  MR. RUKAVINA:    Thank you, Your Honor.   I'll pass the

     16   witness.

     17                  THE COURT:    All right.   Any other cross of Mr. Dubel?

     18          All right.    Mr. Morris, redirect?

     19                  MR. MORRIS:    Yeah, just very briefly, Your Honor.

     20                                REDIRECT EXAMINATION

     21   BY MR. MORRIS:

     22   Q      You were asked about that Pacific Lumber case, Mr. Dubel;

     23   do you remember that?

     24   A      I do remember being asked about it.

     25   Q      And you weren't familiar with that case, right?




                                                                         Appx. 02193
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                                          Dubel - Redirect                     291


        1   A      I'm not familiar with the name of the case, no.

        2   Q      But you did know that the exculpation and gatekeeping

        3   provisions were going to be included in the order; is that

        4   fair?

        5   A      I did.

        6   Q      And did you testify that you wouldn't have accepted the

        7   position without it?

        8   A      I did testify that way.

        9   Q      And if you knew that you couldn't get those provisions in

       10   the Fifth Circuit, would you ever accept a position as an

       11   independent director in the Fifth Circuit on a go-forward

       12   basis?

       13   A      Not in a situation such as this, no.

       14   Q      Okay.    Okay.

       15                  MR. MORRIS:    No further questions, Your Honor.

       16                  THE COURT:    All right.   Any recross on that narrow

       17   redirect?

       18          All right.    Well, Mr. Dubel, you are excused from the

       19   virtual witness stand.

       20                  THE WITNESS:    Thank you, Your Honor.

       21                  THE COURT:    All right.   I want to go ahead and --

       22                  MR. DUBEL:    Do you mind if I turn my video off?

       23                  THE COURT:    I'm sorry, what?

       24                  MR. DUBEL:    I said, do you mind if I turn my video

       25   off?




                                                                           Appx. 02194
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        1            THE COURT:    No, you may.    That's fine.

        2            MR. DUBEL:    Thank you, Your Honor.

        3            THE COURT:    All right.    I want to break now, unless

        4   there's any quick housekeeping matter.     Anything?

        5             MR. MORRIS:    No, Your Honor, but I would just ask

        6   all parties to let me know by email if they have any

        7   objections to any of the exhibits on the witness list that was

        8   filed at Docket No. 1877, because I want to begin tomorrow by

        9   putting into evidence the balance of our exhibits.

       10            MR. RUKAVINA:    And Your Honor, I was responsible for

       11   this due to an internal mistake.      The only ones I have an

       12   objection to are -- is that 7?      John, is that 7, right, 7OO --

       13            MR. MORRIS:    Yes.

       14            MR. RUKAVINA:    Your Honor, I only have an objection

       15   to 7O and 7P, although I think -- think the Court has already

       16   admitted 7P, so my objection is moot.

       17            THE COURT:    I have.

       18            MR. RUKAVINA:    Okay.

       19            THE COURT:    So, what --

       20            MR. RUKAVINA:    Then it would just be --

       21            THE COURT:    Go ahead.

       22            MR. RUKAVINA:    I'm sorry.    It would just be 7O.

       23   Septuple O or whatever the word is.

       24            THE COURT:    All right.    So I will go ahead and admit

       25   7F through 7Q, with the exception of 7O.     Again, these appear




                                                                     Appx. 02195
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       1   at Docket Entry 1877.      And Mr. Morris, you can try to get in

       2   7O the old-fashioned way if you want to.

       3               MR. MORRIS:    Yeah, I'll deal with 7O and the very

       4   limited number of other objections at the beginning of

       5   tomorrow's hearing.

       6               THE COURT:    All right.

       7        (Debtor's Exhibits 7F through 7Q, with the exception of

       8   7O, are received into evidence.)

       9               THE COURT:    So we will reconvene at 9:30 Central time

      10   tomorrow.    I think we're going to hear from the Aon, the D&O

      11   broker, Mr. Tauber; is that correct?

      12               MR. MORRIS:    That's right.    And that should be

      13   shorter than even Mr. Dubel.

      14               THE COURT:    All right.   Well, we will see you at 9:30

      15   in the morning.    We are in recess.

      16               MR. MORRIS:    Thank you so much.

      17               THE CLERK:    All rise.

      18        (Proceedings concluded at 5:09 p.m.)

      19                                   --oOo--

      20                                 CERTIFICATE

      21        I certify that the foregoing is a correct transcript from
           the electronic sound recording of the proceedings in the
      22   above-entitled matter.
      23     /s/ Kathy Rehling                                   02/04/2021

      24   ______________________________________              ________________
           Kathy Rehling, CETD-444                                 Date
      25   Certified Electronic Court Transcriber




                                                                       Appx. 02196
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